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   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11    CHASSIDY NeSMITH, individually Case No. 15-cv-0629-JLS (AGS)
        and as Guardian ad Litem on behalf of
  12    S.K.S.N., and as Successor in Interest OPPOSITION TO DEFENDANTS’
        to KRISTOPHER SCOTT NeSMITH, MOTION IN LIMINE NO. 1 OF 6 FOR
  13                                           THE EXCLUSION OF NEWS
                           Plaintiffs,         ARTICLES, POST INCIDENT
  14                                           SUICIDES, AND POST INCIDENT
              v.                               INVESTIGATIONS
  15
        COUNTY OF SAN DIEGO; et al.,         Date:        October 7, 2021
  16                                         Time:        1:30 p.m.
                           Defendants.       Courtroom:   4A
  17                                         Judge:       Hon. Janis L. Sammartino
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   1                                              I.
   2                         INTRODUCTION TO THIS MOTION1
   3           The county seeks to preclude critical evidence in support of Plaintiffs’
   4   Canton allegation that the county knowingly maintained an inadequate suicide
   5   prevention program. Specifically, the county requests this Court exclude reference
   6   and or evidence relating to CityBeat and other news articles, a 2017 Grand Jury
   7   report, the County’s response to the Grand Jury report, and a 2018 DRC report.
   8   (Exhibits 1-4.) Each article and report explicitly examines correctional suicides in
   9   San Diego county jails, through the lens of psychiatric health, as well as the jails’
  10   policies and training, and the county’s shortcomings in preventing correctional
  11   suicides.
  12           The county’s responses to the deficiencies set forth in the news articles and
  13   Grand Jury/DRC report are highly probative. The evidence is narrowly tailored to
  14   address Plaintiffs’ Canton claims and is not considered “hearsay” because the
  15   responses to the news articles and Grand Jury report are party admissions and the
  16   articles and reports are not being offered for the truth of the matter asserted.
  17           The pre-incident articles and reports are being offered to prove that the
  18   county was on direct notice that its suicide prevention policies and training were
  19   deficient and not in line with the relevant standards prior to Kris NeSmith’s suicide.
  20   As for post-incident evidence, the county argues that post-incident articles and
  21   reports should be excluded because they are irrelevant and “include evidence of
  22   subsequent remedial measures.” [Dkt. 187, 2:1-2.] However, evidence of
  23   subsequent remedial measures to support a Canton claim is appropriate, as is
  24   evidence regarding feasibility of correcting deficiencies and implementing adequate
  25   training and procedures.
  26   ///
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        Defendants’ motion does not seek to preclude pre-incident evidence, such as
  28   evidence of pre-incident suicides, other than unidentified new articles.
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   1         Notably, the county fails to mention Plaintiffs’ municipal claims in their
   2   Motion in Limine, however it is the municipal claims that require notice and a
   3   pattern of similar constitutional violations. Accordingly, the county’s motion to
   4   exclude relevant Canton evidence should be denied in its entirety.
   5                                              II.
   6                  THE NEWSPAPER ARTICLES PROVE NOTICE
   7         Plaintiffs’ second, third, and fourth causes of action for unconstitutional
   8   policies and training regarding suicide prevention, psychiatric health, and training
   9   must meet the requirements of City of Canton v. Harris, 489 U.S. 378 (1989). To
  10   properly hold a municipality liable for a Canton claim, Plaintiffs cannot merely
  11   prove that county officials violated Plaintiffs’ constitutional rights. Rather,
  12   Plaintiffs must prove that the county’s failure amounted to “deliberate indifference
  13   to the constitutional rights” of Plaintiffs, and thus that the constitutional
  14   inadequacies can rightfully “be said to represent ‘city policy.’” Id. at 379.
  15   Plaintiffs can prove this deliberate indifference by showing the county
  16   policymakers were on “actual or constructive notice that a particular omission in
  17   their training program caused county employees to violate citizen’s constitutional
  18   rights.” Connick v. Thompson, 563 U.S. 51, 61 (2011). A “pattern of similar
  19   constitutional violations by untrained employees is ordinarily necessary to
  20   demonstrate deliberate indifference for purposes of failure to train.” Flores v.
  21   County of L.A., 758 F.3d 1154, 1159 (9th. Cir 2014). Accordingly, Plaintiffs rely on
  22   the CityBeat articles establish notice that the county was deliberately maintaining
  23   inadequate prevention policies and training.
  24         Plaintiffs rely on the CityBeat news articles to establish actual notice alerting
  25   the public—and the county—to the jails’ suicide crisis. CityBeat started it series of
  26   investigations into San Diego jail suicides in 2007, well before Kris’ suicide. Since
  27   that time, it has published over a dozen articles highlighting the outrageous pattern
  28   of suicides in San Diego County jails. Not only do the underlying deaths and
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   1   circumstances put the county and its policymakers on actual and constructive notice
   2   of a pattern of constitutional violations, but countless CityBeat publications–in
   3   which a County spokespersons comments in every article–admits the county was on
   4   notice of a pattern of constitutional violations.
   5         Specifically, on March 27, 2013, a local San Diego news outlet, CityBeat,
   6   ran a publication entitled “How Many Inmate Deaths is too Many?” (Exhibit 1,
   7   pgs. 18-38.) The article was “part one” of an “investigative series.” The article
   8   focused primarily on the county’s overall mortality rate, but several portions of the
   9   article were dedicated to inmate suicides and recommendations from Citizens Law
  10   Enforcement Review Board (“CLERB”) regarding modifications to the county’s
  11   suicide prevention program. The article stated,
  12          “Briefings at shift changes in the detention facilities should routinely
               include information about inmates identified as suicide risks,” wrote
  13           Robert Winston, CLERB's chair at the time, to then-Sheriff Bill
               Kolender.” “A checklist that includes the status of at-risk inmates
  14           and the Department's response plan would enhance continuity of
               care, monitoring and housing,” Winston wrote.
  15
              The article also references specific suicides in the jail that could have
  16           been avoided had an adequate policy or training been incorporated.
               (Exhibit 1, pgs. 18-38.)
  17

  18         The article itself is proof the county had notice of these allegations because a
  19   county spokesperson commented in the article. In response to Winston’s
  20   recommendation to maintain “a checklist that includes the status of at-risk inmates
  21   and the Department's response plan …” Dr. Earl Goldstein, the Sheriff’s Medical
  22   Director, “thanked Winston for his letter but rejected the recommendation, saying
  23   that the jail's suicide rate was low—only four suicides total during the 2007-2008
  24   and 2008-2009 fiscal years (July 1, 2007, through June 30, 2009).” Goldstein also
  25   commented, “Based on... the low incidences of completed suicides in our facilities,
  26   it is not practical to add these systems to the current program.” The article
  27   corrected Dr. Goldstein in that six suicides had actually occurred during that time
  28   ///
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   1   period, not four; and the seventh happened three days after the 2008-2009 fiscal
   2   year. (Exhibit. 1, pg. 32.)
   3         A month later, on April 24, 2013, CityBeat ran another article entitled,
   4   “Suicide in the Cell.” (Exhibit 1, pgs. 62-74.) The sub-heading read “inmates kill
   5   themselves at a high rate after San Diego County Sheriff’s Department refuses to
   6   revamp policies.” The article explicitly put the county on notice that:
   7          “Using the statistical method adopted by the U.S. Bureau of Justice
               Statistics (BJS) and the National Institute of Corrections—the
   8           number of deaths divided by each jail system's average daily
               population—CityBeat also found that San Diego had the second-
   9           highest suicide rate among the state's large jail systems: 54 suicides
               per 100,000 inmates, more than 60 percent higher than the average.”
  10
              “All counted, the San Diego County Sheriff's Department recorded
  11           16 inmate suicides between 2007 and 2012. Among California
               counties, only Los Angeles, whose jail system is roughly four times
  12           the size of San Diego's, recorded more suicides—24—during that
               period.”
  13
              “When I investigate a jail system that's had [16] suicides in a six-
  14           year period, I tend to find that there were either bad practices or
               preventable deaths in many of the cases,” Hayes [a suicide
  15           prevention expert] says. “You normally come to the conclusion that
               not all of those 16 deaths were preventable, but many of them were.”
  16
              “The jail system's written suicide-prevention policies are brief.
  17
              “CLERB’s investigation identified significant gaps in how
  18           information regarding at-risk inmates is communicated between
               guards and support staff.”
  19
              “There is no written guidance on the type of information passed from
  20           deputy to supervisor, or from supervisor to supervisor.”
  21         Jan Caldwell, the Sheriff’s Department spokesperson, responded to this
  22   article stating, “The sad reality is that a person who is determined to commit suicide
  23   will commit suicide, and by using the everyday objects within their reach.” She
  24   then describes the county’s medical screening and care policies as “excellent.”
  25   (Exhibit 1, pg. 63.)
  26         Whether the county admitted to having an inadequate suicide prevention
  27   program is immaterial. The concern is whether the county was on notice of such
  28   inadequacy—Plaintiffs argues, the articles and responses prove just that! Looking
                                                  8
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   1   solely at CityBeat publications, almost a year prior to NeSmith’s suicide, the county
   2   was put on direct notice that it 1) had the highest suicide rate in California, and 2)
   3   per CLERB recommendation, that it needed to change its program to include
   4   suicide prevention mechanisms, such as a checklist that “identifies at-risk inmates.”
   5         Additionally, throughout CityBeat’s articles, reference to the county’s “rate
   6   of suicide” occurred frequently. In response, reluctant to expose its deficiencies in
   7   the face of pending lawsuits, the county hid behind smoke and mirrors. In
   8   formulating a response to having the highest suicide rate – the county claimed that
   9   the undisputed and universally-accepted method of calculating correctional suicide
  10   rates – the ADP method – was wrong! (Exhibit 1.)
  11         The ADP method is tried and tested. It is the method used by the DOJ and
  12   Bureau of Justice Statistics. But because the ADP method showed San Diego
  13   County had the highest in-custody suicide rate in the state, the county rebuked the
  14   method and magically invented its own method of calculation, attempting to
  15   deceitfully reduce its suicide rate by eighteen times. (Exhibit 4.) In fact,
  16   Commander Ingrassia testified that he was the one who conceived and implemented
  17   the newly devised “at-risk” calculation, which admittedly was not based on
  18   research nor was it heard of or utilized in other counties or states. (Exhibit 5,
  19   81:18-82:13.) The county’s invention of the “at risk” calculation, a calculation
  20   designed to conceal the truth, is evidence that the county was acutely aware of the
  21   gravity of its suicide prevention and mental health shortcomings.
  22         Accordingly, Plaintiffs do not offer these materials for the truth of the matter
  23   asserted. Rather, pre-incident articles and findings regarding the county’s suicide
  24   prevention failures is highly relevant to whether the county was on notice of its
  25   policy and training failures and whether the county took timely and adequate steps
  26   to address the known deficiencies.
  27         As for the county’s hearsay objections, the “notice or knowledge” exemption
  28   to the hearsay rule is well-accepted law. See United States v. Kutas, 542 F.2d 527,
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    1   528 (9th Cir. 1976) (“the statement was admitted as evidence from which it could be
    2   inferred that [defendant] knew . . . .”); Phillips v. United States, 356 F.2d 297, 301
    3   (9th Cir. 1965) (“the documents in question were received . . . for the jury's
    4   consideration in determining whether one or more of the defendants knew . . . .”).
    5         More to the point is In re Century Aluminum Co. Sec. Litig., 749 F. Supp. 2d
    6   964, 980 (2010 Cal. N.D.). There, a Northern District Court admitted news articles
    7   into evidence in order to prove notice. In In re Century, plaintiffs objected that
    8   news articles should not be admitted into evidence because they were hearsay.
    9   However, the court held, “defendants have submitted those exhibits not for the truth
   10   of the matter asserted, but to show disclosure of information.” Id. at 980.
   11         Other Circuits have ruled in similar fashion. In Metropolitan Pittsburgh
   12   Crusade for Voters v. City of Pittsburgh, 964 F.2d 244, 246 n.3 (3rd Cir. 1992), the
   13   defendants argued that the news reports are hearsay and that the Magistrate Judge
   14   erred in considering them. The Third Circuit court disagreed. It held that the
   15   news articles are relevant to determining notice to legislators and the electorate of
   16   the lawsuit. Id. at 246 n.3., Also see, e.g. DeMier v. Gondles, 676 F.2d 92, 93 (4th
   17   Cir. 1982) (The articles are considered not for the truth of what they report but
   18   rather for the notice they provided.)
   19         Furthermore, “newspaper articles that contain quoted statements from [the]
   20   Sheriff [], from any County official at a policy-making level, and from any of the
   21   named defendants in this case, may be admitted pursuant to Rule 801(d)(2)(A).”
   22   Fogleman v. Cty. of L.A., 2012 U.S. Dist. LEXIS 199922, *13-14 (Cal. C.D. 2012).
   23   Here, most of the identified articles have responses from Jan Caldwell, the former
   24   media relations director, the medical direction of the jails, and/or Sheriff Bill Gore.
   25   Those statements are party admissions and should be allowed into evidence.
   26         Accordingly, the CityBeat articles are offered to establish that the county was
   27   on notice that it was maintaining inadequate suicide prevention polices and training
   28   which were causing preventable suicides to statistically occur more often than any
                                                   10
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    1   other California jail. The articles also contain several party admissions regarding
    2   the same. For these reasons, the articles should be admitted into evidence and
    3   Plaintiffs should be able to cross examine witnesses on the articles and admissions.
    4                                              III.
    5          THE COUNTY’S RESPONSE TO THE GRAND JURY REPORT
    6                  CONTAINS SIGNIFICANT PARTY ADMISSIONS
    7          In 2017, a San Diego Grand Jury issued a report finding the county’s suicide
    8   prevention policies and training were deficient. (Exhibit 2.) Soon thereafter, the
    9   county published a response to the Grand Jury’s report. (Exhibit 3.) Though
   10   published in 2017, the Grand Jury report, and the county’s response, is relevant in
   11   time because the Grand Jury reviewed the very version of the M.D.S. 10 and J.5
   12   policies that are at-issue in this case.
   13          Most importantly, San Diego County Sheriff, Bill Gore, responded to the
   14   Grand Jury’s report on June 29, 2017. His response is considered a party admission
   15   pursuant to Federal Rule of Evidence 801. Overall, by and through Sheriff Bill
   16   Gore, the county disagreed with many of the Grand Jury’s recommendations. For
   17   example, the county disagreed that its suicide prevention policy lacked inclusion of
   18   nationally recognized protocols or a clear policy statement for suicide prevention.
   19   The county disagreed that it needed a permanent mental health supervisor, and
   20   instead left that responsibility to a contracted agency. (Exhibit 3.)
   21          The county’s response also contains affirmative party admissions. Such as,
   22   the county agreed with the recommendation that it needed to implement a change in
   23   policy that calls for “continuous oversight” of the suicide prevention plan. This
   24   party admission is highly relevant. The response also indicates that the county did
   25   not revamp its training program until September 2016, even though the county was
   26   on notice several years prior based on the CityBeat articles that it had the highest
   27   suicide rate prior to Kris’ suicide. (Exhibit 3.)
   28   ///
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    1                                             IV.
    2          THE POST-INCIDENT GRAND JURY REPORT, THE COUNTY’S
    3          RESPONSE, AND DRC REPORT ARE RELEVANT AND HIGHLY
    4                 PROBATIVE IN MUNICIPAL LIABILITY CLAIMS
    5           The county argues that post-incident articles and reports should be excluded
    6   because they are irrelevant and “include evidence of subsequent remedial
    7   measures.” [Dkt.187, 2:1-2.] However, “It is clear that, in general, ‘post-event
    8   evidence is not only admissible for purposes of proving the existence of a
    9   municipal defendant's policy or custom, but is highly probative with respect to that
   10   inquiry.’” Henry v. County of Shasta, 132 F.3d 512, 519 (9th Cir. 1997); Isom v.
   11   City of L.A., 2016 U.S. Dist. LEXIS 197175, *5 (Cal. C.D. 2016); Grant v. City of
   12   Syracuse, 2018 U.S. Dist. LEXIS 170469, *11 (N.Y.N.D. 2018).2
   13           Thus, the findings set forth in the 2017 Grand Jury report, the county’s
   14   response thereto, and the DRC report are highly probative for two reasons. First, in
   15   response to the deficiencies set forth in the Grand Jury and DRC report, the
   16   county’s subsequent remedial measures are highly probative of a failing suicide
   17   prevention program. Second, any subsequent measures taken to address the
   18   deficiencies is highly probative in regards to the feasibility of correcting the
   19

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   21   2
         “Several circuits in addition to ours have adopted the Grandstaff approach. In
        Bordanaro v. McLeod, 871 F.2d 1151 (1st Cir. 1989), for example, First Circuit
   22
        noted at the outset that "the [Supreme] Court has never held that inferences about
   23   what customs or policies existed in a city before an event could not be drawn from
        subsequent actions.” Id. at 1166-67. Quoting Grandstaff at length, it went on to
   24   conclude that such inferences were proper. Id. at 1167. See also Black v. Stephens,
        662 F.2d 181, 190-91 (3d Cir. 1981) (police chief's failure to institute adequate
   25   investigatory procedures for determining when police officers should be disciplined
   26   constituted official policy encouraging excessive use of force); Jones v. City of
        Chicago, 787 F.2d 200, 207 (7th Cir. 1986) (had prior complaint in companion case
   27   not been thoroughly investigated by city, reasonable inference could be drawn
        regarding city's deliberate indifference to safety and well-being of patients at public
   28   health clinic). Henry v. County of Shasta, 132 F.3d 512, 519 (9th. Cir. 1999.)
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    1   policies and training shortcomings; meaning, the county could have, and should
    2   have, fixed the issues prior to Kris NeSmith’s suicide.
    3           Other similar types of reports have been admitted into evidence. For
    4   example, in Fogleman v. Cty. of L.A., 2012 U.S. Dist. LEXIS 199922, *13-14 (Cal.
    5   C.D. 2012), the court admitted a Department of Justice report. There, the court held
    6   “subject to the presentation of a proper foundation,3 which the Court assumes will
    7   present no significant hurdle, the 2006 report by the Department of Justice is
    8   admissible for the non-hearsay purpose of establishing notice on the part of policy-
    9   making level officials of continuing constitutional violations in the operation of the
   10   county jail facility. Furthermore, the Court concludes that the report is admissible
   11   under Rule 803(8) Fed. R. Evid.” Fogleman v. Cty. of L.A., 2012 U.S. Dist. LEXIS
   12   199922, *13-14 (Cal. C.D. 2012); See Washburn v. Fagan, 2006 U.S. Dist. LEXIS
   13   22057, *18 (Cal. N.D. 2006).
   14           Lastly, the county offers this Court a red-herring arguing that any allegation
   15   set forth in news articles or the Grand Jury/DRC report contain only allegations of
   16   deficiencies (and preventable suicides) not adjudicated constitutional violations.
   17   Based on that reasoning, without further consideration as to notice, the county
   18   argues the evidence is entirely irrelevant. [Dkt. 187, 3:15-28.] However, the
   19   county has twice in this case made that exact argument. On both occasions, this
   20   Court ruled that the county’s interpretation of the Supreme Court precedent as
   21   requiring “prior adjudications” is flawed. [Dkt. 36, 2:16-5:17.]
   22           Now, the county offers a more nuanced argument claiming “evidence that a
   23   policymaker may have been aware of allegations—without showing that the
   24   allegations were true does not make the articles probative on the issue of notice…”
   25   [Dkt. 187, 12-23.] However, that is exactly why Plaintiff should be able to cross
   26   examine county witnesses! Plus, additional evidence in the form of emails confirm
   27
        3
         Plaintiffs will be able to lay proper foundation of the documents, and its contents,
   28   during trial.
                                                    13
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    1   that county officials received and circulated various CityBeat articles as referenced
    2   in Plaintiff’s opposition to summary judgment. Also, additional evidence in the
    3   form of emails and PowerPoint presentations confirmed the findings of the
    4   CityBeat articles.4 Furthermore, the “allegations” set forth in articles and reports
    5   will remain that way until a plaintiff is given the opportunity to examine county
    6   officials on the issues in open court. In sum, the determination as to whether there
    7   exists a pattern of similar violations should be a jury’s consideration based on all
    8   the evidence Plaintiff has discovered.
    9                                              V.
   10       THE ARTICLES AND REPORTS ARE NOT SUBSEQUENT REMEDIAL
   11                                        MEASURES
   12           Importantly, the county failed to identify what exact subsequent remedial
   13   measures it wants excluded. The county only moves to exclude the news articles
   14   and reports; however those documents, by themselves, are not subsequent remedial
   15   measures. See In re Aircrash in Bali, Indonesia, 871 F.2d 812, 816 n.2 (9th Cir.
   16   1989) (“[S]ubsequent remedial measures include only the actual remedial measures
   17   themselves and not the initial steps toward ascertaining whether any remedial
   18   measures are called for.” Smith v. City of Los Angeles, 2020 U.S. Dist. LEXIS
   19   208449, *16-17 (C.D. Cal. 2020). The only document that could be considered
   20   referencing subsequent remedial measures is the county’s response to the Grand
   21   Jury report. However, Sheriff Bill Gore’s response is a party admission.
   22           Accordingly, because the documents and findings set forth in the articles and
   23   reports are highly relevant and not subsequent remedial measures, Defendants’
   24   motion should be denied.
   25   4
         Notably, the county concedes to this issue stating “there is no evidence that the
   26   majority of articles actually were provided to the County and officials were aware
        of them (exceptions to this are articles referred to in email exhibits that are not the
   27   subject of this MIL).” [Dkt. 3:10-14.] This qualification requires Plaintiff to
        speculate as to what exact articles the county is seeking to exclude. Based on this
   28   ambiguity alone, Defendants’ motion should be denied.
                                                    14
            OPPOSITION TO MIL #1 RE MEDIA, ETC.                        15-CV-0629-JLS (AGS)
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    1                                             VI.
    2      THE ARTICLES AND REPORTS ARE NOT UNDULY PREJUDICIAL
    3         In light of the highly relevant nature of the articles and reports, any
    4   prejudicial effect can be adequately addressed by a proper limiting instruction.
    5   Conversely, if the requested evidence is excluded Plaintiff would be prejudiced by
    6   increasing the difficulty of establishing notice and a pattern. As for running the risk
    7   of confusing the issues and creating a mini trial of the allegations, Plaintiff cannot
    8   help if the law requires them to establish a pattern of similar violations.
    9                                             VII.
   10                                      CONCLUSION
   11         For the reasons set forth above, Plaintiffs should be able to rely on the
   12   articles and reports as actual notice of policy deficiencies and as proof of a failed
   13   program. Accordingly, the county’s motion should be denied.
   14
                                         Respectfully submitted,
   15                                    MORRIS LAW FIRM, APC
   16   Dated: September 7, 2021          s/ Danielle R. Pena
                                         Christopher S. Morris
   17                                    cmorris@morrislawfirmapc.com
                                         Danielle R. Pena
   18                                    dpena@morrislawfirmapc.com
                                         Attorneys for Plaintiffs
   19                                    CHASSIDY NeSMITH, Individually and as
   20                                    Guardian ad Litem on behalf of SKYLER
                                         KRISTOPHER SCOTT NeSMITH, and as
   21
                                         Successor in Interest to KRISTOPHER SCOTT
   22                                    NeSMITH
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         OPPOSITION TO MIL #1 RE MEDIA, ETC.                           15-CV-0629-JLS (AGS)
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    1   INDEX OF EXHIBITS TO OPPOSITION TO DEFENDANTS’ MOTION IN
    2    LIMINE NO 1 OF 6 FOR THE EXCLUSION OF NEWS ARTICLES, POST
    3       INCIDENT SUICIDES, AND POST INCIDENT INVESTIGATIONS
    4    Exhibit                          Description                          Pages
    5        1                          CityBeat Articles                       17-74
    6        2                    Amended Grand Jury Report                     75-86
    7        3         San Diego Sheriff’s Response to Grand Jury Report        87-91
    8        4                            DRC Report                           92-164
    9        5        Pertinent Portions of the Deposition of John Ingrassia   165-170
   10

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        OPPOSITION TO MIL #1 RE MEDIA, ETC.                      15-CV-0629-JLS (AGS)
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                     EXHIBIT 1
                                       17
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  How many
  inmate deaths
  is too many?
  Part one of our 60 Dead Inmates'
  investigative series: San Diego
  County's incarceration mortality rate
  leads California's largest jails
  by Dave Maass, Kelly Davis


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  Bernard Joseph Victorianne was a 28-year-old black male
  with a ticking time bomb in his stomach.


  Victorianne was arrested on Sept. 12, 2012, less than

  two blocks from the San Diego Police Department's

  Mid-City station on suspicion of driving under the

  influence. A week later, he was found dead in his

  cell—the 60th inmate to die in the custody of the San

  Diego County jail system since 2007.


  Immediately after his arrest, Victorianne was taken to

  Alvarado Hospital to be treated for alcohol intoxication.

  Even then, police and medical staff believed the

  suspect—who was on probation for a number of

  narcotics offenses—likely had swallowed a bindle of

  drugs. He was observed overnight, then transferred to

  the San Diego Central Jail. For the next several days,

  Victorianne was bounced between sobriety cells, secure

  units and administrative segregation (a normal housing

  unit reserved for problematic inmates who need to be

  separated from the general population) due to his

  lasting, agitated behavior. He was prescribed Haldol, a

  powerful anti-psychotic, and anti-anxiety medication.


  According to the medical examiner's report, Sheriff's

  deputies couldn't say exactly when they last saw

  Victorianne alive. Deputies checked on him in the




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  "early evening" of Sept. 18. He was left unmonitored

  through the night.


  At 4:30 a.m., guards who brought breakfast into his

  cell found him lying on the floor, naked, but didn't

  check whether or not he was conscious. Two-and-a-half

  hours later, guards began their morning rounds and

  discovered that Victorianne hadn't moved. By the time

  they entered his cell, rigor mortis had begun in his

  lower extremities.


  The official cause of death: methamphetamine

  toxicity—the baggie had busted in stomach.


  Many questions remain unanswered: Why was

  Victorianne in an administrative-segregation cell rather

  than a cell where he could be more closely monitored?

  When exactly did deputies last check on his welfare?

  Why was he left unobserved overnight when he was

  suspected to have swallowed a potentially lethal

  amount of drugs? Why didn't guards check to see if he

  was OK when they first entered his cell that morning?


  Perhaps most important of all: Did Sheriff's deputies

  bring Victorianne to the hospital for the visit scheduled

  the day before he died? The medical examiner's report

  states only that "it was unknown if he attended."


  That information still isn't publicly known. The Sheriff's

  Department declined to answer CityBeat's questions

  about Victorianne's death.




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  What is known is that Victorianne was the latest

  casualty in a jail system with one of the highest

  mortality rates in California.




                             ***


  Between 2007 and 2012, 60 people died while wards of

  the San Diego County Sheriff's Department's five-jail

  detention system.


  They were 56 men and four women. Thirty-six were

  white, 15 Hispanic, six African-American, one Korean-

  American, one Native American and one was a Chinese

  national. Most suffered from substance abuse and/or

  mental-health issues, and many were transient before

  their arrest.


  Their average age was 46. The youngest was 18—Luis

  Manuel Lopez from Poway. He was arrested on felony

  vandalism charges in the fall of 2008, around the time

  other kids his age would've been going off to college.

  He was transferred from one jail to another, ending up

  at the George Bailey Detention Facility, where he

  started displaying symptoms of a cold that rapidly grew

  worse. When his temperature hit 102 and his heart

  began beating abnormally fast, Lopez was transferred

  to UCSD Medical Center. His health continued to

  decline. After almost two weeks in the hospital, he flat-

  lined and was resuscitated, but his condition continued

  to deteriorate; his family chose to withdraw care and

  ease his suffering with pain killers.




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  Doctors never determined precisely what killed

  Lopez. The medical examiner's report concluded it was

  "most likely" a bacterial infection that was masked by

  the antibiotics he received in jail. He death was

  classified as natural.


  The oldest was Thomas Alexander Hough, a senile 72-

  year-old who was stopped by police for refusing to

  leave a bus station and then booked into jail for failing

  to register as a sex offender. Classified as "gravely

  disabled," he was first involuntarily committed to a

  psychiatric hospital before being transferred to the

  Vista Detention Center. Hough suffered from diabetes,

  dementia and alcohol dependency, which combined to

  leave him subject to periods of confusion, seizures and

  delirium tremens ("the shakes"). At the Vista jail,

  Hough was a basket case for three days. He nearly

  choked on a bologna sandwich, had frequent angry

  outbursts at staff and refused to go outside during his

  allotted recreation time. On his fourth evening in jail,

  he stopped breathing and couldn't be revived. The

  medical examiner classified his death as natural due to

  hypertensive cardiovascular disease.


  Of the 60 deaths, 31 were classified as natural, which

  is consistent with national ratios for jail deaths. The

  other 48 percent were classified as suicides, homicides

  and accidents.


  Of the 16 suicides, most inmates hanged themselves,

  including 38-year-old Sean Wallace, who'd been in and

  out of safety cells at the Central Jail because of

  numerous suicide threats, including an attempt to slice



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  his wrists with a butter knife. On April 23, 2011, he

  was moved out of a psychiatric unit to a regular

  administrative-segregation cell; 47 minutes later,

  during medicine call, a nurse found Wallace hanging

  from a sheet tied to a bed bracket.


  Others used less-conventional methods. In 2011,

  Abraham Clark, a 34-year-old man with a history of

  mental illness, ingested enough water in a short period

  of time to send his brain into anoxic shock. In 2009,

  John Kopkowski, an Ohio man accused of having child

  pornography on his computer, threw himself head first

  off the second tier of his unit at George Bailey.

  According to the medical examiner's report, inmates

  allegedly told Kopkowski he "should end his own life

  before somebody did it for him."


  There were five homicides in the jail system. In 2010,

  Jeffrey Dunn, a 23-year-old murder suspect, died of an

  asthma attack during a fistfight. In 2010, Russell

  Hartsaw, a mentally ill 70-year-old arrested on a

  probation violation, was beaten to death by other

  inmates. Three inmates died at the hands of deputies:

  Two perished—Jeff Dewall in 2008 and Tommy Tucker

  in 2009—due to oxygen deprivation when guards

  attempted to restrain them, and a third, Anthony

  Dunton, was shot to death in September 2012 after

  breaking free from his restraints during an MRI

  examination at UCSD Medical Center.


  Then there are the accidental deaths. In jail, accidental

  deaths aren't accidental like traffic collisions or slipping

  and breaking one's neck. All eight of the "accidental"



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  deaths in San Diego's jails were drug-related, either

  overdoses or physical complications due to withdrawal.

  Some inmates obtained drugs in jail or hoarded

  medications, such as Mark Johnson. The 42-year-old,

  who'd just been sentenced to 28 years under

  California's Three Strikes law, told his cellmate he'd be

  getting a "shipment of drugs." Richard Diaz, a 40-year-

  old addict, died from a stomach obstruction after three

  days of seizures and vomiting due to heroin

  withdrawal.


  CityBeat obtained and analyzed all 60 medical-

  examiner investigations. We also compared those

  narratives against findings by the county's Citizens Law

  Enforcement Review Board and documents from

  multiple wrongfuldeath lawsuits against the

  county. Sheriff Bill Gore denied interview requests,

  asking for questions in writing, most of which his office

  did not answer.


  In upcoming weeks, CityBeat will publish its findings,

  which raise significant concerns over whether the San

  Diego Sheriff's Department is doing enough to reduce

  inmate deaths.


                             ***




  Sixty dead inmates. Is that low or high? How many

  dead inmates is too many?




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  In 2000, Congress passed the Deaths in Custody

  Reporting Act (DCRA) to help address increasing

  reports of neglect and abuse in U.S. jails and prisons.

  Under the act, the Bureau of Justice Statistics (BJS),

  the research and analytical arm of the U.S. Department

  of Justice, collects reports from correctional facilities

  and employs a measurement called the mortality rate

  to compare facilities. As a formula, it's the number of

  deaths divided by a jail or prison system's average

  daily population (ADP)—the average number of

  prisoners in the facility on any given day in a year. This

  formula allows researchers to accommodate for the

  high turnover and daily fluctuation in local jail

  populations. It's also the metric used by the National

  Institute of Corrections.


  "The reason why we use average daily population is

  that we want to mirror the method that is

  epidemiologically sound," BJS researcher Margaret

  Noonan says.


  In other words, since the Centers for Disease Control

  and other health organizations use an equivalent

  mortality rate to calculate deaths for large populations,

  prison researchers can compare the mortality rates in

  jails to that of society as a whole. Typically, the

  mortality rate is expressed in number of deaths per

  100,000 people.


  For example, in 2010, the United States had a

  mortality rate of 799 deaths per 100,000 people. Jails

  in the U.S. had an average mortality rate of 125 deaths




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  per 100,000 inmates. Jails in California had a rate of

  162 deaths per 100,000 inmates.


  "Deaths occur far less in jail than in the general

  population," Noonan says. "It's because [jail] is a

  microcosm. It's a smaller subpopulation of the general

  population and people cycle in and out so quickly,

  they're really not in the population long enough to die."


  The San Diego County jail system's 11 deaths in 2010

  resulted in a mortality rate of 237 deaths per 100,000

  inmates—90 percent higher than the national average

  for jails that year and 46 percent higher than the

  average for California jails. But, Noonan says, since the

  rate can fluctuate year to year, it's important to look at

  the mortality rate over a number of years.


  "We don't want [the public] to look at a certain rate

  and say, Wow, that seems really high,' because what

  could happen is the following year, San Diego might

  only have four deaths and then, all of a sudden, their

  rate is right back to where you would expect it to be."


  San Diego County hit its high in 2009 with 12 deaths,

  followed by two years each with 11 deaths, then

  dropping to eight deaths in 2012.


  "Deaths can certainly vary dramatically from year to

  year," says Dr. Ronald Shansky, a jail health consultant

  and former medical director for the Illinois Department

  of Corrections. "Over time they tend to be fairly stable,

  and it does help to compare to other facilities."




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  But there hasn't been much variation for San Diego's

  jails. When the BJS released its statistics for 2000

  through 2007, San Diego had the second highest death

  rate of California's large jail systems, with 195 deaths

  per 100,000 inmates. That rate has increased in the

  years since. Between 2000 and 2012, San Diego

  County's mortality rate was 218 deaths per 100,000,

  putting the county at the top of the list.


  CityBeat independently collected six years' worth of

  data— 2007 to 2012—from California's 10 largest

  county jail systems and analyzed it using BJS's

  epidemiological model. Our intent was to compare the

  most recent data among facilities that are similar in

  size, population and institutional framework (in other

  words, the same state-level criminal statutes and

  similar funding relationships with the state

  government). Further, records indicated that 2006 was

  the last year the San Diego County jail system

  underwent changes to prevent deaths.


  Of those 10 jail systems, over that period, San Diego

  County had the highest average mortality rate: 202

  deaths per 100,000 inmates.


  The next closest was Riverside County, with 198 deaths

  per 100,000 inmates and Alameda County with 173

  deaths per 100,000 inmates.


  How many dead inmates is too many? Here's one way

  to look at it:




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  If 17 fewer people died in San Diego County jails over

  the last six years, that would make the county about

  average among California's 10 largest jail systems (or

  147 deaths per 100,000 inmates).


  The San Diego County Sheriff's Department challenged

  the mortality-rate method of measuring deaths,

  specifically with suicides, claiming that it produces

  "mathematically exaggerated" numbers. Instead, the

  Sheriff's Department pointed to a less accepted

  method, the "at risk" rate. Instead of using the average

  daily population, the "at risk" rate divides the number

  of deaths by the total number of bookings. The theory

  behind this formula is that everyone who enters the

  facility is at risk of dying. However, very little research

  exists based on this type of measurement, and the

  Sheriff's Department did not provide scientific evidence

  to support its position.


  It's easy to see why the department prefers this

  method. Using booking data from 2007 to 2011 (2012

  has not yet been compiled), CityBeat found that San

  Diego County's inmate mortality rate was better than

  the average large jail system in California.


  However, the more people who are booked and

  released, the better the rate looks, and San Diego

  County has a disproportionately large number of

  bookings for a jail system its size. The BJS doesn't use

  bookings-related data for this very reason—high

  turnover skews the data.




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  "Obviously, there are other people that use admissions,

  and we wouldn't say that's wrong, per se—it's just not

  the way that we do it," Noonan says. "We want to

  follow a model that is more epidemiology based,

  because we are dealing with mortality data."


  "The Bureau of Justice Statistics has been using the

  calculation of average daily population for 20 or 30

  years or more, and no one complains about it unless

  they have a higher rate than the national average,"

  says Lindsey Hayes, project director at the National

  Center on Institutions & Alternatives.


  Numbers, however, offer only a bird's-eye view, and

  many experts are cautious to base criticism on

  numbers alone.


  "Probably the most important thing to determine is: Do

  they have an effective review program," Shansky says.

  "Because that's the only thing that's going to impact

  the possibility of reducing deaths."


  The Sheriff's Department did not express concern about

  the information we presented to them and did not

  recognize its validity even though the numbers were

  based on a model designed by the Department of

  Justice, the same branch where Sheriff Bill Gore

  previously worked as an FBI agent.


  "You asked if we were aware of [your] statistics as

  presented," Sheriff's spokesperson Jan Caldwell, herself

  a former FBI agent, says via email. "Our Detentions

  Services Bureau regularly meets to examine and review




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  all inmate deaths to ascertain the circumstances of

  death and ensure all of our policies and procedures

  were followed. The objectives of this assessment are to

  thoroughly review and learn from the events, make any

  necessary changes based on these events and ascertain

  if the events were preventable. The Sheriff's

  Department takes each inmate death very seriously,

  since we are responsible for their safety and well-

  being."


                             ***



    Illustration by Adam Vieyra. Sources: Bureau of Justice
        Statistics, San Diego County Sheriff's Department

  Several agencies are tasked with overseeing jail

  facilities in San Diego, but few have paid close

  attention to the mortality rates.


  The San Diego County Grand Jury, a body of citizens

  who inspect the facilities annually, has rarely

  mentioned jail deaths in its annual reports. The San

  Diego County District Attorney reviews all officer-

  involved deaths in custody, but found that the three

  that occurred in the last six years were within policy.

  The main body charged with investigating deaths is the

  county's Citizens Law Enforcement Review Board

  (CLERB), which examines allegations of abuse in

  custody.


  When an unnatural death occurs in jail, the Sheriff's

  homicide division writes up an investigative report,

  which is then reviewed by the Sheriff's internal Critical




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  Incident Review Board. CLERB also receives a copy and

  decides whether to conduct its own investigation.


  "We are finders of fact," Lt. Glenn Giannantonio of the

  homicide division tells CityBeat. "We don't make any

  policy-issue recommendations. We just say this is what

  happened and primarily this is why it happened."


  Since 2007, CLERB has completed 24 in-custody-death

  investigations. Another seven cases are still under

  review, says Executive Director Patrick Hunter via

  email.


  Hunter says that CLERB doesn't normally investigate

  deaths ruled as natural unless there are extenuating

  circumstances.


  The publicly available results of each investigation are

  little more than a single paragraph; in no cases did

  CLERB find wrongdoing on the part of the Sheriff.

  However, CLERB has made a number of policy

  recommendations, several of which the sheriff has

  rejected.


  In 2008, after the suicide of Adrian Correa, a 21-year-

  old paranoid schizophrenic who'd threatened to kill

  himself multiple times, CLERB expressed concern about

  a breakdown in communication during shift changes.


  "Briefings at shift changes in the detention facilities

  should routinely include information about inmates

  identified as suicide risks," wrote Robert Winston,

  CLERB's chair at the time, to then-Sheriff Bill Kolender.

  "A checklist that includes the status of at-risk inmates



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  and the Department's response plan would enhance

  continuity of care, monitoring and housing," Winston

  wrote.


  Earl Goldstein, the Sheriff's medical director, thanked

  Winston for his letter but rejected the recommendation,

  saying that the jail's suicide rate was low—only four

  suicides total during the 2007-2008 and 2008-2009

  fiscal years (July 1, 2007, through June 30, 2009).


  "Based on... the low incidences of completed suicides in

  our facilities, it is not practical to add these systems to

  the current program," Goldstein wrote.


  But Goldstein's numbers were wrong. There were

  actually six suicides during that period, and a seventh

  that happened on July 3, 2009—three days into the

  next fiscal year.


  When inmate Dewall died in 2008 due to excessive

  restraint, CLERB took nearly three years to issue policy

  recommendations. By then, another inmate, Tommy

  Tucker, had died due to similar excessive-restraint

  techniques. CLERB did not investigate Tucker's death.


  In 2011, CLERB suggested that the Sheriff's

  Department review its training policies and have its

  tactical team wear numbers on their uniforms so they

  can be identified when investigators review videotapes.

  The sheriff conceded to those changes, but denied

  others.


  In a March 2011 letter to the sheriff, CLERB expressed

  concern that the department did not have formal



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  policies regarding when it would alert CLERB of an

  inmate's death, despite county code endowing the

  board with clear oversight responsibilities. Per state

  code, CLERB's allowed one year to initiate an

  investigation; there were cases in 2009 and 2010 that

  the board didn't find out about in time, Hunter says.

  CLERB identified five areas where it wanted to be

  included in the notification process; the sheriff declined

  all of them.


  "We strive to respond with professionalism and a spirit

  of cooperation to recommendations for improvement to

  the policies and procedures," Sheriff's Department

  Executive Manager John Madigan wrote in response.

  "CLERB has significantly contributed to the

  enhancement [of ] these important documents and we

  appreciate the Board's insight."


  But, he concluded: "After due consideration, Sheriff

  Gore respectfully declines to modify the policies and

  procedures as suggested by CLERB."


  The sheriff did, however, direct the department's

  Division of Inspectional Services to notify CLERB of all

  in-custody deaths.


  In questions provided to the sheriff, CityBeat requested

  further explanation of this decision and how it bodes

  for transparency and accountability.


  "While we appreciate CLERB's valuable review process,

  they are not part of the Sheriff Department's




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  investigatory process and therefore are not contacted,"

  Caldwell wrote.


  Even more inconsistent may be how families are

  notified of the circumstances of an inmate's death.

  When Tucker died in the hospital due to injuries

  sustained during physical restraint, it was not the

  Sheriff's Department that contacted the family; it was

  representatives of an organ-donation agency. Only

  after the family received a letter from another inmate

  describing the incident did they move to press further

  through a lawsuit. The family of Shane Hipfel, who

  drowned himself in his cell toilet in 2012, fought for

  more than a year for information; only after the threat

  of a lawsuit did the sheriff allow one of the family's

  attorneys to view the video tape of the incident.


  "We made several verbal requests through various

  channels to get the video tape, which supposedly

  shows the incident, but the sheriff's office refuses to

  turn it over," attorney Vince Colella said in an interview

  in January. "They claimed it's not their jail policy to do

  so . If nothing was done wrong or improper, at least get

  the family the video so they have closure."


  In mid-March, after CityBeat presented its research to

  the sheriff, a representative of the family finally was

  allowed to view the video. A lawsuit is forthcoming,

  Colella says.


                             ***




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  As our series continues, we'll drill down on the specifics

  of certain deaths to ask how many of the 60 were

  preventable.


  "Oftentimes I will hear from sheriffs, We're scratching

  our head; we've had these deaths and we think we

  have good policies and we didn't violate our policies,'"

  says Hayes, a national expert on suicide prevention.

  "And then I go on-site, and I say, Well, you didn't

  violate your policies because you have really bad

  policies.'"


  But, unlike the jurisdictions that invite Hayes in to

  assess their performance, the San Diego County

  Sheriff's Department has yet to acknowledge that its

  high mortality rate is a problem. True, inmates are a

  high-risk group: many are longtime addicts, for

  instance, with myriad health issues as a result of their

  addiction.


  "The analogy is between jail and an emergency room,

  and a prison is like a doctors office," says Marc Stern, a

  correctional healthcare consultant and former Health

  Services Director for the Washington State Department

  of Corrections. "In jails, people are coming and going

  all the time; it's very difficult to operate a jail. It's

  hectic and it's high-risk."


  But, Stern says, San Diego's high mortality rate is a

  red flag.


  "The best news—if I were writing your article, or if I

  were investigating this—would be talking to the jail and




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  have them say, You know, we noticed the same thing

  you did; there's an unexpectedly high number of

  deaths and suicides compared to other places, and we

  are investigating it," he says. "That would be kind of

  the good-news story—to find out that they really are

  addressing it."




  Correction: We stated that San Diego had 13
  deaths in 2009, when in fact one of those deaths
  occurred in 2008. The overall mortality rate is
  unaffected. We also stated there were 15 suicides,
  when in fact there were 16. We regret the errors.



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  NEWS   SAN DIEGO COUNTY SHERIFF\'S DEPA   INMATE DEATHS

  by Dave Maass, Kelly Davis
  March 27, 2013 12:00 AM




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   June 12, 2014 12:00 AM




   Law
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   It's the second recent instance where
   procedural violation may have played
   a role
   by Kelly Davis


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   In the last nine months, the Citizens Law Enforcement
   Review Board (CLERB), the independent oversight body
   charged with investigating deaths-in-custody and
   allegations of law-enforcement misconduct, has twice found
   that San Diego County sheriff's deputies violated policy and
   procedure in instances of inmate suicides. ---


   The most recent involves Jose Sierra, a 27-year-old
   Mexican citizen who'd been arrested for being under the
   influence of a controlled substance and was awaiting trial.
   On April 17, 2013, Sierra was found hanging in his cell in
   the county's Central Jail. A summary of the incident in
   CLERB's June agenda suggests that Sierra had hung
   himself with the help of an "unauthorized laundry line" that
   deputies noticed in his cell, but didn't order him to remove.
   Its removal, the summary says, "may have prevented
   Sierra from carrying out the suicide." Here's the full
   summary:


       During a security, check Deputies 1 and 2 discovered
       Sierra hanging from a bed-sheet in his single
       occupancy locked cell; he was transported to UCSD
       Medical Center where he was later pronounced dead.
       During the previous security check, Deputies 1 and 2
       observed and unauthorized laundry line affixed to the
       top bunk in Sierra's cell, and failed to take corrective



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       action per Sheriff's Polices & Procedures. Deputies 1 &
       2 failed to remove the unauthorized laundry line or
       confront Sierra to direct its removal, actions which may
       have prevented Sierra from carrying out the suicide at
       that time. The Medical Examiner determined the cause
       of death was due to hanging, and the manner of death
       as suicide.


   Inmates usually commit suicide by tying a bed sheet (torn
   into strips) or a piece of clothing around a bunk post or
   door handle and then lean forward to strangle
   themselves. It's not clear how Sierra used the laundry line
   in conjunction with the bed sheet, or whether the laundry
   line was made from a torn bed sheet. The medical
   examiner's report is light on details, saying only that
   deputies "observed him hanging by the neck" and that the
   detective assigned to the case "did not know where or how
   the sheet was tied."


   In October, CLERB found that a deputy violated policy and
   procedure by logging a security check on a mentally ill
   inmate, Anna Wade, that didn't actually happen. Checks
   are supposed to happen hourly, but two hours passed
   between when Wade was last seen alive and when she was
   found hanging in her cell on April 28, 2013. CLERB
   ultimately found that "there was insufficient evidence to
   determine if a mandated security check... could have
   precluded this suicide in any way." CityBeat reported on
   Wade's death in October.


   CLERB's not yet reviewed the case of Dervin Bowman, who
   was found hanging in his Central Jail cell on Nov. 17, 2013.
   A medical examiner's reported noted that Bowman, who
   was able-bodied, had been placed in a cell for disabled
   inmates that contained a movable chair. The report
   suggests that, if not for the chair, Bowman wouldn't have
   been able to tie the end of a torn bed sheet to an overhead
   fire sprinkler. Bowman's case wasn't turned over to CLERB
   for review until two months ago, when CityBeat asked
   about it.



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   LAST BLOG ON EARTH | NEWS   60 DEAD INMATES   CLERB

   by Kelly Davis
   June 12, 2014 12:00 AM



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  October 16, 2013 12:00 AM




  10 more dead
  inmates
  People are still losing and taking their
  lives in San Diego County jails
  by Kelly Davis


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  When Robert Lubsen was booked into the Vista

  Detention Facility on the afternoon of Feb. 6, 2013, he

  was first placed in a lower-level cell but later moved to

  a cell on the jail's second floor. The next morning, after

  cell doors opened to allow inmates access to a common

  area, Lubsen climbed onto a walkway railing, leaned

  over and fell, headfirst, 9 feet to the concrete floor

  below. He was taken to Palomar Medical Center, where,

  on Feb. 12, his family decided to take him off life

  support.


  Lubsen, who was 26, was the first inmate to die in San

  Diego County jails in 2013 and one of four suicides so

  far this year.


  At booking, jail staff documented what looked like

  ligature marks on Lubsen's neck and, on the morning of

  his death, his cellmate reportedly tried to warn staff

  that the young man planned to harm himself but was

  deemed not credible. While the medical examiner's

  report says that Lubsen, during the intake process,

  didn't express an intent to kill himself—inmates are

  asked to answer "yes" or "no" to "Are you feeling

  suicidal?"—the jail system's own written policy says

  that after intake, "[a]ll reports of suicidal behavior

  shall be considered serious."


  Lubsen's family filed a claim with the county on July

  26, the first step in a lawsuit. The claim alleges that

  the Sheriff 's Department knew Lubsen was at risk of

  harming himself but did nothing about it.




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  His father, Paul, says his son had struggled with drug

  addiction for seven years. In 2012, it looked like he'd

  pulled his life together—he had a girlfriend, a job with

  a shoring and drilling company and his own apartment.

  But toward the end of the year, when work dried up, he

  fell back into addiction. He was arrested for burglary on

  Feb. 6.


  "I always believed that when Rob was using, that the

  best thing for him was to be in jail and that he'd be

  safe there," his dad says. "I was wrong. I don't believe

  the Sheriff's Department took any steps to protect

  him."


  In March, CityBeat reported that from 2007 to 2012,

  San Diego County had the highest average mortality

  rate among California's 10 largest county jail systems

  and the second-highest suicide rate—in all, 60 people

  died during that period. This followed a Bureau of

  Justice Statistics finding that from 2000 through 2007,

  San Diego had the second highest death rate of

  California's large jail systems.


  As of Oct. 14, 10 people have died in jail custody this

  year, matching the 10-deaths-per-year average that

  pushed the county to the top of the list for 2007

  through 2012. Of the six years CityBeat examined, the

  highest annual number of suicides was five, in 2011,

  and the six-year average was just under three per

  year.




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  "You don't have to average two or three suicides a year

  in your jail system," says Lindsay Hayes, a national

  expert on in-custody suicide prevention.


  In addition to the four suicides this year, there were

  two drug-overdose deaths and two natural deaths, one

  of which was Alba Cornelio, who in February was found

  guilty of manslaughter after her two pit bulls attacked

  and killed her neighbor. Cornelio, who was battling

  leukemia, collapsed after the verdict and was taken to

  the hospital, where she died a month later. Though she

  wasn't incarcerated at the time of her death, because

  she was in Sheriff's custody—shackled to her bed—both

  the state Attorney General's office and the federal

  Department of Justice, which track jail deaths, consider

  Cornelio to have died in custody.


  The remaining two deaths are still being investigated

  by the Medical Examiner's office. One of those is David

  Inge, whose daughter, Nichole Johnson, says a

  homicide detective told her that her father had

  complained about feeling ill when he was booked into

  the Vista Detention Facility on Aug. 9.


  "But I guess they hear that a lot, because they didn't

  take it too seriously," she says.


  Late on Aug. 9, Inge was found unresponsive in his

  cell. Johnson hopes her father's autopsy report will

  offer more information.


  Of the 20 suicides in San Diego County jails since

  2007, only two have been women, both of them




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  diagnosed with mental illness. Qiongxian Wang Wu

  fashioned a noose out of a pair of socks and hanged

  herself on Feb. 27, 2011, and 64-year-old Anna Wade

  used a bed sheet to hang herself from her bunk on

  April 28 of this year. Both were at Las Colinas Women's

  Correctional Facility.


  Wade, who was schizophrenic, had been in custody for

  more than two years after being charged with stalking

  for sending threatening letters to a former attorney

  and a police officer who'd arrested her. The letters,

  which are included in Wade's court file, are largely

  nonsensical. Written in English, Spanish, Arabic and

  gibberish, they're filled with anti-Semitic language and

  references to the Old Testament and the occult. But

  they were enough to prompt her former attorney to

  move his family into a hotel.


  In May 2012, after being declared incompetent to stand

  trial, Wade was sent to Patton State Hospital for three

  months. According to her court file, she'd done at least

  three stints there since 2004. Back at Las Colinas, she

  was put in administrative segregation and "green-

  banded," meaning she wore a fluorescent-green

  wristband to indicate she was prone to aggressive

  behavior.


  Cmdr. John Ingrassia, jail supervisor for the Sheriff's

  Department, says Wade was being seen "at least twice

  a month" by a psychiatrist; her next scheduled

  evaluation would have been April 30.




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  Kristin Scogin, the deputy public defender who

  represented Wade after she was released from Patton,

  said that, by April, when jury selection began for her

  trial, Wade "seemed fine." Bailiffs who remembered

  Wade from previous cases would stop Scogin and tell

  her they thought Wade was doing really well.


  But, on Friday, April 26, after returning from the

  second day of jury selection, Wade refused to shower

  or leave her cell for recreation time, according to the

  medical examiner's report. She remained in her cell on

  Saturday, too.


  Sheriff's Department policy requires deputies to

  conduct security checks "on an hourly or more frequent

  basis"; they're supposed to "look in each cell, and

  observe each inmate for any obvious signs of medical

  distress, trauma, or criminal activity."


  The medical examiner's report notes that at 12:16 p.m.

  on Sunday, April 28, Wade was observed in her cell

  during a routine security check. She wasn't checked on

  again for almost two hours, when she was found

  hanging from her bunk.


  The report notes that Wade had no history of suicide

  attempts or threats and was given Zyprexa, an anti-

  psychotic medication, nightly. But the report also

  suggests that since returning from court on Friday,

  Wade had quickly gone downhill. In addition to refusing

  shower and rec time, she'd made a mess of her cell.

  Her things were scattered all over, she'd drawn a

  swastika on the wall and, according to the report,



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  "chronic urination was noted to her top bunk bed and

  the floor."


  An investigation by the Citizens Law Enforcement

  Review Board, the oversight body that reviews jail

  deaths and officer-related misconduct, found that the

  deputy whose job it was to notify other deputies to

  perform a floor check had failed to do so, but there was

  "insufficient information to determine if a mandated

  security check that was not performed, could have

  precluded this suicide in any way."




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  inmate deaths in San Diego County jails.



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  by Kelly Davis
  October 16, 2013 12:00 AM




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  It's likely no one will ever know for sure what
  happened to Jerry Cochran the night before he
  died. On the evening of Sept. 15, 2014, his
  girlfriend, Vella Rhinehart, called an ambulance
  to take Cochran to the emergency room—she was
  concerned about some swollen spider bites on his
  neck. They were homeless, and Cochran had
  trouble walking without assistance.



  The last time Rhinehart saw Cochran, he was in
  the back of the ambulance, his walker folded up
  next to him. He was wearing his medical-ID
  necklace that let folks know he was diabetic, she
  says. The EMT told her Cochran didn't need his
  wallet or medication; she told the EMT to tell the
  hospital to call her when Cochran was
  discharged—she'd find a way to come get him.

  "Nobody ever called," she says. "I called and
  called and called, and walked and walked"—up
  and down Fourth and Fifth avenues the next day,
  the path Cochran might have taken on his way
  back to their camp. Wednesday night, after two
  days of searching, Rhinehart got a phone call
  from her sister telling her Cochran had been
  arrested and died in jail.


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  Since March 2013, CityBeat 's been reporting on
  deaths in San Diego County jails, a series
  prompted by our finding that the county had the
  highest inmate mortality rate of California's 10
  largest jail systems between 2007 and 2012.
  During that period, the county averaged 10 deaths
  a year, with a high of 12 in 2009 and a low of eight
  in both 2007 and 2012. Twelve people died in
  2013. This year, as of Dec. 19, 16 county-jail
  inmates have died.

  "Sixteen deaths in a one year period is a concern
  to us," wrote Sheriff's Cmdr. John Ingrassia in an
  email to CityBeat . He noted that several of those
  inmates were terminally ill— CityBeat counted
  four based on medical examiner's reports. He also
  noted that the Sheriff's Department books more
  people into jail than similarly sized counties due
  to different booking acceptance criteria—a point
  the Sheriff's Department's has made to us in the
  past to challenge our reporting. But, Ingrassia
  added, "we don't hide behind this figure as an
  excuse or justification for the number of jail
  deaths."

  "Our goal is to have zero inmate deaths," he
  wrote, "and we take each and every case very
  seriously."

  ****

  Cochran didn't make it beyond a Central Jail
  holding cell. On the morning of Sept. 16, he was


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  arrested for trespassing only a few blocks from
  Scripps Mercy hospital, where Rinehart says he
  was taken ( CityBeat wasn't able to confirm this
  due to patient-privacy rules). He was wandering
  in and out of a chiropractor's office, "mumbling
  gibberish" about having lost his wallet, according
  to the medical examiner's report. At the jail's
  sally port, he refused to get out of the police car
  and had to be carried inside.

  Rhinehart believes his behavior was the result of
  him being without his medication and food for
  possibly a dozen hours.

  "He would have been like a 2-year-old," she says.

  Rhinehart doesn't know if Cochran was coherent
  enough to let the jail's medical staff know during
  intake that he was diabetic. She doesn't know if
  he was still wearing his medical-ID necklace—it
  wasn't among the items inventoried by the
  medical examiner. At around 12:30 p.m., less than
  two hours after he'd arrived at the jail, he fell
  face-forward off a bench. Paramedics were called,
  and he was taken to UCSD Medical Center, where
  he was pronounced dead at 2:15. The cause of
  death was diabetic ketoacidosis, a condition
  caused by an insulin shortage that's rarely fatal if
  treated immediately.

  Rhinehart says a sheriff's homicide detective told
  her that deputies "did nothing wrong." Ingrassia




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  told CityBeat that a review of Cochran's death is
  scheduled for next month.

  Rhinehart's back in North Carolina, where she
  and Cochran are from, living with her sister. "I
  don't go out of my bedroom," she says. "I don't
  leave my bed. He was my life."

  ****

  During the six-year period CityBeat examined for
  its initial story, three lawsuits had been filed
  against the county over inmate deaths. By
  comparison, there have been three lawsuits filed
  in 2014 alone; last week, CityBeat confirmed that
  a claim's been filed in a fourth case, the precursor
  to a lawsuit. And, in November, a jury found the
  county liable in the death of Daniel Sisson, a 21-
  year-old who was found dead in his jail cell on
  June 25, 2011, from an acute asthma attack made
  worse by heroin withdrawal. The county is
  appealing the $3-million verdict.

  One of the cases filed this year was by Anna
  Sandoval, whose husband, Ronnie Sandoval, died
  in the Central Jail on Feb. 23, the result of a drug
  overdose. He'd been arrested on Feb. 22 for
  methamphetamine possession. The medical
  examiner's report notes that during intake,
  Sandoval was observed to be sweating profusely.
  The lawsuit argues that despite obvious signs he
  was in distress, he was deprived of "life-saving
  medical attention."


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  A response filed by the county argues, among
  other points, that Sandoval alone was responsible
  for his death. According to the medical
  examiner's report, during the intake screening,
  he denied ingesting drugs.

  "We don't know what Ronnie told the nurses, at
  least not yet," says Diana Adjadj, Anna Sandoval's
  attorney. Regardless, "there were objective signs"
  of possible overdose, Adjadj says. The limited
  records she's been able to get say that in addition
  to Sandoval's profuse sweating, he struggled to
  respond to questions during intake. At some
  point, he was removed from a general-population
  holding cell and put in a single cell, where he
  remained for nearly eight hours, a possible
  violation of California's Minimum Standards for
  Local Detention Facilities, which says that an
  inmate who's placed in a sobering cell isn't to be
  left there for longer than six hours without being
  evaluated.

  "They knew something was wrong with him,"
  Adjadj says, "but instead of monitoring him, they
  isolated him in a holding cell."

  According to the medical examiner's report, at
  close to 1 a.m., a guard saw Sandoval slump over
  and fall to the ground in a seizure. Emergency
  personnel showed up 20 minutes later but were
  unable to transport him; he was declared dead at
  2:15 a.m.



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  In his email to CityBeat , Ingrassia noted that
  while there have been five suicides this year,
  none have happened since July, "which I believe
  is a positive sign that changes implemented by
  our new medical director, Dr. [Alfred] Joshua, and
  mandatory training received by our deputies are
  working."

  Joshua was hired in January, and CityBeat spoke
  with him in July about policy changes he'd made
  and strategies he planned to implement to reduce
  the number of inmate deaths. He was looking to
  implement a "step-down unit" for inmates who'd
  been taken off suicide watch. He also said staff
  would be trained to be more attentive to signs
  that might indicate mental distress, like the
  condition of an inmate's cell or whether someone
  was refusing meals.

  The two last suicides of 2014 highlight the need
  for these new approaches.

  Hector Lleras, 36, the fifth suicide of the year,
  twice told jail staff—first a nurse, then a
  deputy—that he was going to kill himself. On July
  1, he was put in a safety cell and then released 24
  hours later. Almost exactly 24 hours after that, he
  was found hanging in his Central Jail cell.

  Christopher Carroll, a mentally ill homeless man,
  was arrested on June 14 for disorderly conduct. A
  chronic alcoholic who, according to his family,

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  suffered from serious mental illness, Carroll was
  placed in administrative segregation because,
  during previous jail stays, he'd been unable to get
  along with other inmates. His segregated status
  meant he was allowed out of his cell for only one
  hour every 48 hours.

  On June 18 at 11:45 a.m., Carroll inquired, via
  intercom, when he'd get his hour in the dayroom
  and was told it wasn't time yet. At 12:30, he was
  found with a noose around his neck, attached to
  the cell's top bunk.

  According to the medical examiner's report, he'd
  smeared blood on the wall of his cell. He'd
  urinated on the floor and food and feces were
  stuck to the ceiling.

  Carroll was only 5 feet tall and weighed 105
  pounds. His family tried to help him, says his
  brother Ken, but he'd reject their offers. When he
  was lucid, he was funny and outgoing, "full of
  life," Ken says. "But mental illness just kept
  dragging him back in."

  Ken says the family wasn't able to get much
  information about Christopher's death. They
  didn't know, for instance, that he'd scrawled a
  suicide note on his cell wall. When CityBeat told
  Ken that Christopher had been placed in solitary
  confinement, he wondered if that's what pushed
  his brother to kill himself.




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  "He just didn't like four walls," Ken said. "He          RSS

  couldn't stand four walls."

  Email kellyd@sdcitybeat.com or follow her on
  Twitter at @citybeatkelly.

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  December 22, 2014 12:00 AM




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  Suicide in the
  cell
  Inmates kill themselves at a high rate
  after San Diego County Sheriff's
  Department refuses to revamp policies
  by Kelly Davis, Dave Maass


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  Ten men and one woman hung themselves in San

  Diego County jails during the last six years. They used

  socks or sheets, stringing handmade nooses from

  sinks, doors and bunks.


  One inmate flung himself headfirst over the second tier

  of his unit. Two men intentionally overdosed on

  prescription medication. One drowned himself in a

  toilet. Another purposefully ingested a large amount of

  water so quickly that he died from acute water

  intoxication.


  All counted, the San Diego County Sheriff's Department

  recorded 16 inmate suicides between 2007 and

  2012. Among California counties, only Los Angeles,

  whose jail system is roughly four times the size of San

  Diego's, recorded more suicides—24—during that

  period.


  "The sad reality is that a person who is determined to

  commit suicide will commit suicide, and by using the

  everyday objects within their reach," Sheriff's

  Department spokesperson Jan Caldwell writes in an

  email. "We train our deputies to look for signs of

  distress. However, drinking water would not be a

  recognizable signal for anyone."


  But for correctional health experts, the county's high

  suicide and mortality rates signal something could be

  wrong in San Diego's five jails.



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  As we reported in the first part of our investigative

  series "60 Dead Inmates," between 2007 and 2012,

  San Diego County had the highest mortality rate

  among California's 10 largest jail systems. Using the

  statistical method adopted by the U.S. Bureau of

  Justice Statistics (BJS) and the National Institute of

  Corrections—the number of deaths divided by each jail

  system's average daily population—CityBeat also found

  that San Diego had the second-highest suicide rate

  among the state's large jail systems: 54 suicides per

  100,000 inmates, more than 60 percent higher than

  the average.


  Caldwell described the BJS methodology as

  "mathematically exaggerated" and argued that it's

  more appropriate to compare the number of suicides

  with the total number of inmates who pass through the

  jail system annually. Using that method results in a

  rate of 2.8 suicides per 100,000 inmates.


  "If San Diego County wants to calculate their suicide

  rate based upon yearly admissions, they're perfectly

  free to do so," says Lindsey Hayes, a suicide-

  prevention expert with the National Center on

  Institutions and Alternatives. "But then they cannot

  compare themselves to others because no one else

  calculates the rate like that. Clearly, the average daily

  population rate has its drawbacks, but it's the purest

  rate."


  CityBeat obtained and analyzed medical-examiner

  reports, oversight-body findings and jail policies and




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  interviewed family members to put together a picture

  of how suicides happen in jail.


  "When I investigate a jail system that's had [16]

  suicides in a six-year period, I tend to find that there

  were either bad practices or preventable deaths in

  many of the cases," Hayes says. "You normally come to

  the conclusion that not all of those 16 deaths were

  preventable, but many of them were."


  Hayes says he looks for problems with training, intake

  screening, inadequate medical and mental-health

  staffing and whether there are enough officers to do

  rounds at regular intervals.


  "There are usually multiple reasons why these

  problems exist," he says. "You don't have to average

  two or three suicides a year in your jail system."


                               ***


  Blame is a hard thing to place when an inmate commits

  suicide. In a broad context, jail suicides can be viewed

  as a product of history, with the de-institutionalization

  of the mentally ill in the 1960s and '70s.


  "A lot of people have made the observation or

  argument that with that change in our mental-

  healthcare system, a lot of the chronically mentally ill

  who previously resided in state hospitals are now

  circulating between the streets and correctional

  settings," says Dr. Hal Wortzel, a University of

  Colorado professor who's examined suicidal behavior

  among inmates and recently released inmates. "That



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  may, in part, explain why we see so many suicides in

  correctional settings."


  Caldwell describes the department's medical screening

  and care as "excellent."


  She acknowledges the Sheriff's Department's role as

  one of the county's largest mental-health service

  providers—roughly a quarter to one-third of inmates

  are on psychiatric medication, she points out.


  For the parents of inmates, blame often turns inward.
  Shane Hipfel had always been bipolar, but at the end of the
  summer of 2011, the 39-year-old tutor was off his
  medication and experiencing violent, paranoid-
  schizophrenic episodes. In October, he was arrested after
  attacking a gardener who was mowing the lawn near his
  window.


  Shane's parents, Wayne Hipfel and Peggy Leder, had

  been flying back and forth from Michigan, where they

  lived, staying for weeks at a time to check on their son.

  They're haunted by their decision not to bail Shane out

  of jail.


  "I wish to heck I had," Wayne says. "I thought about it,

  but I wasn't really ready to do it, either, because I

  didn't know what we were going to do when we got him

  out."


  In jail, they thought he'd be protected from himself and

  receive treatment. Shane was a "green-banded"

  inmate, which meant he wore a fluorescent-green

  wristband to indicate he was highly assaultive. When

  his parents visited him, he was covered in bruises and



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  abrasions and expressed fear that someone was going

  to kill him.


  "He would never say who," Wayne says. "We didn't

  know if schizophrenia was going on with him or if

  somebody was threatening him in jail."


  Shane was sentenced to a three-year term at Patton

  State Hospital in San Bernardino County, but the

  transfer was weeks away, if not months. The

  paperwork allowing psychiatric treatment to begin at

  the jail also was delayed by a backlog at the court.


  New Year's Day 2012 brought good news: Shane finally

  had been transferred to the jail's psychiatric security

  unit, where he could be medicated.


  "Boy, that was the best call we got," Wayne says. "We

  were so happy about that."


  The next day, another call came. Shane was on life

  support after attempting to drown himself in his toilet.

  He died five days later.


  Wayne and Peggy have yet to find closure; there's just

  not enough certainty. They remember Shane's fear, his

  injuries and how an independent pathologist said his

  autopsy pointed to homicide. But the pathologist never

  saw the video that reportedly captured Shane's death.


  A San Diego attorney watched a portion of the video on

  behalf of the family's lawyer and said it was clearly

  suicide, but Wayne wants to see it himself, even if it

  means going to court.



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  "If they do show me the video of him, I don't cherish

  seeing that, but at least I'll know."


                                ***




  In 2007, the Sheriff's Department—at the recommendation
  of the county's Citizens Law Enforcement Review Board
  (CLERB), the oversight body that reviews jail deaths and
  officer-related misconduct—implemented a new suicide-
  prevention training program to help staff better identify
  suicidal inmates. An April 2008 letter from CLERB's then-
  chair Robert Winston acknowledged the progress but
  demanded more after 21-year-old Adrian Correa, a
  schizophrenic who'd threatened suicide in the past,
  fashioned a noose out of a blanket and hung himself from
  the top corner of his bunk.


  CLERB's investigation identified significant gaps in how

  information regarding at-risk inmates is communicated

  between guards and support staff. The board advised

  the Sheriff's Department to include briefings during

  shift changes and implement a checklist system so

  deputies could better keep track of suicidal inmates.


  "There is no written guidance on the type of

  information passed from deputy to supervisor, or from

  supervisor to supervisor," Winston wrote.


  It took the Sheriff's Department nearly two years to

  respond to Winston's letter.


  In his response, Earl Goldstein, the jail system's

  medical director, downplayed the problem of suicide in

  county jails, saying that during a two-year period—July


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  1, 2007, through June 30, 2009—only four inmates had

  killed themselves.


  His count, however, was off by two. Six inmates killed

  themselves during that period; a seventh committed

  suicide on July 3, 2009. In 2010, five people killed

  themselves in county jails—the most during the six-

  year period CityBeat reviewed.


  The jail system's written suicide-prevention policies are

  brief. They state that, during intake, every inmate's to

  be asked whether they've considered suicide,

  attempted suicide or been hospitalized for suicidal

  thoughts. Inmates who answer "Yes" to "Are you

  feeling suicidal?" are either placed in a safety cell or

  refused entry to the jail and transported to the

  county's psychiatric hospital. After intake, "[a]ll reports

  of suicidal behavior shall be considered serious," the

  policy says.


  "Once they're on suicide watch, rarely does an inmate

  commit suicide," Hayes says. "Suicides occur when

  they're not identified properly and they slip through the

  cracks or they're prematurely released from suicide

  watch and put back into the population, and then

  hours, days, weeks later, they commit suicide."


  Sean Wallace is one such example. The 38-year-old

  had been moved back and forth from a safety cell to

  the general population several times, a medical

  examiner's report notes. He was bipolar and

  schizophrenic, had repeatedly said he planned to kill

  himself and had reportedly tried to slice his wrists with



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  a butter knife. On April 23, 2011, 48 minutes after he'd

  been moved back to the general population, he was

  found hanging from his bunk by a bed sheet torn into

  strips.


  Hayes says the standard of care is to closely monitor

  suicidal inmates—every 15 minutes for inmates at

  moderate risk—keeping in mind how quickly someone

  can kill himself.


  "Someone who is either threatening suicide and

  seemingly very serious about it, someone who has

  already attempted suicide—those are folks that almost

  everyone agrees are at high risk and you can't afford to

  put them on a 15-minute level of observation because

  it only takes three to five minutes to successfully

  commit suicide."


  For some inmates, the warning signs aren't as clear.

  They won't admit suicidal thoughts to jail staff because

  they don't want to be placed in a safety cell, or there

  will be a triggering event—a bad day in court, an

  upsetting visit with family—that might push an inmate

  over the edge. Hayes says he'll do a "psychological

  autopsy"—go over an inmate's medical and psychiatric

  records, talk to jail staff and family members, basically

  do everything possible to try to get inside a person's

  head.


  Connie Jones is trying to do that. She doesn't want to

  think her son, Christopher Blenderman, killed himself.

  The medical examiner categorized Blenderman's death




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  as an accident, not a suicide, concluding that the 40-

  year-old overdosed on drugs, but not intentionally.


  This doesn't jibe for Jones. Her son always stuck to his

  drugs of choice, cocaine and alcohol, but it was the odd

  combination of meth and heroin that were found in his

  system. And though he was a longtime addict, "Chris

  never drugged when he was in jail," Jones says. "He

  always went to the top of the class, and I would say,

  Why can't you live like this on the outside?'"


  Blenderman's criminal history was tied to his

  addiction— he'd steal, often from family and friends—to

  buy drugs.


  At the time of his death, he'd been in jail for a year

  and was facing another year, his mother says. The last

  time she talked to him, he "sounded forlorn." She

  wrote him a letter via the jail's email system, but it

  didn't arrive until the day he died.


  Prior to his last jail stint, Blenderman, who was bipolar,

  had been in Tri-City hospital's psychiatric ward at least

  twice, Jones says. The medical examiner's report says

  he'd tried to commit suicide in the past; another part

  of the report says he admitted to jail staff that he'd

  thought about killing himself. Early on Sept. 7, 2012,

  he was found dead from a lethal combination of meth,

  heroin and antidepressants and anti-anxiety

  medication, some of which had been prescribed to him,

  some of which hadn't. His cellmate told a deputy that

  Blenderman had been "hoarding" medication.




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  In its September 2009 review of the death of James

  Phillips, a sex offender who took a lethal dose of the

  anti-depressant Doxepin, CLERB noted that other

  inmates had helped Phillips hoard the medication "in

  defiance of the jail's watch take' program, in which

  medical staff members watch inmates take their

  prescribed medication." The review board didn't,

  however, offer any policy recommendations.


  Jones wants to find her son's cellmate, to see what

  exactly he knew. Like other parents CityBeat's talked

  to for this series, Jones has had trouble getting basic

  information from the Sheriff's Department.


  She says her son "should have been on watch. They

  knew he'd been in the psych ward. He was on psych

  meds. So, if he stopped taking those meds on their

  watch, and if he used something on their watch, then

  that is their responsibility."




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  NEWS   SAN DIEGO INMATE DEATHS
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  by Kelly Davis, Dave Maass
  April 24, 2013 12:00 AM




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                  AMENDED GRAND JURY REPORT
              EXAMINING THE ISSUE OF SUICIDES IN SAN
                          DIEGO JAILS
          S UMMARY
          T he suicide rate in San Diego County jails is the highest in all of California's large county
          jail systems. According to the San D iego County Sheriffs Department (Sheriffs
          Department), 46 people have committed suicide in San Diego County jails in the past 12
          years. The 2016/20 17 San Diego County Grand .fwy (Grand Jury), responding to public
          concern, investigated why the number of suicides in San Diego County jai ls is so high.

          The Grand Jury noted during its detention facilities inspections that, in an attempt to
          reduce suicides in the jails, the Sheriff's Department has recently added enhanced
          observation housing modules, new safety cells, and medical isolation cells. In March
          2016, the Sherifrs Departments Detention Services Bureau updated its Policy and
          Procedures Manual (P&PM) to incl ude procedu res for the use of these units. In spite of
          these efforts, the suicide rate remains high .

          The Grand Jury found that the P&PM lacks detailed training procedures req uired for
          correctional officers to effectively reduce suicides and believes that training must address
          the specialized communication skills required to be effective. Further, the P&PM does
          not clearly show the inclusion of nationally recognized protocols or a clear policy
          statement for suicide prevention.

          The Grand Jury also learned that the Sheriff Department's Chief Medical Officer does
          not employ an in-house staff supervisor for the contract mental health workers and
          instead relies on contracted supervision.

          Finally, the Grand Jury did not find a process that calls for continuot1s oversight as part of
          a suicide-prevention policy. In light of these findings, the Grand Jury recommends an
          update to the Policy and Procedures Manual, the hiring of a full-time professiona l mental
          health staff member to superv ise all professional mental health workers, and the
          establishment of a suicide-prevention oversight group.

          INTROD UCTION
          California Penal Code §9 I 9b mandates that the Grand Jury annually inquire into the
          condition and management of all public jails within the county. As part of its inquiry, the
          Grand Jury paid particular attention to the number and frequency of suicides within the
          jai ls and examined the policies and procedures the SherifPs Department employs as
          preventive measures. The Grand Jury's intent was to identify the reasons that San Diego
          County's jails are experiencing a higher suicide rate than jails in other California
          counties.




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          PROCEDURE
          The Grand Jury examined a large volume of jail suicide-prevention research, including
          published policies, procedures, and recommendations, including the following:

                  •    The San Diego County Sheriff's Department Detention Services Bureau
                       Policy and Procedures Manual
                  •    The San Diego County Sheriffs Department Medical Services Divisions
                       Policy and Procedures Manual.

          The Grand Jury also interviewed officials from the San Diego Sheriff's Department
          medical staff and re-entry services and asked many questions of detention officers during
          visits to all detention facilities.

          DISCUSSION
          The suicide rate in San Diego County jails is the highest in all of California's large county
          jail systems. Data from the U.S. Bureau of Justice Statistics show five suicides in San
          Diego County jails in 2013, six in 2014, seven in 2015, and the San Diego County
          Sheriff's Department confirmed five in 2016. By contrast, since 20 I 4, San Bernardino
          County has had three jail suicides; Los Angeles and Santa Clara counties have had one
          each. Orange and Sacramento counties have had none. 1•2

          During the last several years, media sources have focused intently on the number of
          suicides in San Diego jails. All of these news reports have an effect on what the
          community thinks about the correctional staffs ability to control suicides and keep
          inmates safe. According to numerous news stories, a 21-year-old Marine in 2014 hanged
          himself in the Vista Detention Facility despite jai I officials' knowledge of numerous
          previous suicide threats. Other news stories reported that, in 2015 , another inmate's
          family repeatedly cautioned jail officials that their relative was su icidal, yet the inmate
          did not receive the necessary oversight to prevent him from hanging himself in his cell.

          [n order to clarify and understand the issue of suicides in the San Diego County jails, the
          Grand Jury investigated the issue. The Grand Jury's goal in its investigation was to
          identify and recommend tested, successful methods for preventing jail suicides not fully
          implemented in our jails.                                                      ·

          The Grand Jury acknowledges that the Sheriff's Department is experiencing
          unprecedented challenges in accommodating and treating inmates with mental health
          problems. Estimates by recognized experts suggest about 15 percent to 20 percent of jail



          1
            Bruno, Bianca, "Jail Death Cases Pile Up in San Diego County," Courthouse News Service. August I0,
          20 16. http;//www.courthousenews.com/20 16/08/ I 0/jaB-death-cases-pile-up-in-san-dicgo-countv.h1m
          2
            Davis, Kelly, "Suicides still plague county jail," San Diego Union-Tribune. December 16, 2015.


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          inmates nationwide may be suffering from serious mental illness. 3 With an average daily
          population of about 5,000, that means approximately 800 inmates with serious mental
          illness could be in San Diego County jails at any given time.

          Clearly, dealing with mental illness and suicide prevention within the county jails is an
          ongoing concern. According to the National Institute of Corrections, properly trained
          correctional staff is essential. Just having adequate mental health, medical, or other
          professional staff available seldom prevents suicides because suicides typically take place
          in inmate housing units. Furthermore, suicides commonly occur at night or on weekends,
          when mental health staff may not be readily available or on-site. Therefore, guards and
          correctional staff trained in suicide-prevention techniques and who have subsequently
          developed an intuitive sense about the inmates under their care must be counted on to
          prevent these incidents.

          "The greatest challenge for those who work in the correctional system is to v iew the issue
          as one that requires a continuum of comprehensive suicide-prevention services aimed at
          the collaborative identification, continued assessment, and safe management of inmates at
          risk for self-hann."4 The Grand Jury believes this statement indicates that all corrections
          st~ff must be focused on suicide prevention at all times.

          Recognized experts say that, to be effective, suicide-prevention training must include
          consi stent and thorough communication among all jail staff. They recommend suicide-
          prevention efforts start at the point of arrest and continue until the inmate is released.
          During this time, inmates may ex hibit certain behaviors that indicate a risk of suicide. If
          these behaviors are detected and communicated to others, the likelihood of a completed
          suicide will be reduced. Additionally, corrections staff, with proper training, can prevent
          suicide by establishing trust and communication with inmates in order to observe their
          actions and pass along what they hear and see to other corrections staff.

          The Grand Jury believes that effective communication must exist in several areas and that
          this is key in suicide prevention. These areas include the fo llowing:
              • Communication between people w ho come in contact with the inmate before
                   booking (arresting officer and transport officers) and the people receiving the
                   inmate (nurses and gatekeepers) at the jail during intake
              • Communicalion between intake personnel and the internal correctional staff,
                   including professional staff (medical and mental health personnel)
              • Communication between all staff and the potentially suicidal inmate in order to
                   ensure the safety of all involved

          1
           "More Mentally Ill Persons Are in Jails and Prisons than Hospitals: A Survey of the States," Treatment
          Advocacy Center, May 20 I0,
          ht1p://www.treaunentadvocacycenter.org/storagc/documents/fi11al jails v hospitals study.pd( (accessed
          August 2016).
          '"National Study of Jai l Suicide: 20 Years Later," National Institute of Corrections (U.S. Department of
          Justice), 20 I 0, hup://static.nicic.gov/Library/024308.pdf (accessed September 2016).


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          In addition to saving lives, the County avoids unnecessary human suffering and liability
          when an effective training program is in place.

          In studying the P&PM, the Grand Jury concentrated on the policies and procedures
          pertaining to suicide-prevention training. The Grand Jury then exam ined national jail
          suicide data because it provided more research reports. The increased number of suicide
          victims studied allowed the demographic data to be more comprehensive.

          The findings in the documentation for jail suicides and the training to prevent jail suicides
          were similar in content. Table I summarizes the reports:




            Published Protocols Related to Jail S uicides



          Training in suicide prevention                                  X       X         X            X            X
          Identification of suicide risk                                  X       X         X            X            X
          Communication needed between all staff and inmate               X       X         X            X            X
          Housing for safety of suicidal inmate                           X       X         X            X            X
          Observation plan                                                X       X         X            X            X
          Evaluation by mental health staff                               X       X         X            X
          Referral by mental health staff                                 X       X         X            X
          Reporting, all staff to submit statements                       X       X         X            X
          Mortality-morbidity review to look at facts and make
          recommendations                                                 X       X         X            X
          Notification to all appropriate staff                           X       X         X
          Critical Incident Stress Debriefing (CJSD): talk to involved
          staff within 72 hours                                           X       X
          Treatment pl an                                                 X                                           X
          Social intervention: do not cut off social contacts                                                         X
          Intervention by trained staff with first aid knowledge and
          assume inmate is alive                                                  X         X            X

                                                             Table I

          s "National Study of Jail Suicide: 20 Years Later," National Institute of Corrections (U.S. Department of
          Justice), 20 I 0.
          6
            Marty Drapkin, "Writing a Suicide Prevention Policy." CorrectionsOne. October 20, 2007.
          7
            Lindsay M. Hayes, "Prison Suicide," An Overview and Guide to Prevention, National Institute of
          Corrections, June 1995.
          8
            Lindsay M. Hayes, "Guide to Developing and Revising Suicide Prevention Protocols within Jails and
          Prisons," National Center on Institutions and Allernatives, 2011.
          9 "Preventing Suicide in Jails and Prisons," World Health Organization, Department of Mental Health and

          Substance Abuse, 2007.



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          In Section A. I, the Sheriff's Department's P&PM states, "The Sherifrs detention
          facilities shall be operated in accordance with established Depaitment Policy and
          Procedures, California State Law, applicable case law and acceptable professional
          standards. " 10

          The Grand Jury believes that Table I highlights the minimum protocols required for a
          detention facility's policy and procedures manual. Each report lists the protocols needed
          for a comprehensive suicide-prevention program. Five of the protocols were used in all
          five reports, four of the protocols were used in four, and three of the protocols were used
          in two or fewer of the reports. (Because these three protocols are not unique to suicide
          prevention, they could have been included in another section of the policy and procedures
          manual.)

          The Grand Jury believes that the San Diego Sheriffs Department P&PM does not
          include adequate policy regarding suicide prevention, and there is no discussion on
          protocols to be used or how compliance will be ensured. The Grand Jury believes the
          suicide-prevention policy should be clearly stated for the P&PM users to know what
          attitude to have and what actions to take. The policy should state the attitude of
          management toward s uicide prevention, the protocols Lo be used, and how oversight will
          be enforced.

          The Grand Jury also noted that the assumed triggers for suicide varied. Experts claim that
          two main causes exist for suicide in jail: First, the jail 's environment itself contributes to
          suicidal tendencies. Second, the inmate is in a crisis situation, a condition that jail staff
          repeatedly verified during the Grand Jury's visits to detention facilities. Inmates are
          fearful of the immediate future and the consequences of their crime, they have lost
          control over their lives, and they are isolated from family and friends. The psychological
          effect of incarceration, combined with drug and alcohol use and withdrawal, exacerbate
          mental illness symptoms and can lead to suicide. incarceration is stressful on every level,
          and that alone is enough to provoke suicide ideation. 11

          One study showed that 65 percent of suicides occur in the first 30 days of incarceration
          and 85 percent in the first four months, but it also shows suicide can occur at any time.

          The Grand Jury believes increased efforts in suicide prevention are required. The Grand
          Jury understands that the P&PM contains documentation that outlines procedures that are
          formulated to direct the staff on the process to carry out a desired objective. However,
          these standalone procedures are not a suicide-prevention plrun. A suicide-prevention plan
          incorporates training, intervention, communications, and supervision in a dynamic way

              0
          '       Policy and Procedure Manual, Detention Services Bureau, San Diego County Sheriff's Department,
          https://www.sdsheriff.ne1/documen1s/pp/dsb-2016031 0.pdf, (accessed October 2016).
          11
             "National Study of Jail Suicid: 20 Years Later," National Institute of Corrections (U.S. Department of
          Justice), 20 I0.


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          that will ensure the correctional officers are focused on seeing the triggers that ale11 them
          ofa possible suicide.

          According to the P&PM, Section D. l, "The Detention Facility Training Program will
          have policies and procedures to ensure training programs for all employees are
          specifically planned, coordinated, supervised, and evaluated." 12

          The Grand Jury believes that suicide-prevention training should not be just a scheduled
          class. Instead, it should be ·a continuous charge to be mindful of suicide characteristics.
          Effective suicide-prevention communication should not be just a comment posted to the
          Jail Information Management System (JIMS). It should also be the mental health nurse
          talking to the on-duty jail staff about the condition of an inmate. A suicide plan should
          foster the belief by all workers that "a suicide will not happen on my watch."

          The National Institute of Corrections strongly recommends that all correctional, medical,
          and mental health personnel receive eight hours of initial suicide-prevention training and
          two hours of refresher training in subsequent years.

          "The initia l training should include instruction regarding administrator and staff attitudes
          about suicide and how negative attitudes impede suicide-prevention efforts, why
          correctional facilities' environments are conducive to suicidal behavior, potential
          predisposing factors to suicide, high-risk suicide periods, warning signs and symptoms,
          how to identify suicidal inmates despite a denial of risk, components of the facility's
          suicide-prevention policy, and liability issues associated with inmate suicide. The two-
          hour refresher training should review the topics discussed during the initial training and
          also describe any changes to the facil ity's suicide prevention plan. The annual training
          should also include a general discussion of any recent suicides and/or suicide attempts in
          the facility." 13

          On several occasions, the San Diego County jail staff stated that they visited the Texas
          prison system to discover lessons learned in lowering its suicide rates. A Dallas Morning
          News article cited changes made to mental health training for Texas prison system
          officers: "This year, the criminal justice department beefed up mental health training for
          officers. New cadets receive more than 33 hours of mental health training, and those
          already on the job get monthly sessions . . . The training is designed to help officers
          recognize signs of a mental health crisis." 14

          12
             Policy and Procedure Manual, Detention Services Bureau, San Diego County Sheriffs Department,
          https://www.sdsheriff.net/documents/pp/dsb-2016031 0.pdf, (accessed October 2016).
          13
             "National Study of Jail Suicide: 20 Years Later," National Institute of Corrections (U.S. Department of
          Justice), 20 I 0, h11p://sta1ic.nicic.gov/Library/024308.pdf (accessed September 2016).
          14
               Brandi Grissom, "Suicides and Attempts on the Rise in Texas Prisons," Dallas Morning News, August
          29, 2016, http://www.dallasnews.com/news/texas/2015/ l l /28/sujcjdes-and-attcmpts-on-thc-rjse-jn-Jexas-
          Prisons (accessed September 2016).


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          The Grand Jury concurs with the Dallas Morning News article and believes annual
          training of two hours may be inadequate. (However, after the correctional staff has been
          trained in constant awareness of the signs of potential suicide risk and regular, periodic
          on-the-job training is in place, then two hours of formal training per year may be
          adequate.) In order to keep suicide-prevention skills fresh, the training must be timely. In
          fact, the Grand Jury believes the training could include a brief reminder every week by
          the watch captain about suicide-prevention skills.

          The Grand Jury reviewed a Sheriff's Department training document containing a detailed
          list of factors indicating a risk for inmate suicide, along with possible characteristics of a
          suicidal inmate. The list was good, but the document did not state how often the training
          might take place,

          There are at least three different stages where at-risk suicidal inmates can be identified: at
          the time of arrest and intake, at the time the inmate is housed in a secure cell, and at the
          time the inmate is in mainline housing. The requirements for safely cell use in the P&PM,
          Section J, clearly state that the safety cell is temporary housing, typically lasting for only
          a few hours. This is a clear suggestion that inmates should remain in suicide counseling
          and observation as they are moved to more appropriate housing. The Grand Jury
          recognizes that these three different stages call for three training scenarios that require
          different training for each one, but it would support a consistent suicide-prevention plan.

          In San Diego County jai ls under the jurisdiction of the San Diego County Sherifrs
          Department, those working in su icide prevention include private contract personnel and
          jail staff. The Grand Jury believes it is impo1iant that they are working from the same
          plan; therefore, it is important they receive the same training. The training period is when
          all suicide-prevention workers will learn about the j ail stafrs attitude about enforcement
          of the suicide policy.

          The Grand Jury found that most County health departments use private contract
          personnel as their mental health workers. In the jails, psychiatrists are contract workers,
          including the supervisor, who reports to the Chief Medical Officer. T he j ail has
          responsibility for all services for all inmates with mental health problems (including drug
          and alcohol abuse), suicide prevention, and inmates in the re-entry facility. The Grand
          Jury believes coordinating these functions should be the responsibi lity of a full -time
          employee, specifically, a mental health professional.

          The P&PM in Section M.7 states that after an inmate death in the detention facility, "A
          meeting shall be held after all autopsy and other pertinent reports have been received to
          discuss findings with the Detention Services Bureau and facility command staff, Sheriffs
          legal counsel, and medical services administration. As appropriate, the detention fac ility




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          supervising nurse, psychiatric director, and other staff who are relevant to the incident, as
          deemed appropriate by the medical services administrator, shall a lso be included." 15

          Section M.7 docs not appear to provide for any input regarding the policies and
          procedures or training group, nor does it provide for any real-time monitoring or updating
          of the suicide plan, which the Grand Jury believes is a necessary component of suicide-
          prevention effo11s.

          The Grand Jury noted that the Sherifrs Department instituted new protocols in early
          2015 to reduce suicides in the jails. These new protocols affected various procedures and
          resulted in changes to the facilities. The Grand Jury does not believe these changes were
          an indication of operational problems in the jails; on the contrary, a new emphasis was
          instituted. In the same manner, the Grand Jury's recommendations merely suggest a
          change in emphasis is needed.

          The 2015 changes did coincide with a seven-month period with no suicides. Yet, after
          that seven-month period, suicides returned to previous levels. The Grand Jury believes
          that the new protocols showed that management placed an increased importance on
          suicide prevention, which could have motivated the jail staff to increase attention to
          suicide prevention. But because there was no sustained effo,t to maintain that motivation,
          the number of suicides returned to previous levels.

          As the Grand Jury conducted research to find an approach for suicide prevention that was
          not in use at the jai Is, a scheduled inspection by the Grand Jury took place at one of the
          San Diego jails. Near the end o f the inspection, a correctional officer was asked if a
          suicide had occurred in that facility. The answer was no, then a pause, and then "No,
          there have been no suicides in this facil ity. You are not allowed to die in this facility."
          This was the only time the Grand Jury heard a correctional officer with the attitude that
          suic ides are not acceptable in jail. As a result, the Grand Jury looked for a way to instill
          in the minds of a ll correctional staff the attitude that suicides are unacceptable. During
          this process, the Grand Jury concluded that procedures alone would not change attitudes,
          but policy could, and continuing training on multiple levels is necessary to change
          attitudes.

          The Grand Jury offers three simple recommendations:

              •   Senior management needs to adopt a clear policy stating the attitude and protocols
                  needed to minimize suicides in the jails.
              •   The training needs to include ongoing instruction for all staff and mental health
                  personnel working with at-risk inmates.
              •   Supervisors need to oversee the training to ensure compliance with the policy.


          ,s Policy and Procedure Manual, Detention Services Bureau, San Diego County Sheriffs Department,
          h11ps://www.sdsheriff.net/docurncnts/pp/dsb-201603 I 0.pdf, (accessed October 2016).


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          The Grand Jury believes these recommendations can be implemented quickly at low cost
          and will reduce suicides.

          FACTS AND FINDINGS
          Fact: The Sheriff's Department P&PM, Section A. I, Purpose, states that operation of
          detention facilities shall comply with its own policy and procedures, state law, case law,
          and professional standards.

          Fact: The Sheriff's Department P&PM states that inmates who are recognized and
          observed as being a potential suicide risk shall be assessed for consideration of placement
          into an Inmate Safety Program housing option. Sworn staff shall immediately notify
          medical staff and the watch commander of any inmate that presents a potential danger to
          self, danger to others, or unable to care for self.

          Finding 01: The Policy and Procedures Manual does not contain a comprehensive
          overall suicide-prevention plan with a policy statement listing the protocols (professional
          standards) to be used, nor does it clearly state that suicide-prevention principles must be
          in effect at all times.

          Fact: The Sheriff's Department P&PM requires training programs for all employees.

          Fact: The Sheriff's Department P&PM states that training is defined as an organized,
          planned, and evaluated activity designed to achieve specific learning objectives through
          classroom studies and closely supervised on-the-job training.

          Fact: The Sheriffs Department P&PM states that staff development is defined as an
          organized, planned, and evaluated activity designed to further increase the staff members'
          level of competence, which enables them to function more effectively.

          Finding 02: The P&PM shows provisions for various training and development but does
          not show adequate and sustained training programs to ensure a continuum of
          comprehensive suicide-prevention services.

          Fact: The Sheriffs Chief Medical Officer does not have a full -time Mental Health
          Officer on staff.

          Finding 03: There is a need great enough for mental health services supervision in the
          Detention Services Bureau that a full-time Mental Health Officer for the jails should be a
          requirement.

          Fact: The P&PM requires a post-suicide meeting of all appropriate staff to discuss
          findings.




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           Fact: In the P&PM, none of the procedures pertain to the oversight of the suicide-
           prevention plan.

           Finding 04: A continuous oversight of the suicide-prevention plan is needed in order to
           ensure that the suicide-prevention plan, the P&PM, and the facilities' physical features
           are kept current with suicide methods used by the inmates.

           RECOMMENDATIONS
           The 2016/2017 San Diego County Grand Jury recommends the San Diego County
           Sheriff's Department:

           17-24:         Update the Policy and Procedures Manual to include a detailed
                          suicide-prevention policy noting the nationally recognized protocols
                          used in the jails for suicide prevention.

           17-25:         Update the Policy a nd Procedure Manual to include a ppropriate and
                          ongoing training for all staff and mental health personnel who
                          observe or counsel suicide-risk inma tes.

           17-26:         Create and fill the position of a full-time Mental Health Director for
                          the County j ails.

           17-27:         Create a suicide-prevention oversight group that recommends
                          changes to the P&PM, verifies that suicide-prevention training is
                          taking place, and implements any changes needed to keep the facilities
                          as suicide-proof as possible.

           REQUIREMENTS AND INSTRUCTIONS
           The California Penal Code §933(c) requires any public agency which the Grand Jury has
           reviewed, and about which it has issued a final report, to comment to the Presiding Judge
           of the Superior Court on the find ings and recommendations pertaining to matters under
           the control of the agency. Such comment shall be made no later than 90 days after the
           Grand Jury publishes its repott (fl led with the Clerk of the Court); except that in the case
           of a report containing findings and recommendations pertain ing to a department or
           agency headed by an elected County official (e.g. District Attorney, Sheriff, etc.), such
           comment shall be made within 60 days to the Presiding Judge with an information copy
           sent to the Board of Supervisors.

           Furthermore, California Penal Code §933.0S(a). (b), (c). details, as follows, the manner in
           which such commcnt(s) are to be made:
                  (a) As to each grand jury finding, the responding person or entity shall indicate
                          one of the following:
                                  (!)The respondent agrees with the finding




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                                  (2) The respondent disagrees wholly or pa11ially with the finding,
                                          in which case the response shall specify the portion of the
                                         find ing that is disputed and shall include an explanation of
                                         the reasons therefor.
                 (b) As to each grand jury recommendation, the responding person or entity shall
                         report one of the following actions:
                                  (I) The recommendation has been implemented, with a summary
                                         regarding the implemented action.
                                  (2) The recommendation has not yet been implemented, but will be
                                         implemented in the future, with a time frame for
                                         implementation.
                                  (3) The recommendation requires further analysis, with an
                                         explanation and the scope and parameters of an analysis or
                                         study, and a time frame for the matter to be prepared for
                                         discussion by the officer or head of the agency or
                                         department being investigated or reviewed, including the
                                         governing body of the public agency when applicable. This
                                         time frame shall not exceed six months from the date of
                                         publication of the grand jury report.
                                  (4) The recommendation will not be implemented because it is not
                                         warranted or is not reasonable, with an explanation
                                         therefor.
                (c) If a finding or recommendation of the grand jury addresses budgetary or
                         personnel matters of a county agency or department headed by an elected
                         officer, both the agency or depa,tment head and the Board of Supervisors
                         shall respond if requested by the grand jury, but the response of the Board
                         of Supervisors shall address only those budgetary or personnel matters
                         over which it has some decision making authority. The response of the
                         elected agency or department head shall address all aspects of the findings
                         or recommendations affecting his or her agency or department.
          Comments to the Presiding Judge of the Superior Court in compliance with the Penal
          Code §933.05 are required from the:

          Responding Agency                     Recommendations                               Date
          San Diego County Sherifrs             17-24 through 17-27                         07/03/17
           Department




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                     EXHIBIT 3
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                          San Diego County Sheriff's Department
                              Po,t Office Box 939062   •   San Diego, California 92193-9062


                                         William D. Gore, Sheriff

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         June 29, 2017                                                                       T) GRANO JU fly




         Honorable Jeffrey B. Barton
         Presiding Judge of the Superior Court
         County Courthouse
         220 West Broadway
         San Diego, CA 92101

         Dear Judge Burton:

         Resllonse to the San Diego County Grnnd Jury Report: "Suicides in San Diego Jnlls"
         Dated May 4, 2017.


         Pursuant to California Penal Code Section 933(c), the following is my response to the Grand
         Jury's Findings and RecommendatiollS I 7-24 through 17-27.


                              SAN DIEGO COUNTY SHERIFF'S DEPARTMENT

         Grand Jury Finding 01:

         The Policy and Procedures Manual does not contain a comprehensive overall suicide-prevention
         plan with a policy statement listing the protocols (professional standards) to be used, nor does it
         clearly state that suicide-prevention principles must be in effect at all times.

         Response:
         The Sheriffs Department disagrees in part with this finding. The San Diego County Sheriffs
         Department Medical Services Division Policy & Procedure does contai11 suicide prevention
         policies and procedures. Those polices include the inmate safety progran1 and enhanced
         observation housing and training, The Department recognizes the Grand Jury's concern that all
         suicide prevention policies and procedures are not located in one comprehensive formal and has
         taken steps to remedy the situation,

         RECOMMENDATION 17-24:

         Update the Policy and Procedures Manual (P&PM) to include a detailed suicide-prevention
         policy noting the nationally recognized protocolq used in the jails for suicide prevention.

                                            Keeping the Peace Since 1850



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         Respo11se:
         The recommendation has not yet been implemented. A comprehensive suicide prevention
         policy, which incorporates national suicide prevention standards, has been drafted fur review.
         Approval of the policy should be completed by September 30, 2017.

         Grand Jury Finding 02:

         The Sheriff's P&PM shows provisions fur various training and development bu! does not sbow
         adequate and sustained training programs l.o ensure a continuum of comprehensive suicide-
         prevention services.

         Respo11se:
         The Sheriff's Department disagrees in part with the finding. The Department believes that its
         training and development is adequate to ensure comprehensive suicide prevention training.
         However, the Department is continually evaluating the training provided to all of its employees
         in order to find ways to decrease suicide risk.

         RECOMMENDATION 17-25:

         Update the Policy and Procedure Manual to include appropriate and ongoing training fur all staff
         and menial health personnel who observe or OOU!!Sel suicide-risk inmates.

         Respo11se:
         The recommendation has been partially implemented. An 8-hour initial meutal health illness
         training is held at least once a month for both sworn and medical staff. The training was
         implemented in September 2016 and is ongoing. A second phase of training is in the process of
         development. It is comprised of2-4 hours of annual training. The San Diego Sheriff's
         Department will also collaborate with PERT (Psychiatric Emergency Response Tmm) to
         develop a training Jab and curriculum that will include specialized training for sworn and
         medical staff on suicide risks and prevention. A draft of the training plan will be completed on
         September 30, 2017 to coincide with the completion of the comprehensive Suicide Prevention
         Policy & Procedures.

          Grund Jury Finding 03:

          There is a need great enough for mental health services supervision in the Detention Services
          Bureau that a full-time Mental Health Officer fur the jails should be a requirement.

          Resp1mse:
          The Sheriff's Department disagrees with the finding.




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        RECOMMENDATION 17-26:

         Create and fill the position of a full-time Mental Health Director fur the County jails.

        Response:
         The recommendation will not be implemented because it is not warranted, Liberty Healthcare
         provides the Department with three mental health professionals in key leadership posilioll!I
         dedicated to overseeing the delivery of services and quality of care ofmental health in our jails.
         These positions are Regional Program Director, Medical Director, and Program Administrator.
         In addition, the Sheriff's Department employs a Chief Licensed Mental Health Clinician who has
         program oversight fur the Inmate Safety Program and Suicide Prevention. As a result, the
         Department believes that a full time Mental Health Officer is not a great need at this time.

         Gr1111d Jury Finding 04:
         A continuous oversight of the suicide-prevention plan is needed in order to ensure that the
         suicide-prevention plan, the P&PM, and the facilities' physical features are kept current with
         suicide methods used by the inmates.

         Response:
         The Sheriff's Department agrees with the finding.

         RECOMMENDATION 17-27:

         Create a suicide-prevention oversight 1,'l'OUp that recommends changes to the P&PM, verifies that
         suicide-preventio11 training is taking place, and implements any cllllllges needed to keep the
         fucilities as suicide-proof as possible.

         Respo1tse:
         The recommendation has been implemented. A Suicide Prevention Re.spoll!le & Improvement
         Teamhas been formed and is working collaboratively to update policy and procedures to reflect
         the Grand Jury's recommendations. The Team will also be responsible for the overnight of all
         staff training related to suicide prevention.

          In closing, I would like to thank the Grand Jury for their efforts in working with the Sheriffs
          Department through this investigation.




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        If further clarification or additional discussion is needed, please feel free to contact Lieutenant
        Esther MacLyman of the Detention Support Division at (858) 974-2023.

        Sincerely,




        William D. Gore, Sheriff

         WDO:em

         cc:    Members, Board of Supervisors
                Helen Robbins-Meyer, CAO
                David Hal~ Director, Clerk of the Board
                Alan I. Baskin, Foreman, San Diego County Grand Jury




                                                                                                     SDSO 000564
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                     EXHIBIT 4
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       SUICIDES IN SAN DIEGO COUNTY JAIL
          A System Failing People with Mental Illness




                                                              April 2018
                    A Disability Rights California Investigation Report

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                                   Report prepared by:
                              Aaron J. Fischer, Litigation Counsel
                              Rebecca Cervenak, Staff Attorney
                                Kim Swain, Managing Attorney

                  With special thanks to: Hayley Jones, DRC Legal Secretary

                               DRC Subject Matter Experts
                      Karen Higgins, M.D. Robert Canning, Ph.D., CCHP




   An accessible electronic version of this report is available at:
http://www.disabilityrightsca.org/JailsReports/SDsuicideReportAccessible.pdf
   A print copy of this report is available at:
http://www.disabilityrightsca.org/JailsReports/SDsuicideReport.pdf
   For more information about Disability Rights California, visit our website at:
www.disabilityrightsca.org

   Cover Photo: Mental Health Enhanced Observation Housing (EOH) Unit at
the Las Colinas Detention and Reentry Facility




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     -Karen Higgins, M.D., Robert Canning, Ph.D., CCHP



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I. EXECUTIVE SUMMARY
    San Diego County faces a crisis in its jail system. It has the highest
reported number of suicides in a California jail system over several years –
more than 30 suicide deaths since 2010. The inmate suicide rate has been
many times higher than the rate in similarly sized county jails in California,
the State prison system, and jails nationally. This is a crisis demanding
meaningful action.
    While the County reported just one inmate suicide in 2017, which is a
welcome decrease compared to previous years, the system remains deeply
challenged. The incidence of inmate suicide attempts and serious self-harm
remains extremely high - a rate of approximately two (2) per week. The
frequency of suicide attempts indicates that the County must improve its
treatment of people with mental health needs.
    Recognition that San Diego County has a problem with suicides and
other deaths at the jail is not new. There has been a steady drumbeat of
calls to action, from the County’s grand juries, the media, and people who
have been incarcerated at the jail and their loved ones.
    As the designated protection and advocacy system charged with
protecting the rights of people with disabilities in California, Disability
Rights California (DRC) opened an investigation into conditions at the San
Diego County jails in 2015. We conducted tours of the County’s jail facilities,
and completed extensive interviews with Sheriff’s Department leadership,
jail staff, and jail inmates. We have reviewed thousands of pages of
relevant policies and procedures, Sheriff’s Department records, and
individual inmate records.
    Our investigation focuses on four interconnected aspects of San Diego’s
County jail and mental health systems. We provide specific
Recommendations regarding each.
   Over-Incarceration of People with Mental Health Needs. First, we found
that there is an extremely high number of jail inmates with significant
mental health treatment needs. The County’s mental health care system,
both inside and outside of the jail, has long operated in a way that leads to
the dangerous, costly, and counter-productive over-incarceration of people
with mental health-related disabilities. This includes a historical failure to
provide sufficient community-based mental health services and supports
that help individuals with mental health needs to thrive and avoid
entanglement with the criminal justice system and incarceration. There is
an urgent need for a better approach. We found that the County’s recently
developed Mental Health Services Act Plan and related initiatives –
including increased community based-services and diversion/reentry efforts
– provide a reason for optimism. Of course, the County’s efforts will be
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judged on outcomes in the months and years ahead.
   Deficiencies in Suicide Prevention. Second, our two subject matter
experts, who reviewed inmate suicide cases as well as relevant policies,
identified significant deficiencies in the County’s suicide prevention
practices. These experts, Karen Higgins, M.D., and Robert Canning, Ph.D.,
CCHP, have considerable expertise in suicide prevention and mental health
treatment in detention facilities. They have completed a detailed written
report (Appendix A), which identifies twenty-four Key Deficiencies in the
County’s system and provides forty-six (46) Recommendations to address
those deficiencies. While we are convinced that the Sheriff’s Department
has begun to take the issue of suicide prevention seriously, there remain
many aspects of the system’s treatment of people at risk of suicide that
require urgent action.
   Failure to Provide Adequate Mental Health Treatment. Third, we
found that the County’s jail system subjects inmates with mental health
needs to a grave risk of psychological and other harms by failing to provide
adequate mental health treatment. Making matters worse, the County
subjects inmates to dangerous solitary confinement conditions that take an
enormous toll on individuals’ mental health and well-being. A substantial
number of the suicides in San Diego County’s jails have occurred in
designated segregation units and other units with solitary confinement
conditions. Even with committed jail leadership and staff efforts to reduce
solitary confinement and improve conditions, insufficient staffing and lack of
other critical resources have caused these problems to persist.
    Lack of Meaningful, Independent Oversight. Fourth, we found that the
existing systems of jail oversight have failed. The time has come for the
County to create an independent and professional oversight entity to
monitor jail conditions, suicide prevention and mental health treatment
practices, and other jail operations. A truly effective independent oversight
entity, building on the models developed in Los Angeles County, Santa
Clara County, Sonoma County, and other jurisdictions across the country,
would enhance the County’s efforts to address its historical challenges in its
jails, help to achieve and solidify system improvements, and strengthen the
trust of the community through greater transparency.
    We have found that the County’s jails have the great advantage of
committed mental health staff and a number of strong leaders within the
Sheriff’s Department. They will need sustained investment and support
from the County – along with true transparency and accountability – to
achieve a durable solution to the inmate suicide crisis, the deficiencies in
mental health treatment inside the jail, and the over-incarceration of people
with mental health needs.
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II. A TROUBLED HISTORY OF SUICIDES IN THE COUNTY JAILS
  A. Inmate Suicides: A Crisis by Any Measure
    San Diego County Jail has had one of the highest incidences of suicides
in a California county jail system over several years – more than 30 suicide
deaths since 2010.1 By any measure, the number of suicide deaths in San
Diego County’s jails over a period of many years indicates a crisis demanding
meaningful action.
    DRC investigated inmate suicides during the three-year period from 2014
to 2016. Seventeen (17) people died by suicide in a San Diego County Jail
facility during this time period. Among those deaths:
 - Fourteen (14) people (82.3%) had a clear history and indication of mental health
   needs. Several had attempted suicide in the past, sometimes while in the
   community and often during earlier periods of incarceration.
 - Nine (9) people (52.9%) were in jail on non-violent charges, including several
   cases involving only drug-related offenses.
 - Fifteen (15) people (88.2%) were in jail awaiting trial. (One other was in jail for a
   brief “flash incarceration” related to a probation violation.) These individuals
   were not in jail because of a criminal conviction at the time of their death.
   They maintained the presumption of innocence embedded in our laws.
 - At least six (6) people (35.3%) were housed in designated solitary
   confinement housing at the time of their suicide. Several more were in units that
   we observed to have solitary confinement conditions.
 - At least four (4) people (23.5%) had one or more serious medical conditions at
   the time of their suicide death.
  - San Diego County’s inmate suicide rate has been staggeringly high
    compared with national, statewide, and local data. In 2016, the County’s
    jail inmate suicide rate was approximately 93.8 per 100,000, similar to the
    rates for 2015 and 2014 (120.3 and 106.2 per 100,000, respectively).2 The
    average annual inmate
    suicide rate for San                                        Jail Inmate Suicide Rates
    Diego County during                                     Similarly-Sized California Counties
                                                                 (Annual rate per 100,000)
    this three-year period
                                                                           2014-2016
    (107 per 100,000) is
    more than double the
    jail inmate suicide rate
    nationally for 2014 (50
    per 100,000), the last
    year for which
    complete data is
    available.3
    From 2014 to 2016,
                                   Santa Clara
                                     ADP: 3757
                                                        --
                                                      Riverside
                                                      ADP: 3842
                                 ADP = Avera e Dail Po ulation
                                                                     Sacramento
                                                                      ADP: 4070
                                                                                 San Diego
                                                                                  ADP 5320
                                                                                           San Bernardino
                                                                                              ADP: 5424
                                                                                                           Orange
                                                                                                          ADP: 6055




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the seventeen (17) inmate suicide deaths in San Diego County far outpaced
other large California county jail systems. For example, the Orange County
Jail system had one suicide and the Riverside and Sacramento County Jail
systems each had three (3) suicides during this three-year period.4
   Even the Los Angeles County Jail system, which has an inmate population
more than three (3) times larger than the San Diego County Jail population
and a history of significant problems related to inadequate suicide
prevention and treatment of people with mental health needs, had eight (8)
suicide deaths during this three-year period, less than half as many as San
Diego County.5
   San Diego County’s jail inmate suicide rate has also vastly exceeded (by a
factor of 5) the annual inmate suicide rate in California’s State prison
system (21.8 per 100,000 from 2013 to 2016).6 While local jails generally
have higher inmate suicide rates than state prisons, we note that California’s
prison system has itself been under federal court supervision based in part
on the prevalence of inmate suicides.
   Detention in San Diego County Jail facilities appears to increase the risk of
suicide significantly for San Diego County residents. The jail system’s
inmate suicide rate has been nearly eight (8) times higher than the overall
suicide rate for San Diego County (13.1 out of 100,000).7
   As of this writing, San Diego County has reported one jail inmate suicide
during 2017. Another inmate suicide reportedly occurred in March 2018.
While this is a decrease in the number of suicide deaths compared to previous
years, it does not establish that the County has achieved an enduring solution.
Suicide rates are most meaningful when viewed over a sustained period of
time. Although the number of inmate suicides in a given year is no doubt an
important indicator as to the adequacy of a system’s policies and practices, it
is not the sole barometer by which a system’s adequacy should be
measured.
                                        Suicide Rates in San Diego Jails, Other Jails,
   There are additional
                                                State Prison, and the Community
reasons for caution with
                                                    (Annual Rate per 100,000)
respect to the reported
decrease in inmate suicides.              120
First, the County has had
                                          100
other periods with few or no
suicides, only to see a return             80


to previous levels. For                    60

example, a seven-and-one-
                                           40
half month period without a
San Diego jail inmate
suicide death (January 2015
- August 2015) was followed
                                           20




                                        San Diego
                                       County Jails


                                                 99
                                                      Jails Nationwide California State
                                                                            Prison
                                                                                              -
                                                                                        San Diego County-
                                                                                           All Residents
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by a spate of suicide deaths in late 2015 and into 2016.Second, our
investigation revealed that there continue to be a significant number of
inmate suicide attempts and serious acts of self-harm. We reviewed 73
San Diego County Sheriff’s Department incident reports that document
distinct “Suicide Attempts” which occurred between the beginning of
January 2017 and September 11, 2017. Many of these incidents were very
serious and required emergency medical care. They include dozens of
attempted hangings and self-strangulations, many jumps off the top tiers of
jail housing units, and attempted overdoses. Such incidents occurred at a
rate of approximately two (2) per week, which is consistent with the rate of
“suicide attempts” reported for previous years – 107 in 2016, and 82 in
2015.
    The County has stated to DRC that it began utilizing new definitions for
“Suicide Attempt” and “Non-Suicidal Self Injury” in 2017. Under these
definitions, the County determined that just 10 of the 73 incidents reported
as “Suicide Attempts” were in fact suicide attempts under the new definition.
    However such incidents are categorized, the continued frequency of inmate
suicide attempts and serious acts of self-harm indicates that the treatment of
people with mental health needs requires significant improvement.
Suicide Rate Calculations
    In examining suicide rates, DRC follows the methodology for calculating annual
mortality rates, per 100,000 inmates, which is used by the United States Department
of Justice. Experts in the field have found that this methodology is useful and
“enhances our understanding of the jail suicide problem.”8
    The County has suggested an alternative method of calculating inmate suicide
rate, which considers the estimated “racial distribution” of the inmate population in
San Diego County’s jails and in other county jail systems. The basis for this
methodology is that San Diego County has an uncommonly high percentage of white
inmates, who are statistically at higher risk of suicide compared to African American
and Latino inmates.
    The fact that San Diego County may have a higher-than-average number of
inmates at elevated risk of suicide only adds urgency to the need for action. As
Raymond F. Patterson, M.D., a national expert in forensic psychiatry and correctional
suicide prevention, has written:
   “If [a detention system] do[es] in fact house groups of persons who tend to have
   higher rates of suicide, [the system] is therefore on notice of this elevated suicide
   risk factor and has a duty to address that risk in its suicide prevention efforts.
   Awareness of a higher propensity to suicide among certain groups requires greater
   vigilance on the part of [the system], not a reason for acquiescence.”9
  Whatever the methodology for evaluating suicide rates, the number of suicides in
San Diego County’s jails in recent years is a cause for extreme concern.

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   B. Repeated Calls for Action
    Local advocates and media have called attention to the dangerous
conditions and large number of suicides and other deaths in San Diego
County Jail facilities. There is an extensive public record documenting the
tragic loss of lives, systemic failures, and inadequacy of oversight. 10
Families of those who have died have filed lawsuits alleging that the
County and jail staff acted with deliberate indifference to inmates’ serious
mental health, medical, and related needs.11
    Under the leadership of Dr. Alfred Joshua, the chief medical officer, the
Sheriff’s Department implemented a new Inmate Safety Program in 2015.
This program included a number of changes to policy and training, and
created new “Enhanced Observation Housing” (EOH) units for individuals
meeting criteria indicating possible suicide risk. In spite of these efforts, the
number of suicides remained high through 2016. (As discussed in Section
IV.C.4, we have serious concerns regarding the harsh conditions and lack of
mental health treatment in the EOH units.)
    In Spring 2017, a San Diego Grand Jury issued a report regarding the
alarmingly high inmate suicide rate. The Grand Jury found that “46 people
have committed suicide in San Diego County jails in the past 12 years,”
noting that the County’s inmate suicide rate is “the highest in all of
California’s large county jail systems.”12
    The Grand Jury recognized a number of steps the Sheriff’s Department
has taken in response to the inmate suicide crisis, including the addition of
EOH units, Safety Cells (which, as we discuss later, are essentially small,
empty padded rooms), and medical isolation cells, with related updates to
policies and procedures.13
    At the same time, the Grand Jury found that the Sheriff’s Department
continues to have inadequate suicide prevention training for jail staff,
problematic gaps in personnel, and deficiencies in oversight. The Grand Jury
concluded that “increased efforts in suicide prevention are required.”14
    On June 29, 2017, Sheriff Gore filed a Response to the Grand Jury’s
report. He promised a comprehensive suicide prevention policy, additional
suicide prevention training, and formation of a Suicide Prevention
Response & Improvement Team (SPRIT) to update policies and oversee
staff training.15
    Through our investigation, we are convinced that the Sheriff’s Department
has begun to take the issue of suicide prevention seriously. However, there
remain many aspects of the system’s treatment of people who have mental
health needs, or who are at risk of suicide, that require urgent action.
Individuals with mental health needs continue to suffer in San Diego County’s
jails, and remain at extraordinary risk of harm.

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III.   SCOPE OF DRC INVESTIGATION AND EXPERTS
  A. DRC Investigation Process
   Disability Rights California (DRC) is the state’s designated protection
and advocacy system, charged with protecting the rights of people with
disabilities in California.16 DRC has the legal authority to inspect and monitor
conditions in any facility that holds people with disabilities.17
   Pursuant to this authority, DRC opened its investigation into San Diego
County Jail based on reports from advocacy groups and community
members, individuals with disabilities who have been incarcerated in the
County’s jails, as well as public and media reports regarding conditions in
the County’s jail system.
   DRC toured four San Diego County Jail facilities that contain units
designated for inmates with mental illness: (1) Central Jail, (2) George F.
Bailey Detention Facility, (3) Vista Detention Facility, and (4) Las Colinas
Detention and Reentry Facility. We toured facilities on May 5 and 6, 2015
and returned for follow-up inspections on November 2 and 3, 2016. We
viewed areas accessible to inmates, including the booking/intake area,
holding cells, sobering cells, safety cells, health care treatment areas,
recreational and program areas, visitation areas, and housing units. During
the tour, staff provided information and answered questions about the
facilities and programs. We spoke with scores of inmates in the housing
units, either at cell-front or face-to-face in common areas. We also
conducted confidential interviews with numerous inmates throughout our
investigation.
   DRC reviewed publicly available documents and obtained records from
the Sheriff’s Department through California Public Records Act requests,
DRC’s access authority18, and signed releases from inmates. We reviewed
thousands of pages of relevant policies and procedures, Sheriff’s
Department records, and individual inmate records.
   Based on our initial inspection of the facilities, and pursuant to our
protection and advocacy system authority, we found probable cause to
conclude that prisoners with disabilities are subjected to abuse and/or
neglect in the San Diego County Jail.19 We continued our investigation,
leading to this report.

  B. Expert Analysis on San Diego Jails’ Suicide Crisis
   While the recent investigation efforts of the Grand Jury and other entities
have been admirable and provide important recommendations, we
determined that the County’s inmate suicide crisis and related issues with
inadequate mental health treatment warranted an independent, in-depth
expert assessment.

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   DRC retained two subject matter experts to review inmate suicide cases
going back to 2014 as well as relevant policies and procedures. These
experts, Karen Higgins, M.D., and Robert Canning, Ph.D., CCHP (“DRC
Experts”), have considerable experience and expertise in mental health
treatment and suicide prevention in detention facilities.
   Dr. Higgins served as the lead psychiatrist for the Denver City and
County Jail system. She has also served as the statewide Chief Psychiatrist
for the California Department of Corrections and Rehabilitation (CDCR).
She has played leading roles in the development of policies related to
correctional mental health care and suicide prevention.
   Dr. Canning served as CDCR’s statewide Suicide Prevention
Coordinator for more than a decade, chairing the statewide suicide
prevention committee, designing mental health and suicide prevention
trainings, leading suicide prevention policy reforms, and building CDCR’s
quality improvement systems.
   Dr. Higgins and Dr. Canning offer an important and independent
perspective on San Diego County Jail’s system. Their report (Appendix A)
identifies twenty- four (24) Key Deficiencies and provides forty-six (46)
Recommendations to address those deficiencies. See Section IV.B, below.
   Dr. Higgins and Dr. Canning also completed two detailed reports on
recent individual inmate suicides. These two reports, provided
confidentially to the County, offer a model structure for the County to use to
strengthen its own internal critical incident and suicide review processes for
the future.




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IV.     DRC FINDINGS AND RECOMMENDATIONS
 A. San Diego County Should End Its Over-Incarceration of
      People with Mental Illness and Improve Its System of
      Community-Based Mental Health Services.
   As is the case in many counties, the jail facilities in San Diego County were
not designed to provide adequate treatment to inmates with mental health
needs.20
   Yet, San Diego County incarcerates an enormous number of people with
mental illness. The Sheriff’s Department has reported that approximately
40% of the jail population has a mental illness.21 That means there are some
2,000 people with mental illness in the County’s jails at any one time, many
of whom have very significant treatment needs.
   The disproportionately high number inmates with mental health needs is
of a problem that begins outside the jail system. Far too many people with
serious mental health needs are ending up in San Diego County’s jails. The
County’s recent planning and funding priorities for mental health services
appear to take this challenge head-on, after years of lack of attention and
investment. Of course, the County’s efforts will be judged on outcomes.
   By providing appropriate mental health services and taking proactive
steps to keep people with mental health needs out of jail, communities can
lower incarceration and recidivism rates and improve people’s lives. When
effective, such efforts are good for families, constitute smart utilization of
public monies, and in fact enhance public safety.
   DRC emphasizes three strategies for counties to end the dangerous,
costly, and counter-productive over- incarceration of individuals with mental
health needs:
   1. Ensure a robust community mental health system that supports
people with mental illness in ways that keep them out of the criminal justice
system in the first place.
   2. Divert individuals with mental illness who come into contact with law
enforcement away from jail and into appropriate placements with services.
   3. Help individuals with mental illness safely and successfully reenter
their communities after being incarcerated, with effective continuity-of-care
and services to assist with housing, food, and other basic needs.
   In 2017, the County created a jail-based mental competency restoration
program at the Central Jail, to provide restoration of competency services
to inmates with pending criminal charges who are found “Incompetent to
Stand Trial” (IST). The new program is a response to the lack of available
beds in the state hospital system and resulting delays in providing court-
ordered treatment to the IST population.

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   The County has not, however, taken similar steps to create capacity for
a community-based restoration of competency program. Jail-based
programs are compromised by their non-therapeutic carceral setting, and
can themselves be dangerous places. 22 In contrast, community-based
programs offer a cost- efficient, effective means of restoring IST patients to
competency, while reducing unnecessary incarceration and improving
mental health outcomes.23
   Historically, San Diego County’s efforts with respect to community-
based mental health services have fallen short. The County failed to invest
available state funding for mental health services, including over $100
million of Mental Health Services Act (MHSA) funding in 2017, with an
additional $42 million in reserves. 24
   In June 2016, a Grand Jury documented the County’s under-utilization of
MHSA monies. The Grand Jury recommended that the County “appropriate
a larger percentage of MHSA funds each year in order to improve services to
a larger number of seriously mentally ill and at-risk county residents.”25
   The last few months have shown some reason for optimism, with the
County taking steps to substantially increase investment. In October 2017,
the County approved its Mental Health Services Act Three-Year Program and
Expenditure Plan: Fiscal Years 2017-18 through 2019-20 (“San Diego MHSA
Plan”).26 This plan would represent a major investment, nearly $570 million,
in community- based mental health services and housing.27 It includes over
$33 million for mental health programs targeted to help youth and adults
entangled in the criminal justice system.28 The plan marks an important step
toward addressing the overrepresentation of people with mental health
needs in the criminal justice system and subjected to incarceration.
   The San Diego MHSA Plan provides for increased outreach to people
with mental health needs in jail and links to community-based services,
including Full Service Partnership (FSP)29 and Assertive Community
Treatment (ACT)30 programs, mental health and substance abuse
treatment, health care, and housing. Additional programs are aimed at
diversion from jail, reducing recidivism, and court-sponsored alternatives to
incarceration. Examples include the Collaborative Behavioral Health Court
and ACT program, the Psychiatric Emergency Response Team (PERT),
the Serial Inebriate Program (SIP), and Courage to Call, a veteran peer
support program.31
   The County appears to be exploring other programs to decrease the
number of people with mental health needs in jail. In July 2017, the Board
funded an alternative custody and community transition pilot program
designed for people with mental health needs and co-occurring substance
abuse disorders incarcerated for non-violent misdemeanor offenses. The
program is designed to link participants with community-based mental
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health treatment and reentry services, with the goal of reducing recidivism.
The pilot program is funded to serve 24 individuals at a time.32
   The County’s plans also recognize the importance of better data
collection and outcome-based program evaluation. For example, the
County recently passed a resolution supporting Stepping Up: A National
Initiative to Reduce the Number of People with Mental Illness in Jails, which
encourages development of a data-driven plan to achieve reductions in
the number of people with mental illness in jail.33
   Implementation of the Stepping Up Initiative and programs included in the
MHSA Plan remain in the early stages, and should move forward
expeditiously. These efforts will require sustained funding in the months
and years to come, adequate transparency, and self-critical analysis of
progress and of where additional resources may be needed.
RECOMMENDATIONS
Ending Over-Incarceration of People with Mental Illness and
Strengthening Community-Based Mental Health Services
Recommendation 1. Fully implement the County’s three-year Mental
Health Services Act (MHSA) Plan, with adequate transparency as to
spending and program outcomes.
Recommendation 2. Focus investment on community-based services
and treatment programming that help individuals with mental health
needs to thrive and to avoid incarceration and entanglement with the
criminal justice system.
Recommendation 3. Develop capacity for community-based
competency restoration programs for individuals found Incompetent to
Stand Trial (IST), so they can receive treatment in the least restrictive
setting appropriate and do not languish unnecessarily in jail.
Recommendation 4. Strengthen reentry programming for
individuals with disabilities to ensure continuity of care, including with
respect to medication and other treatment, and access to job
opportunities, housing, food, and other basic needs for successful
reintegration into the community.
Recommendation 5. Ensure that the County’s mental health
programs are subject to rigorous data collection and self-critical
analysis of progress and where additional resources may be needed.




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   B. San Diego County Should Address Systemic Deficiencies
        Illustrated by the High Rate of Inmate Suicides.
  The DRC Experts, Dr. Higgins and Dr. Canning, reviewed jail policies as
well as individual records for all suicides that occurred between December
2014 and the end of 2016. They identified twenty-four (24) “Key
Deficiencies” in San Diego County Jail’s system, covering nine (9)
components of an effective correctional suicide prevention program. They
provide forty-six (46) Recommendations to improve the County’s suicide
prevention and related mental health treatment delivery efforts. Their full
Report is attached as Appendix A.
 The DRC Experts found that San Diego County must improve its Jail
Suicide Prevention efforts in nine (9) areas:
   1.    Screening for Suicide Risk and Related Mental Health Needs
   2.    Clinical Assessment and Intervention
   3.    Staff Communication
   4.    Addressing the Heightened Risks of Restrictive Housing
   5.    Supervision of At-Risk Inmates
   6.    Timely Emergency Response
   7.    Suicide Prevention Training
   8.    Internal Review of Inmate Suicides
   9.    Quality Improvement Program
  The DRC Experts commended the County for some of its recent efforts to
revamp its mental health and suicide prevention policies and practices. They
have encouraged the County to continue to strengthen those efforts, while
taking steps to address the identified Key Deficiencies, summarized here.

   1. Screening for Suicide Risk and Related Mental Health Needs
  Screening for suicide risk and related mental health needs is a critically
important part of any suicide prevention program. Effective screening to
determine if a person might be at risk of suicide is essential at the time of jail
booking, as the initial period of detention carries heightened risk of suicide.
Screening is also necessary at particular high-risk moments during a
person’s incarceration.
   The DRC Experts identified problems with the County’s suicide risk
screening procedures at booking, at key transition events that carry elevated
risk (e.g., placement in solitary confinement), and at other high-stress, high-
risk moments (e.g., inmates receiving “bad news” about their criminal court
case, moving to prison, or being extradited).



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            How Long Were San Diego Jail Inmates in Custody
                                                                        In one tragic and
                     Prior to Their Suicide Death?                      illustrative case reviewed by
                             (2014-2016)                                the DRC experts, an
   11 inmates
                                                                        inmate arrived at the jail
                                     1 inmate
                                                                        with symptoms of florid
                                                  3 inmates             psychosis and mania. He
                                                                        was not referred for
                                                                        admission to the
                                                • 10 days or less       Psychiatric Security Unit.
                                                                        He was instead placed in an
                                                • 11-20 days
                                                                        Administrative Segregation
                                                                        unit. He died by suicide a
                                                • 21-100 days
                                                                        few days later without
                                    2 inmates
                                                  More t han 100 days
                                                                        receiving an adequate
                                                                        screening for suicide risk.

   2. Clinical Assessment and Intervention
   Jails must effectively identify and monitor inmates’ mental health needs
and timely provide clinically indicated treatment, both in the event of an
acute psychiatric episode and on an ongoing basis.
   The DRC Experts identified several deficiencies in San Diego County’s
clinical referral and evaluation practices.
   The experts also found that San Diego County Jail inmates do not receive
an adequate individualized mental health treatment plan, a violation of state
law34, and do not have access to care that can prevent decompensation and
reduce the risk of suicidal thinking and behavior.

   3. Staff Communication
   Communication between and among custodial staff and health care
professionals working in the jail is another important aspect of suicide
prevention. The DRC Experts found that San Diego County has lacked an
effective system for custodial staff, mental health staff, and other health care
staff to communicate about an inmate’s decompensating condition, potential
risk of suicide or self-harm, and mental health treatment needs.
   In one case, a man died by suicide the day before his transfer to another
state to face criminal charges. The DRC Experts found that custody staff
knew he had made a credible suicide attempt a few weeks earlier, and that he
was experiencing considerable stress about being extradited. Yet the
inmate’s treatment record did not reflect any sense of heightened risk
requiring closer observation, monitoring, and clinical follow-up. The DRC
Experts determined that this suicide death may have been preventable had
there been better communication among custody and mental health staff
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about the inmate’s situation.

   4. Addressing the Heightened Risks of Restrictive Housing
   The placement of inmates, particularly those with mental health needs, in
segregated or restrictive housing increases the risk of suicidal and self-
harming behavior, isolates individuals, and impedes normal interpersonal
interactions that are essential to psychological health and adequate
treatment.35 At least six (6) inmates died by suicide in the last four years
were housed in designated solitary confinement units in San Diego County
Jail, and several more were housed in units with solitary confinement
conditions.




    The experts found that San Diego County Jail lacks an adequate process
to screen inmates for increased suicide risk prior to and during placement in
solitary confinement. This means that jail staff may be placing inmates who
are at greatest risk of suicide in solitary confinement without identifying and
considering those risks.
    In one case, an inmate was housed in Administrative Segregation for over
four months. The DRC Experts found that this inmate appeared to suffer the ill
effects of prolonged isolation and had significant symptoms of mental illness
that were not detected by staff. After a series of emergency placements in the
jail’s “Safety Cell,” the inmate was again placed in Administrative Segregation,
where he spent the last six weeks of his life before hanging himself.
    The DRC Experts also identified problems with custodial practices in
monitoring inmates in solitary confinement to ensure that those inmates are
safe and not engaging in self-harming behavior. They found failures to monitor
inmates’ safety and cases of malfunctioning communication equipment in the
segregation units. In some cases, the result was delays in discovering and
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responding to inmates’ ultimately fatal suicide attempts.
   DRC observed video footage of one troubling suicide attempt in an
Enhanced Observation Housing (EOH) Unit, which houses inmates at risk of
suicide with solitary confinement conditions (as discussed in Section IV.C.4).
Inmates are monitored by overhead video camera and per Department policy,
should receive in-person checks at least once every 15 minutes. The video
shows the inmate standing naked on the cell’s desk, praying and preparing to
jump, for over 14 minutes. He then dove head-first onto the floor. Four more
minutes passed before custody staff appeared and summoned emergency
medical care. Had the policy regarding in-person checks been followed, or the
surveillance video been monitored, staff could have intervened prior to the
inmate’s jumping, and there would likely have been a more timely discovery
and emergency response.
   The extreme isolation and deprivations of solitary confinement increase
suicidal ideation and self-harming behavior. Records indicate that such
conditions contributed to inmates attempting suicide. In one suicide case, an
inmate housed alone in Administrative Segregation was allowed just one hour
out of his cell every 48 hours. He requested psychiatric services but two days
later, he still had not been seen by mental health staff. He asked a deputy
through the cell’s intercom when he would get out of his cell and into the
dayroom. He was told that he must remain in his cell. Forty-five minutes later,
he was found hanging in his cell. Prior to hanging himself, he had urinated on
the floor, stuck food and feces on the ceiling, and scrawled a suicide note on
the cell walls using his own blood.

   5. Supervision of At-Risk Inmates
   When an inmate has suicidal thoughts, or engages in suicidal or self-
harming behavior, staff must adequately supervise the inmate to ensure that
the individual is safe.
   The DRC Experts found several deficiencies regarding supervision of
such inmates. For example, the experts found problematic the County’s
policies directing that custodial staff, rather than clinical staff, have final
decision-making authority about where to house inmates identified as at risk
of suicide.
   Custody staff too often interfere with clinical decision-making regarding
inmates with acute mental health needs. In one case, an inmate was booked
while having acutely manic and psychotic symptoms. He had been
hospitalized twice shortly before his incarceration and had been off his
medications for several days prior to arrest. There was a two-day delay
before he received a psychiatric evaluation and medications. The inmate
made repeated statements about hurting himself, and he refused to take
medications when they were finally ordered. A nurse practitioner
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recommended that the inmate be placed in a Safety Cell based on his
condition. However, a sergeant refused to move him. He remained in an
Administrative Segregation cell, where he died by suicide that evening.

   6. Timely Emergency Response
    When an inmate engages in a serious suicide attempt, the facility staff’s
emergency response will often determine if the person lives or dies. The
DRC Experts found, in nearly half the emergency responses to lethal suicide
attempts they reviewed, poor coordination of lifesaving efforts, delays in
starting CPR, and/ or malfunctioning medical equipment. They cited several
troubling examples among recent suicide deaths.
    In one case, medical staff were unable to initiate life-saving efforts due to
malfunctioning automated external defibrillator (AED) equipment.
    In a second suicide case, deputies waited seven minutes after discovering
an inmate hanging in his cell, and then prevented nursing staff from evaluating
the inmate’s condition or using the AED.
    In yet another case, the DRC Experts observed video of approximately 11
deputies standing at the scene of a suicide attempt for several minutes without
initiating life-saving measures.
    The DRC Experts also found that San Diego County Jail lacks an
adequate program of drills for medical emergencies, including those
stemming from serious suicide attempts.

   7. Suicide Prevention Training
    Custodial, medical, nursing, and mental health staff need strong training on
the signs of mental illness and suicide risk, and on responding to inmates who
are potentially at risk of suicide.
    While the County has in recent months taken affirmative steps to enhance
its suicide prevention training program in the wake of the Grand Jury’s 2017
findings, the DRC Experts found that the County’s training program is not well
coordinated, tracked, or evaluated.
    The DRC Experts found additional deficiencies with respect to the training
of mental health clinicians. For example, records indicate that clinicians
frequently use “contracts for safety,” which ask patients to agree verbally or in
writing that they will not engage in self-harm. According to suicide prevention
experts, this practice has not been shown to decrease the risk of suicide
attempts or to provide protection for clinicians. In fact, San Diego County Jail
clinicians used these “contracts for safety” with multiple inmates who
subsequently died by suicide while in custody.

   8. Internal Review of Inmate Suicides
   All inmate suicide deaths and medically serious suicide attempts should
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be subject to a rigorous review process, with the objective of identifying
necessary improvements that can be made to enhance suicide prevention
and inmate safety moving forward.
   The DRC Experts found that the County’s internal suicide review process,
including as proposed in its recently revised Suicide Prevention Policy, is
inadequate. They found that the policy does not sufficiently outline an internal
review process, and that it fails to identify how findings and corrective action
plans will be acted upon.
   It is problematic that the Sheriff’s Department Critical Incident Review Board
does not conduct a formal review of all serious suicide attempts. This is a
missed opportunity to learn from experience and to strengthen policy,
procedure, and training moving forward.
   The DRC Experts also expressed concerns about the San Diego County
Citizens’ Law Enforcement Review Board (CLERB), finding that it does not
serve a meaningful or sufficient role in the provision of external, independent
oversight with respect to suicide prevention. (We strongly agree with this
finding, and recommend a new model of independent oversight. See Section
IV.D.)

   9. Quality Improvement Program
   Jail systems with a robust continuous quality improvement (CQI) program
will be in the best position to identify problems and implement effective
solutions, including with respect to suicide prevention. The DRC Experts
found that the County has begun to take positive steps in this area, but that
important work remains.
 RECOMMENDATIONS
 Improving Suicide Prevention in Jails
 Recommendation 6. Develop a plan for timely implementation of the
 DRC Experts’ forty-six (46) Recommendations to address deficiencies
 in San Diego County Jail’s suicide prevention policies, practices, and
 training.
 Recommendation 7. Strengthen the County’s internal review
 process and quality improvement program to ensure implementation of
 necessary changes to enhance suicide prevention and inmate safety.

 C. San Diego County Should Provide Adequate Treatment
   and Services to Inmates with Mental Health Needs.
  Our investigation found that there are a large number of San Diego County
Jail inmates with significant mental health needs. With few exceptions,

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enhanced mental health treatment programming is provided only to those
with critically acute needs. In many cases, inmates remain in harsh, non-
therapeutic settings without adequate treatment until their condition
deteriorates. Only when they reach the point of engaging in acts of self-harm
or having an acute breakdown do they receive an enhanced level of care. Such
a system is cruel and counterproductive, and does not meet constitutional and
legal requirements.
   The County must take reasonable steps to ensure that it safeguards the
rights of inmates with mental illness under the United States Constitution, the
Americans with Disabilities Act, and other relevant laws. The County’s
compliance with state regulations – including Title 15 of the California Code of
Regulations regarding jail operations – is important, but it does not
demonstrate compliance with Constitutional and other legal requirements.36

    1. Overview of San Diego County’s Jail Mental Health System
   The Sheriff’s Department utilizes a partnership of County staff and contract
health professionals to provide mental health services. Liberty Healthcare
Corporation, a private contractor, assists in the hiring of staff and management
of the mental health programs. Of course, it remains the County’s responsibility
to ensure that inmates are provided adequate care based on individual clinical
needs.
   The jail system has two units, called Psychiatric Security Units, that have on-
site mental health clinicians and daily treatment programming, serving up to
thirty (30) men and thirty-two (32) women with the most critically acute mental
health conditions.
   The County’s jails also rely heavily on Safety Cells and Enhanced
Observation Housing (EOH) units to manage inmates identified as acting out
or at risk of self-harm or suicide. These are severe and punitive-feeling
placements, without meaningful treatment. They raise serious concerns.
   There are other designated mental health “cluster” units that house
people with mental illness. In general, these units do not provide meaningful
treatment programming.
   A Jail-Based Mental Competency Program, a 25-bed program at the Central
Jail for inmates deemed Incompetent to Stand Trial (IST), opened in March
2017. DRC did not tour or assess this program.




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   2. Safety Cells
   We have significant concerns about the County’s placement of large
numbers of inmates in the jails’ “Safety Cells.”
   By policy, Safety Cells are used for people who: (1) verbalize suicidal ideation
or make suicidal gestures and are belligerent or intoxicated; (2) are combative
or violent to a point that they may injure themselves, other patients or staff; or
(3) are unable to function in the regular or specialized housing areas due to
behavior which jeopardizes their safety.
   These Safety Cells are extraordinarily harsh settings. They are small,
windowless rooms with rubberized walls. There is no furniture or bedding,
leaving the individual to sit or lie on the floor. Safety Cell doors contain a food
slot and a small viewing window that faces a hallway. Cells have a ceiling light
that is illuminated 24/7, and a camera for remote observation by custody staff.
   The cells are completely barren, with no sink, toilet, or running water.
Inmates defecate and urinate in a grate on the ground. In June 2017, a
Grand Jury evaluation of jail conditions found a “very strong” smell of urine
surrounding the Safety Cells.37
   Inmates placed in these Safety Cells are stripped naked and given only a
“safety smock” made from heavy tear-free material fastened with straps or
Velcro. The garment is open at the bottom, and no underwear is provided.
Inmates receive no books or any other personal property while in a Safety
Cell.
   Placements in a Safety Cell are approved by the Watch Commander, in
consultation with medical staff. An initial medical assessment must be done
within 30 minutes after medical staff is notified. Department policies require
observation of inmates placed in Safety Cells by custody staff at least twice

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every 30-minute period and by medical staff every four (4) hours. The jail’s
policy is for a mental health consultation to occur within 12 hours of
placement, and a medical evaluation every 24 hours.
   There is no time limit for how long an inmate may be kept in a Safety Cell.
Record reviews show that many inmates are held in Safety Cells for much
longer than 24 hours, and in some cases up to four days. Many inmates
cycle in and out of Safety Cell placement multiple times. In 2017, inmates
were placed in a Safety Cell more than 6,700 times.

   3. Psychiatric Security Units (PSU)
   The County has two jail-based inpatient mental health units, known as
Psychiatric Security Units (PSU), at the Central Jail (30 beds for men, including
four beds in “observation cells”) and at the Las Colinas Detention and Reentry
Facility (32 beds for women, plus six nearby beds in “observation cells”).
Strikingly, these two units make the Sheriff’s Department the County’s largest
provider of inpatient psychiatric services.
   We observed a high level of acuity among the patients in these inpatient
units, with some placed in troubling solitary confinement conditions.
   At the same time, we found
that the PSUs do have some
positive treatment programming.
For example, at Central Jail, the
PSU has clinical staff on-site,
along with deputy staff that
receive specialized mental health
training. The PSU has operated
weekly “Love on a Leash”
therapeutic programs with
specially trained dogs.
   At Las Colinas, the PSU has
considerable treatment and
programming space. Therapeutic programming has included yoga and
arts/crafts. Patients receive weekly multi-disciplinary treatment group
meetings and regular clinical contact.
   The County Jail’s PSUs are the only units we observed that provide
enhanced mental health treatment to inmates. They are available only to




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inmates demonstrating an extremely high level of acuity.




   A deeply problematic practice impacting access to treatment in the PSU is
the inappropriate influence of custody staff, often contrary to mental health
providers’ clinical recommendations. For example, we received multiple
reports that custody staff unilaterally place patients in the PSU’s “observation
units,” which amount to a solitary confinement setting without access to the
PSU’s treatment programming. Inmates in these cells have been observed, by
us and by others, smearing food, feces, and urine on the walls and floor.
   Custody staff have in some cases prevented PSU patients from having
social visits or accessing the outdoor area for recreational activity, overruling
clinicians’ judgment as to what is safe and clinically appropriate based on the




patient’s individual circumstances. Such disregard of clinical judgment is
deeply counterproductive to treatment efforts.
   The DRC Experts also found problematic the number of inmates in mental
health crisis who are not referred for placement in the PSU. There are large
numbers of inmates cycling in and out of Safety Cells, many remaining in those
cells for extended periods of time. But Safety Cells are harsh, barren, and
isolating. They are not designed to provide clinical evaluation or treatment.
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   Inmates exhibiting suicidal or self-harming behavior, or other manifestations
of acute mental illness, should be timely assessed for placement in the PSUs.
   The County should ensure that these units are being fully and
appropriately utilized, and that all patients in the PSU receive meaningful,
clinically-driven treatment.

   4. Enhanced Observation Housing (EOH) Units
   With the County’s development of the Inmate Safety Program in 2015
came the creation of Enhanced Observation Housing (EOH) units. These units,
located at four jail facilities (Central, Las Colinas, George Bailey, Vista), are
designated for observation and assessment of inmates who may be at
elevated risk for suicide. Even though EOH inmates, in contrast to inmates in
Safety Cells, generally have access to a toilet, they too endure conditions of
extreme isolation and deprivation.
   We observed and met with several inmates in EOH units. Consistent with
County policy, all clothes and underwear are taken away, and inmates receive a
safety smock, two blankets, and shower shoes. However, we reviewed multiple
records documenting that EOH inmates were left naked, with no safety
smock, and in some cases not even provided a blanket. Some are forced to
sleep on a thin mat placed on the floor. Many inmates complained about being
cold, even with the smock and blankets.
   Inmates have no access to personal property, television, recreation yard
time, or visits from family. Inmates in the EOH units eat from paper trays and a
paper safety spoon, and in some cases are restricted to eating without any
utensil.
   Inmates in the EOH units with individual cells complained about extremely
                                             limited time outside their cell and
                                             excessive isolation. Mental health staff
                                             appear to recognize the extreme
                                             conditions in the EOH units. In one
                                             inmate’s chart we reviewed, a
                                             psychiatrist recommended that the
                                             facility “discontinue EOH as the
                                             isolation is inhumane and likely to
                                             compromise [this inmate]
                                             psychologically.” We learned that
                                             some inmates deny having suicidal
                                             thoughts so they can get out of the
                                             EOH unit, or avoid placement there,
                                             given the harsh conditions.
                                                The number of inmates who pass
through the EOH unit, with all its deprivations, is remarkable and far beyond
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what we have observed in other jails. In 2016, the County logged 5,269 EOH
placements. The rate was similar in 2017, based on partial data provided to
us. In hundreds of cases, the inmate spent three days or more in the EOH
unit, including a substantial number with lengths of stay of one week or
more.
   Inmates in EOH units are given a risk designation of either “high” or “low.”
When we toured the facility in November 2016, mental health clinicians
evaluated inmates every 24 hours if they were designated as “low” risk. We
were alarmed to see that for inmates designated as “high” risk, clinicians
would evaluate them only every 48 hours, on the purported basis that they
needed more time to “cool down.” We understand that the Department
recently updated their policies to ensure that all inmates are seen at least
every 24 hours.
   Still, there is no limit as to how long an inmate can be held in EOH housing.
Frequently, the inmate charts we reviewed simply noted “Continue to Observe
(CTO),” with no clinical justification or plan for treatment. Mental health staff
who cover the EOH units spend their time evaluating and re-evaluating
potential suicide risk, but little to no time engaging with inmates to reduce
that risk.
   We are well aware of the County’s important objective to prevent inmate
suicide deaths, and that removal of clothing, property, and privileges can
reduce the opportunities that an inmate may have to engage in self- harming
behavior. That being said, we found extremely disturbing the levels of
deprivation and isolation for so many individuals, without access to any
therapeutic or recreational activities. These individuals, remember, have been
specifically identified as having potential mental health needs. They require
frequent assessment and sustained therapeutic intervention. While the County
has taken steps to better assess inmates’ suicide risk, more must be done to
provide necessary treatment.

   5. Lack of Mental Health Treatment Programs
   Through our investigation, a major theme that emerged was that inmates
do not have timely access to adequate mental health care, including
counseling, psychiatric medications, and other treatment programming.
   The County has recently created designated mental health “cluster” units,
which seem to provide some benefit to inmates with mental health needs who
may be vulnerable to abuse or exploitation in general population units.
   However, these designated mental health units lack formal treatment
programming. Written guidelines for the largest such unit, at Central Jail,
confirmed these limitations, stating that it “had no additional staff, doesn’t
provide additional treatment, or different follow-up guidelines. . . . [The unit]
is simply psychiatric housing where inmates are less subjected to stigma if
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acting in a manner that would reveal their thought process impairments.”
   Mental health staff leadership shared with us that increased access to
structured individual and group treatment activities would be beneficial to
their patients, but that there is insufficient mental health staffing and related
resources to deliver such a program.
   Access to mental health treatment remains extremely limited outside the
inpatient PSUs. It generally consists of medication management and brief,
non-confidential “check-ins” with mental health staff, often through a cell
door. Non-confidential clinical contacts undermine treatment, as prisoners are
reluctant to disclose sensitive information about their mental health history or
current situation. What is more, effective communication through the thick
metal cell doors is extremely difficult – people must speak very loudly to be
heard at all. (We observed psychiatrists meeting with some patients privately
outside of their cell, which is a positive practice.)
   Many inmates on the jail’s mental health caseload expressed to us an
interest in group or individual out-of-cell therapeutic activities. In one case, a
patient’s record documented that he requested to discontinue his
antidepressant medication and try counseling. Instead, mental health staff
increased his medication dosage and ignored his request for counseling.
   The lack of access to mental health treatment activities and appropriate
levels of care violates minimum standards of care for inmates with mental
health needs.38 The National Commission on Correctional Health Care has
adopted a standard requiring that “[r]egardless of facility size or type, basic
on-site outpatient [mental health] services include, at a minimum, individual
counseling, group counseling and psychosocial/psychoeducational
programs.”39
   The County has reported that the jail system has recently increased mental
health staffing. Any increase is a step in the right direction. It is clear that a
significant increase in staffing and related resources is necessary to deliver
meaningful treatment, including structured individual and group treatment
programming, to the approximately 2,000 people with mental health needs
inside the jails.
The Veterans Moving Forward Program
One notable exception to the lack of mental health programming in the San Diego
County jails is the Veterans Moving Forward Program at Vista. The unit is decorated
with artwork and displays flags representing each branch of service. Up to 64
inmates who are veterans participate in the program, which covers substance
abuse, stress management, yoga, career planning, mentoring, financial planning, and
journalism. A counselor from the Veterans Administration is assigned to the unit.
The Veterans Moving Forward Program excludes inmates with serious medical
conditions and non-veterans. Many inmates, both veterans and non-veterans,
would benefit from this sort of program but are unable to participate due to the lack

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of capacity and restrictive criteria.
   We also found that inmates have faced significant delays in receiving
prescribed psychiatric medications. Such delays can be dangerous and lead to
mental health decompensation. The jail adopted a new pharmacy system in
the summer of 2017. We received reports, confirmed by the County, of
problematic delays between prescription and arrival of a medication for
patients. The County has indicated that such problems have been addressed
through the use of local pharmacies, particularly for urgent prescriptions.
However, we continue to receive reports that medications are delayed.
   Overall, the DRC Experts found that the County’s jail mental health
program “remains fragmented and without good continuity of care.” They
recommend development of a consolidated mental health treatment program
that offers an appropriate spectrum of levels of care.
   Specifically, the DRC Experts recommend creation of an “intermediate”
level of mental health care, with sufficient capacity to ensure timely access for
those individuals who need enhanced treatment programming. The program
would serve patients “stepping down” from Safety Cell, EOH, or PSU
admissions, as well as patients with a mental health condition that makes it
difficult for them to function in a general population jail setting. The program
would require a substantial increase in mental health clinician staffing to
provide a structured treatment program that includes individual and group
therapy to meet the clinical needs of the inmate population. Treatment must
be provided pursuant to individualized treatment plans, as required by Title 15
of the California Code of Regulations (Section 1210). The DRC Experts found
the jail's treatment plans to be consistently inadequate. This was consistent
with our review of dozens of inmates' jail mental health records.
   DRC strongly encourages the County to implement an enhanced and
structured outpatient treatment program. It would have enormous benefit
with respect to the safety and well-being of inmates, jail operations, and
reentry efforts. The Intensive Outpatient Program at Sacramento County Jail
offers one useful model.40

   6. Undue and Excessive Solitary Confinement
   Our investigation uncovered significant problems regarding the use of
solitary confinement, particularly for inmates with mental health needs.
Solitary confinement is generally defined as a placement in which inmates
are held in their cells, alone or with a cellmate, for 22 to 24 hours per day.41
San Diego County Jail inmates may be held in these conditions, for example,
in maximum security units, Administrative Segregation units, “Keep Separate
All” units, EOH units, or disciplinary units.
   There is growing consensus that the isolation of prisoners with mental

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illness should be avoided due to serious psychological and physical risks of
harm.42 Solitary confinement is an extremely dangerous place for someone
with mental health needs. At least six (6) jail inmates died by suicide in
segregation units in recent years, a group that includes individuals with a
known history of mental illness and suicide attempts. Several other inmates
died in units with solitary confinement conditions.
    Jail staff report that their goal is to meet the requirements of Title 15, a
state regulation that mandates at least three (3) hours per week of exercise
time in a space designed for recreation.43 Segregated inmates are also
typically scheduled to receive 50-60 minutes per day out of their cells to
shower and use the phone. They spend the remaining 1,380-1,390 minutes of
their days inside their cell. This is an extreme level of isolation.
    We found that “lockdowns” are remarkably common in San Diego County’s
jails. During lockdowns, inmates in an entire unit or portion of a facility can be
confined to their cells. The number of inmates reporting extended periods of
cell confinement during lockdowns was astonishing. We saw multiple records
showing inmates subjected to long-term lockdown conditions.

   The Experience of Being on “Lockdown”
One inmate filed a grievance after her unit faced the tenth lockdown in two weeks.
She wrote:
       This treatment is worse than people treat…animals. You guys are
   messing with our mental state… We are on lockdown with no explanation as
   to why. We barely get to come out as is and to be completely locked away
   and ignored by officers is unnerving. Being locked in jail inside a box inside
   of another box can do things to a person’s mental state.

   We also received information regarding a problematic practice that staff
referred to as “Bypass.” Under this practice, jail staff would not document the
lockdown of individual inmates – including many with mental illness. In other
words, people outside of designated segregation units were held in solitary
confinement conditions without it being tracked anywhere in the system. The
County has indicated that this practice has been ended.
   One positive practice we learned about was a segregation placement
email alert system, which notifies mental health staff when any inmate is
placed in a segregation unit or individual cell lockdown. We urge the County
to build on this practice, which started in September 2017. There should be
a documented process for mental health staff to recommend against
segregation placements for inmates at risk of psychological harm or suicide
in such conditions, and for such a recommendation to be followed absent a
specific security risk. Jail leadership has indicated that such a process occurs
on an ad hoc basis, and that they would consider formalizing it with proper
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documentation.
    Jail leadership shared with us their perspective that the creation of the
mental health “cluster” units has helped to reduce the number of people with
mental illness in segregation units. We have not seen data to support this
statement. And we remain deeply concerned about the lack of treatment,
recreation, and other programming provided to inmates in the mental health
“cluster” units.
    We urge the County to continue to take affirmative steps to reduce the use
of solitary confinement, and to eliminate the practice for inmates with mental
illness. The County should track and analyze data on segregation placements,
lengths of stay, and outcomes for inmates – particularly those with mental
illness.
RECOMMENDATIONS
Improving Mental Health Treatment and Ending Harmful Use of Solitary
Confinement
Recommendation 8. Substantially increase mental health staffing and related
resources to ensure that individuals with mental illness in the jail receive clinically
indicated treatment.
Recommendation 9. Ensure that the inpatient Psychiatric Security Units (PSUs)
are fully and appropriately utilized, and that all patients in the PSU receive
meaningful, clinically- driven treatment.
Recommendation 10. Greatly reduce the use of “Safety Cells” for individuals
with mental health needs. Inmates placed in Safety Cells as a result of behaviors
related to mental health symptoms should not be housed there for longer than six
(6) hours. At that point, if there is no less restrictive housing appropriate, they
should be considered for placement in inpatient care (including the PSU).
Recommendation 11. Revise policies and practices for the Enhanced
Observation Housing (EOH) units to make them less harsh and inhumane, with a
greater focus on delivery of treatment designed to reduce the risk of suicide and
mental health decompensation.
Recommendation 12. Revise policies to allow individuals in EOH to have access
to social visits, increased out-of-cell time, and recreational activities, and to
possess clothes and certain personal property, based on individualized clinical
assessments of their condition and safety needs.
Recommendation 13. Implement a consolidated mental health treatment
program that offers a spectrum of levels of care. The program should include the
creation of an “intermediate” level of mental health care for individuals who need
enhanced treatment programming. The Intensive Outpatient Program at
Sacramento County Jail offers one useful model.
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Recommendation 14. Provide a written individualized treatment plan for each
person requiring mental health services at the jail, as required by Title 15, Section
1210 of the California Code of Regulations. Ensure that clinically indicated
treatment prescribed in the treatment plan is provided.
Recommendation 15. Reduce the use of solitary confinement segregation
housing, and take affirmative steps to eliminate solitary confinement placements
for individuals with mental illness at risk of harm in such a setting, absent
exceptional and exigent circumstances.
Recommendation 16. Track and analyze data on all segregation housing
placements and lockdowns, including lengths of stay and outcomes for inmates –
particularly those with mental illness. Take corrective action to eliminate
unnecessary segregation placements and lockdowns as part of ongoing quality
improvement efforts.
Recommendation 17. Reduce the harsh isolation conditions in segregation and
other restrictive housing units. Provide individuals in such units a minimum of four
(4) hours per day of out-of-cell time, along with access to treatment, recreation,
and other activities necessary to ensure their health and well-being.

   D. San Diego County Should Establish Meaningful Independent
      Oversight of Jail Conditions and Treatment of Inmates.
   The time has come for San Diego County to create a meaningful,
professional, and independent oversight entity to monitor and report on jail
conditions, including as to mental health care and suicide prevention.
   Even as San Diego County has begun to tackle the challenges of reducing
the number of suicides in its jails and addressing the mental health treatment
of people in the community and those who end up in jail, such efforts are
unlikely to lead to a durable solution on their own.
   The need for stronger independent oversight is clear.
   First, the sheer number of people dying in San Diego jails demands
better oversight. The County’s recent track record includes an extraordinarily
high number of deaths – more than 30 inmate suicides since 2010, and many
other inmate deaths. Several inmate deaths (suicide and non-suicide) have
led to lawsuits costing the County millions of dollars. The situation has led to a
lack of trust in the jail system across the community.44
   Second, even with the efforts by Dr. Joshua and others in the Sheriff’s
Department, there remain significant challenges regarding jail suicide
prevention and mental health care. Among those challenges, the DRC
Experts found that the County’s internal suicide review process is undeveloped.
Independent oversight can play an important and complementary role in
strengthening internal review efforts, identifying the Department’s need for

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additional resources, and helping the County achieve and solidify progress.
    Third, the County’s Citizens’ Law Enforcement Review Board (CLERB) does
not provide adequate or effective oversight. The County’s citizenry has long
recognized the value of independent oversight of the jail system. The public
voted to establish the Citizens’ Law Enforcement Review Board (CLERB) in 1990
to independently investigate citizen complaints against Sheriff’s deputies and
probation officers, as well as deaths of jail inmates.45
    But the CLERB has proven ineffective. The CLERB is sparsely staffed, with
just three employees: an executive officer, an investigator, and an
administrative assistant.46 The CLERB is composed of eleven volunteers, who
are not required to have previous special training or experience in
investigations or other relevant topics.47 The CLERB does not control its
budget. It cannot hire additional investigative staff itself, even if needed to
complete its work.
    The CLERB has failed to keep up with the demands of its mission. Despite
its authority to “annually inspect county adult detention facilities and annually
file a report of such visitations together with pertinent recommendations” on
issues that include “detention, care, custody, training, and treatment” of
inmates,48 the CLERB has never inspected the County’s jail facilities in its more
than 25 years.
    The CLERB has also proven unable to complete its individual case
investigations. At the beginning of 2011, the CLERB had six open death
investigations.49 That number grew to 19 by the end of 2014,50 then to 35 in
December 2015,51 and to 46 by the end of 2016.52 By October 2017, the CLERB
had 59 open death investigations – including one dating back six years. Many
of these long-delayed and unfinished death investigations are inmate suicides.
    Given its tremendous backlog, the CLERB announced on November 11,
2017, that it was summarily dismissing eight (8) suicide death cases and
fourteen (14) other cases of people dying in detention or while being taken
into custody. The CLERB’s stated reason for this action was that the
investigation was not completed within the statutory one-year time limitation
for imposing officer discipline for misconduct. 53 The CLERB asserted that this
meant it lacked jurisdiction and could not complete its investigation.54 (Oddly,
the County’s own web site for CLERB states that “death cases and other
complex investigations often take more than one year to complete.”55)
    In any event, CLERB’s failure to complete its investigations means that these
deaths will not face independent scrutiny.
    The community response has been one of severe disapproval. One local
editorial board called the CLERB’s decision to summarily dismiss these cases
“outrageous” and “insulting to victims’ family members,” noting that it “only
reduces the likelihood of improved responses and practices” in the future.56
    Even with the reported addition of a newly funded CLERB Investigator
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position as of March 2018, it is DRC’s assessment that the CLERB will not be
able to adequately fulfill its mission as the County Jail system’s sole oversight
entity.

       Benefits of Effective Independent Oversight:
  • Public identification of problems with conditions and operations and timely
    solutions, resulting in jail facilities that are safer, operated in conformance
    with the Constitution, other laws, and up-to-date correctional practices.
  • Early detection of issues that may have been overlooked inside jail
    facilities before they become major problems.
  • Cost-effective and proactive means to avert lawsuits challenging the
    legality of conditions of confinement or the treatment of prisoners.
  • Independent input on the need for funds requested by Sheriff’s
    Department and other public officials.
  • Better-informed policy decisions.57
   California counties like Los Angeles, Santa Clara, and Sonoma, the
California State prison system, the City and County of Denver, and King
County (Washington State) have implemented or are implementing a
professional entity that provides independent oversight of jail operations.
The Los Angeles County Office of Inspector General, created in 2014,
provides an especially useful model.58 Santa Clara County recently approved
the creation of a county Office of Correction and Law Enforcement
Monitoring, along with an accompanying community advisory committee,59
based on expert recommendations.60
   A professional, independent oversight entity would offer a critical benefit
that CLERB has not – a proactive method to evaluate and improve systemwide
practices in the County’s jails, going beyond a mere after-the-fact investigation
of individual deaths.
   It may be that the CLERB can play some positive and important role in
monitoring the San Diego County Jail system moving forward. It can enhance
the work of a professional oversight entity, similar to other systems like
Denver’s, which provides for complementary roles by the Office of the
Independent Monitor and a Citizen Oversight Board. But on its own, the
CLERB cannot provide adequate oversight that ensures effectiveness,
transparency, and accountability in the operation of San Diego County’s jails,
or pave the way for necessary systemic improvements.
   Meaningful, professional, and independent oversight would enhance the
County’s efforts to address its historical weaknesses and challenges in its jails,
help to achieve and solidify improvements, and strengthen the trust of the
community through greater transparency. This, more than anything, may be
the key to achieving a system that meets legal and constitutional standards,
and that properly cares for people with mental health needs.
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RECOMMENDATION
Meaningful, Independent Oversight of Jail System
   Recommendation 18. The County should establish a professional
independent oversight entity that has the authority and duty to monitor the
treatment of inmates with mental health needs, suicide prevention, and other
aspects of jail operations affecting inmates with disabilities, with periodic
reporting to the Board of Supervisors and regular outreach to the public.

V. SUMMARY OF RECOMMENDATIONS
 1. End Over-Incarceration of People with Mental Illness,
    Strengthen Community-Based Mental Health Services
   Recommendation 1. Fully implement the County’s three-year Mental Health
Services Act (MHSA) Plan, with adequate transparency as to spending and
program outcomes.
   Recommendation 2. Focus investment on community-based services
and treatment programming that help individuals with mental health needs to
thrive and to avoid incarceration and entanglement with the criminal justice
system.
   Recommendation 3. Develop capacity for community-based competency
restoration programs for individuals found Incompetent to Stand Trial (IST),
so that they can receive treatment in the least restrictive setting appropriate
and do not languish unnecessarily in jail.
   Recommendation 4. Strengthen reentry programming for individuals with
disabilities to ensure continuity of care, including with respect to medication
and other treatment, and access to job opportunities,
   housing, food, and other basic needs for successful reintegration into the
community.
   Recommendation 5. Ensure that the County’s mental health programs
are subject to rigorous data collection and self-critical analysis of progress
and where additional resources may be needed.
  2. Improve Suicide Prevention Practices
  Recommendation 6. Develop a plan for timely implementation of the
DRC Experts’ forty-six (46) Recommendations to address deficiencies in
San Diego County Jail’s suicide prevention policies, practices, and training.
  Recommendation 7. Strengthen the County’s internal review process and
quality improvement program to ensure implementation of necessary
changes to enhance suicide prevention and inmate safety.
  3. Improve Mental Health Treatment, End the Harmful Use of
     Solitary Confinement
   Recommendation 8. Substantially increase mental health staffing and

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related resources to ensure that individuals with mental illness in the jail
receive clinically indicated treatment.
   Recommendation 9. Ensure that the inpatient Psychiatric Security Units
(PSUs) are fully and appropriately utilized, and that all patients in the PSU
receive meaningful, clinically-driven treatment.
   Recommendation 10. Greatly reduce the use of “Safety Cells” for
individuals with mental health needs. Inmates placed in Safety Cells as a
result of behaviors related to mental health symptoms should not be housed
there for longer than six (6) hours. At that point, if there is no less restrictive
housing appropriate, they should be considered for placement in inpatient
care (including the PSU).
   Recommendation 11. Revise policies and practices for the Enhanced
Observation Housing (EOH) units to make them less harsh and inhumane, with
a greater focus on delivery of treatment designed to reduce the risk of suicide
and mental health decompensation.
   Recommendation 12. Revise policies to allow individuals in EOH to have
access to social visits, increased out-of-cell time, and recreational activities,
and to possess clothes and certain personal property, based on individualized
clinical assessments of their condition and safety needs.
   Recommendation 13. Implement a consolidated mental health treatment
program that offers a spectrum of levels of care. The program should include
the creation of an “intermediate” level of mental health care for individuals
who need enhanced treatment programming. The Intensive Outpatient
Program at Sacramento County Jail offers one useful model.
   Recommendation 14. Provide a written individualized treatment plan for
each person requiring mental health services at the jail, as required by Title
15, Section 1210 of the California Code of Regulations. Ensure that clinically
indicated treatment prescribed in the treatment plan is provided.
   Recommendation 15. Reduce the use of solitary confinement segregation
housing, and take affirmative steps to eliminate solitary confinement
placements for individuals with mental illness at risk of harm in such a
setting, absent exceptional and exigent circumstances.
   Recommendation 16. Track and analyze data on all segregation housing
placements and lockdowns, including lengths of stay and outcomes for
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   Recommendation 17. Reduce the harsh isolation conditions in
segregation and other restrictive housing units. Provide individuals in such
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access to treatment, recreation, and other activities necessary to ensure
their health and well-being.
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4. Ensure Meaningful Independent Oversight of Jail System
     Recommendation 18. The County should establish a professional
  independent oversight entity that has the authority and duty to monitor the
  treatment of inmates with mental health needs, suicide prevention, and other
  aspects of jail operations affecting inmates with disabilities, with periodic
  reporting to the Board of Supervisors and regular outreach to the public.




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                                Appendix A




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DRC EXPERTS’ FINDINGS AND RECOMMENDATIONS REGARDING
SUICIDES IN SAN DIEGO COUNTY JAIL FACILITIES, MENTAL HEALTH
AND SUICIDE PREVENTION POLICIES AND PROGRAMS
                              Karen Higgins, M.D.
                        Robert D. Canning, Ph.D., CCHP

                               I. INTRODUCTION
   Suicide among persons held in correctional facilities is a significant public
health problem which is complicated by the legal constraints placed upon
correctional systems nationally. Although significant progress has been made
in the last forty years, suicide remains the number one cause of death in
American jails. Improvements in jail mental health service delivery systems
continue to be needed to further decrease the rate of jail suicide deaths. In
addition, changes in the conditions of confinement for inmates with mental
health disabilities and needs, improved staff training, and facilities
improvements can also contribute to reducing the suicide rate in jails.
   DRC engaged us to review suicide deaths in the San Diego County Jail
system from December 2014 through 2016, and to evaluate the adequacy of
mental health services, emergency responses, and the system’s overall
suicide prevention program. Our review found that disjointed policies
addressing suicidal inmates, lapses in continuity of mental health care, poor
emergency response, inconsistent monitoring, and some physical plant
issues contributed to the suicide deaths we reviewed.
   Spurred by the high number of suicide deaths and the scrutiny they
brought, the San Diego County Sheriff’s Department (“Department”) has
made significant efforts to revamp its mental health policies and practices to
allow consistency in treatment and better coordination between custodial
and medical/mental health staff. These efforts should continue and be
strengthened, to address the historically high number of inmates who make
serious suicide attempts in the County’s jails.

                               II. BACKGROUND
    The San Diego County Jail system has seven facilities. From 2010 to the
end of 2016, the average daily population of the jail system rose from 4,646
inmates to 5,362, an increase of 15 percent. The County’s Grand Jury found
that the jail system has had 46 inmate suicide deaths in the 12 years ending
in 2016, with almost 50 percent occurring from 2013 through 2016. The
recent spike in inmate suicide deaths has brought increased scrutiny to the
jail system’s procedures and particularly its mental health system. It is
important to understand why rates have increased so dramatically over this

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period and to take proactive steps to prevent future suicides.
   Taking a broad view, after the California legislature enacted Criminal
Justice Realignment (AB109) in 2011, the state transferred jurisdiction for
many inmates from state prisons to county jails. San Diego has seen a
relatively small net increase in average daily population in its jail facilities:
from 5,087 inmates in 2012, the first full year after AB109 took effect, to
5,362 inmates in 2016.
   Jail suicide deaths typically occur soon after an individual’s entry into the jail
system. San Diego County Jail’s experience appears to be no exception. Of
the 17 suicides occurring in the San Diego Jail system from the beginning of
2014 through the end of 2016, 11 occurred within six days of the inmate’s
entry.
   All suicide deaths since 2014 were of male inmates and occurred in three
facilities: Central Jail (seven), Vista Detention Facility (six), and George Bailey
Detention Facility (four). One inmate died by suffocation, three jumped from a
second tier and died from massive head injuries, and the remaining 13 died
of asphyxiation by ligature hanging. Eight of the inmates were housed in
dormitories or multiple-person cells, and eight were housed in single cells.
   One inmate died in a holding cell.
   Four inmates who died by suicide were housed in segregated housing
(including one who was housed as psychiatric “overflow” in a segregated
housing unit).
   We understand that, as of this writing, there was one confirmed suicide
death in San Diego County Jail facilities in 2017. This is a decrease from
recent years, which is a positive development. Nevertheless, it is important
for the system to engage in a meaningful analysis of its policies, to learn
from the suicides that have occurred in recent years, and to continue to take
proactive steps where necessary.

                     III.   QUALIFICATION OF EXPERTS
Karen Higgins, M.D.
   Dr. Higgins is a board-certified, General and Forensic psychiatrist who has
been involved with correctional care services since 2001. From 2001 to
2004, she served as the lead psychiatrist for the Denver City and County jail
systems. Within that time, she was a key participant in their mental health
system, including suicide prevention. In addition, for more than six years, Dr.
Higgins served as both the Statewide Senior Supervising Psychiatrist, and
then the Statewide Chief Psychiatrist for the California Department of
Corrections and Rehabilitation (CDCR). During this time, Dr. Higgins

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oversaw for program development at 33 prisons serving 150,000 inmates;
acted as the subject matter expert for the Department on psychiatric and
mental health related issues; played a key role in the development of
Departmental policies and procedures related to mental health care and
suicide prevention; was a member of the Departmental suicide prevention
committee, which involved review of many psychological autopsies of inmate
suicide deaths; worked with the California Attorney General on legal matters
related to inmate care; and supported numerous Departmental quality of care
improvement initiatives.
Robert D. Canning, Ph.D., CCHP
  Dr. Canning has been involved in correctional suicide prevention work for
more than 12 years. From 2005 to 2015, he was the suicide prevention
coordinator for the CDCR. He was the Department’s subject matter expert on
correctional suicide prevention and in this role contributed to the
Department’s ongoing mental health litigation. He chaired the statewide
suicide prevention committee, designed trainings for clinicians, wrote and
oversaw the implementation of many policies and procedures about suicide
prevention, and conducted quality improvement programs to improve
screening of inmates. He redesigned the Department’s suicide risk
assessment documentation and designed and implemented a self-harm
surveillance system that has received national attention. As part of his work for
CDCR, Dr. Canning has conducted over 35 psychological autopsies of
inmate suicide deaths.
   Dr. Canning has made presentations on suicide prevention in correctional
settings at national meetings of the National Commission on Correctional
Health Care (NCCHC) and the American Association of Suicidology (AAS). He
recently co-authored a chapter on suicide prevention in correctional settings for
the Oxford Handbook of Prisons and Imprisonment. He is an active member of
the AAS and is one of five instructors of its two-day course on suicide risk
assessment and management, entitled Recognizing and Responding to
Suicide Risk (RRSR). Dr. Canning has taught the RRSR course to over 1,000
clinicians in both the U.S. and Canada. Finally, he has acted as a forensic
expert on jail suicide to Los Angeles County.
  Dr. Canning received his doctorate in Clinical Psychology in 1993 and
completed a National Institute of Mental Health fellowship in psychiatric
epidemiology in 1995. He has been licensed to practice in California since
1997 and prior to joining the CDCR worked for the Veterans Administration
Northern California Health Care System and the U.C. Davis Medical Center.

         IV.   EXPERTS’ ASSIGNMENT AND SCOPE OF REVIEW

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   DRC engaged us to review and analyze (1) individual suicide cases at the
San Diego County Jail, with a focus on suicide deaths since December 2014,
and (2) the jail’s policies and procedures related to mental health care and
suicide prevention. Our task was to prepare a report identifying systemic
deficiencies in the provision of mental health care and suicide prevention, with
recommendations for improvements.
   We reviewed medical, mental health, and custodial records of all San Diego
County Jail inmates who died by suicide since December 2014. Video of
inmate housing units was viewed to observe the circumstances of the suicides,
including emergency response and custodial welfare checks. Coroner
reports, homicide investigation reports, and other documents (such as court
proceedings and police reports for each inmate) were also reviewed. The
suicide deaths served as an important starting point for our findings and
recommendations throughout the report.
    In addition to the records of the inmates who died by suicide during the
review period, we reviewed policies and procedures of the Medical Services
Division (MSD) and the Detention Services Bureau (DSB). Through DRC, we
requested from the Sheriff’s Department updated policies and procedures
regarding mental health care and suicide prevention, and we have reviewed
all materials that were provided. “Green sheets” (facility-specific procedures)
were reviewed, as were a variety of training documents pertaining to
suicide prevention. We have also reviewed relevant media reports, San
Diego County Grand Jury reports (and the County’s response), and Citizens’
Law Enforcement Review Board (CLERB) reports.
   On September 29, 2017, we participated in a two-hour conference call
with custodial, mental health and medical staff from San Diego County (and its
contractor Liberty Health), legal counsel for the County, and DRC, to discuss
aspects of mental health care and suicide prevention in the jails and to clarify
particular policies and practices. We did not conduct a site visit as part of this
review.
   All of the suicide deaths reviewed were of male inmates. Although the
context of many findings and recommendations applies to issues identified in
the male facilities, they should be applied equally to the treatment of female
inmates in the San Diego County Jail system.

                           V. EXPERTS’ ANALYSIS
   Our findings and recommendations are based on materials received as of
November 2017. Policy changes occurring after that date will not be reflected
in our report.
   Our analysis is divided into nine requisite components of a successful
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    comprehensive correctional suicide prevention program, 1 and contains
    findings and recommendations to improve the Department’s suicide
    prevention and mental health treatment delivery efforts. The components
    covered by this review are:
          1. Screening for Suicide Risk and Related Mental Health Needs
          2. Clinical Assessment and Interventions
          3. Communication
          4. Restrictive Housing and Monitoring of Inmates
          5. Levels of Supervision of At-Risk Inmates
          6. Emergency Response
          7. Staff Training
          8. Review of Suicide Deaths and Serious Suicide Attempts
          9. Quality Improvement
       Below, we provide our analysis. For each review component, we identify
    Key Deficiencies that were apparent through our review of suicides and
    relevant policies. We then provide specific Findings and Recommendations
    for systemic improvements addressing Key Deficiency areas.2 In addition, we
    have completed two detailed individual reviews of recent suicides at the San
    Diego County Jail, to be provided directly to the County. These individual
    reviews may serve as models for the County’s own quality improvement
    efforts moving forward.




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    1.   SCREENING FOR SUICIDE RISK AND RELATED MENTAL HEALTH NEEDS
      Screening for suicide risk and related mental health needs is an important
    part of any suicide prevention program. In jails, thorough screening upon
    entry (“booking”) is extremely important. Research shows that almost one-
    quarter of jail suicides occur in the first 24 hours of incarceration and an
    additional quarter within 14 days.3 Of the 12 suicide deaths that occurred at
    San Diego County Jail from December 2014 through 2016, eight (67%)
    occurred within 10 ten days of booking.
       In addition to screening at the time of booking, screening should be
    administered for all inmates at important transition moments throughout their
    confinement. Screening should be administered by medical or mental health
    staff. (Trained custody staff can effectively administer appropriate initial
    booking screening with standard scoring that provide clear guidance for
    referral and further assessment.)
       For many inmates, the initial period of incarceration is a period of
    extremely high risk. As time passes in jail, the risk of suicidal behavior tends
    to decrease but may rise quickly and suddenly due to transitions that
    inmates encounter – court dates, visits, receipt of bad news, transfers to
    other housing units or facilities, and placement in segregated settings. Thus,
    screening should occur at significant transition moments, the results of which
    should be available to clinical staff to track changes over time. A process for
    recurrent screening based on individual circumstances and events is
    important because research suggests that many individuals who die by
    suicide communicate their intent in the period before their deaths.4 That is to
    say, warning signs of suicide risk and related psychiatric distress are often
    identifiable with effective screening.
       Screening should be systematic and use standardized questionnaires.
    They should be short, valid, and target psychological symptoms and risk
    factors most appropriate for the correctional settings in which they are used.5
    Staff should be trained to ask questions clearly and uniformly, and forms
    should be available in English, Spanish, and other languages. Staff should
    not rely only on verbal responses, but should be trained to document
    contextual factors such as behavior and appearance, the inmate’s attention
    to the questions, information from arresting officers, family members, friends,
3
       Hayes, Lindsay M. (2010). National study of jail suicide: 20 years later. Journal of
Correctional Health Care, 18, 233-245. “Return to Main Document”
4
       Ibid. “Return to Main Document”
5
       Maloney, M.P., Dvoskin, J., and Metzner, J.L. (2015). Mental health screening and
brief assessments. In R.L. Trestman, K.L. Appelbaum, and J.L. Metzner (Eds.) Oxford
Textbook of Correctional Psychiatry. New York: Oxford University Press. “Return to Main
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  or other individuals associated with the inmate, and other factors that provide
  important information about suicide risk. Finally, documentation of adequate
  screening is also legal documentation for the protection of both the facility
  and staff.
KEY DEFICIENCIES: SCREENING
   1. The initial booking screening questions are poorly worded, are not designed in
      a way that effectively elicits important information, and lack important
      elements, such as inquiry regarding history of psychiatric hospitalization.
    2. The system has lacked an adequate policy or procedure for conducting a
       suicide risk/ mental health screening for individuals at transition events that
       carry elevated risk, such as when they are placed in segregation or moved to a
       new facility.
    3. The system has lacked an adequate procedure for screening inmates
       returning from court (where they may have received bad news), moving to
       prison, or being extradited. These are events that may elevate an inmate’s
       risk of suicide.
FINDINGS AND RECOMMENDATIONS: SCREENING
    FINDING 1.1. Of the twelve (12) San Diego County Jail inmates who died
  by suicide from December 2014 through 2016, we identified a number of
  problems with the initial suicide risk screening and referral process. For
  example, one had a 24-hour delay before his initial screening. Of the six
  inmates who screened positive for mental health problems during their initial
  screening, one had no referral for further evaluation.
    Six inmates denied any mental health problems during their initial
  screening. Among this group, one inmate had indicators that would have
  warranted a mental health referral, yet we found no record of a referral being
  made.
     One particularly troubling case stood out. The inmate had a diagnosis of
  bipolar disorder and was screened, but even though he demonstrated signs
  and symptoms of florid psychosis and mania, he was not referred for
  evaluation and admission to the Psychiatric Security Unit. He was placed in a
  Safety Cell, was later released to general population, and died on Day Six of
  his confinement while still floridly psychotic and manic, despite a request to
  custodial staff earlier in the day for safety cell placement. Jail staff did not
  complete a separate assessment of suicide risk despite this inmate’s
  extreme mental state and need for evaluation and treatment. Individuals
  suffering from bipolar disorder have some of the highest rates of suicide
  compared to other mental disorders. The inmate’s documented mental health
  history and his symptomology at the jail were such that he should have
  received urgent psychiatric attention and been referred for inpatient care.
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    RECOMMENDATION: The Department should adopt a standardized screening
    measure such as the Brief Jail Mental Health Screen6 and augment it with a suicide
    risk screening measure such as the Columbia-Suicide Severity Rating Scale7 or a
    series of suicide-specific questions (current suicidality, past attempts, etc.).

    RECOMMENDATION: Suicide prevention policies and procedures should contain
    a specific section devoted to screening – including guidance on measures,
    locations, and times. The section should explain when and who administers
    screening in the range of potential situations. This section will guide staff actions
    and decrease the number of “false negative” screenings, which are the ones most
    costly to a system.8 The policies should include a checklist with criteria that guides
    staff when to refer for evaluation by the jail’s designated “Gatekeeper” (generally, a
    Registered Nurse or mental health clinician) and guides Gatekeepers on when to
    refer for further evaluation by the mental health program.

    FINDING 1.2. We identified four suicide deaths for which the inmates screened
    positive for drug and/or alcohol withdrawal but were not targeted for a more
    comprehensive suicide risk assessment. There is evidence showing that such
    inmates are at increased risk of suicide and self-harm. These individuals should
    have been further assessed.9
    RECOMMENDATION: New arrivals withdrawing from alcohol and/or drugs should be
    specifically assessed for psychiatric disorders and suicide risk. While the Jail’s policy
    (MSD.S.10) lists “Intoxication/Withdrawal Symptoms” as among “Other Risk Factors
    That Could Cause Circumstantial Concerns,” review of the jail’s recent suicide deaths
    indicate the need for revision of this policy to ensure that such symptoms trigger a
    comprehensive suicide risk assessment.
    FINDING 1.3. The San Diego County Jail system lacks an effective quality
    improvement program with respect to mental health/suicide risk screening.
    RECOMMENDATION: Because mental health and suicide risk screening is a
    component of effective quality improvement programs in health care settings,
6
      The screener can be obtained from: https://www.prainc.com/?product=brief-jail-
mental-health-screen. “Return to Main Document”
7
      The C-SSRS can be obtained from http://cssrs.columbia.edu/the-columbia-scale-c-
ssrs/cssrs-for-communities-and-healthcare/#filter=.general-use.english. “Return to Main
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8
      In general, screening measures should err on the side of false positives since it is less
costly to complete an extra evaluation than deal with the aftermath of a preventable suicide
death. Canning, R.D. & Dvoskin, J.A. (2017). Preventing Suicide in Detention and
Correctional Facilities. In J. Wooldredge and P. Smith (Eds.) The Oxford Handbook of
Prisons and Imprisonment. New York City: Oxford University Press. “Return to Main
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9
      Rivlin, A., Ferris, R., Marzano, L., Fazel, S., and Hawton, K. (2013). A typology of
male prisoners making near- lethal suicide attempts. Crisis, 13, 335-347. “Return to Main
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     procedures should be developed to track both when screening occurs and the results
     of the screening. Rates of screening and referrals should be a key indicator in the
     Department’s quality improvement program.
     2.    CLINICAL ASSESSMENT AND INTERVENTION
         Treatment planning and management of prisoners potentially at risk of suicide
     relies on effective clinical assessment. Effective clinical assessment of suicide risk
     requires clinicians to 1) gather data on risk and protective factors and warning
     signs; 2) perform a suicide inquiry in which they ascertain the extent of planning,
     intent, and the quality and character of suicidal ideation, if present; 3) come to a
     judgment of risk with a rationale for this level; and 4) develop a treatment plan for
     management of the suicidal patient. Each assessment (especially those conducted
     in response to a crisis evaluation) should include a short-term “safety plan” that
     emphasizes enhancement of protective factors, reduction of acute and/ or
     modifiable risk factors (possibly housing issues or issues involving recent transfers),
     and treatment of current distress and agitation. These safety plans can be
     modeled after brief interventions used in emergency departments in the
     community10, but should be specifically tailored to correctional settings. Treatment
     planning should include specific timeframes for review and updating. Referrals for
     mental health treatment should have specific timeframes for response by mental
     health staff.
         It is important for jail staff – custodial, mental health, and medical – to monitor
     and treat identified mental health problems. This requires staff to provide clinically
     indicated treatment and to respond quickly and effectively to crises as they arise.
     Even after an inmate’s crisis subsides, there is a continued need to address mental
     health treatment needs. An inmate should be transitioned into a structured mental
     health program that addresses their level of symptoms and functioning in the
     correctional environment. In addition, if an inmate is assessed to be at elevated
     suicide risk, they should continue to be evaluated for this risk as they continue in
     confinement, with an individualized treatment plan and safety plan.
 KEY DEFICIENCIES: CLINICAL ASSESSMENT AND INTERVENTION
    1. Although inmates are often referred for further mental health and suicide risk
       evaluations after positive screening results, it is not clear from the records or
       the County’s policies and procedures what (if any) criteria have been used or
       what timeframes have been required for referrals and evaluations.
    2. The documentation of risk evaluations has been poor and inconsistent,
       hindering effective treatment and continuity of care among providers and
       between jail facilities.
    3. Mental health staff do not adequately consider previous risk evaluations and
       changes to inmates’ conditions during the course of confinement.
    4. Inmates who have required mental health treatment and remained in custody

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      Stanley, Barbara and Brown, Gregory K. (2012). Safety Planning Intervention: A Brief
Intervention to Mitigate Suicide Risk. Cognitive and Behavioral Practice 19. 256-264.
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       for significant periods do not have individualized mental health treatment
       plans in their charts or access to an adequate level of mental health care
       programming.
FINDINGS AND RECOMMENDATIONS: CLINICAL ASSESSMENT AND
INTERVENTION
FINDING 2.1. The San Diego County Jail policies do not provide adequate
guidance, including clear timelines, regarding the evaluation process for
inmates who screen positive for mental health needs or suicide risk at
booking. For example, in one case reviewed, the inmate was brought to the
jail after a serious suicide attempt. Though he was seen for further evaluation
after the initial screening, it was unclear who performed the evaluation or
what the rationale for it was.
RECOMMENDATION: Policies and procedures should provide specific timelines for
referral and completion of evaluations after referral. For instance, the policy should
establish timelines for response to referrals – standard guidelines, for example, may
be for evaluations that are “emergent” to be completed within four hours, “urgent”
within 24 hours, and “routine” referrals within five business days. Data about these
referral timelines and completion rates should be reviewed regularly to gauge access
to care as part of a quality improvement program.
FINDING 2.2. The quality of suicide risk evaluations varied among the
records reviewed. Although the policies provide criteria for categorizing an
inmate as “High” risk for suicidal behavior, we found that risk factors were not
adequately documented, even as several inmates had a clear history of
suicidal behavior and/or a known psychiatric history.
RECOMMENDATION: To improve the quality of suicide risk evaluations, the
Department should create a standardized suicide risk evaluation form or template in
the electronic record. This would facilitate improved documentation by mental health
clinicians with respect to their risk assessments. This form or template should include
the following sections:
          1. The reason for evaluation along with time, date, and location
          2. Sources of information
          3. Discrete sections for Warning Signs such as the AAS’ IS PATH WARM, and acute
             and chronic (or static) risk factors
          4. Protective factors
          5. Questions about planning or a desire for death
          6. A mental status exam
          7. Judgment of risk and a rationale for the judgment
          8. A safety plan that addresses modifiable risk factors and warning signs.


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FINDING 2.3. Mental health staff do not clearly or adequately document
inmates’ suicide risk levels. In some cases, the assigned suicide risk levels
were problematic. For example, one inmate was incorrectly rated as “Low”
risk just two days after a serious suicide attempt. In addition, the jail system’s
two-level stratification of risk (“High” or “Low” risk) is inconsistent with
common practice. Many healthcare systems (e.g., California Department of
Corrections and Rehabilitation, United States Department of Defense, U.S.
Department of Veterans Affairs) use at least a three-level stratification – such
as Low, Medium, High – or four-part – such as Low, Medium, High, Extreme.
RECOMMENDATION: Because a judgment of risk drives treatment decisions (i.e.
what to do), the County should utilize a three-level rating system that more
realistically describes the continuum of risk and will allow clinicians to devise
treatments that better fit the needs of the patient. The addition of a “Medium” risk
level will alert other staff that a patient’s risk for suicidal behavior is significant and
requires more attention and alertness.
FINDING 2.4. We could identify no standardized procedure for placing,
monitoring, and releasing inmates from various levels of suicide monitoring.
For instance, one inmate who died by suicide had four Safety Cell
placements based on suicide risk over a period of four months. Each time, he
was released without adequate documentation of the clinician’s judgment of
risk and the rationale for the decision. The situation for another inmate’s two
Safety Cell placements prior to his suicide was similar.
RECOMMENDATION: The Department should ensure adequate and consistent
documentation of suicide risk assessments when adjusting an inmate’s level of
observation.
FINDING 2.5. The San Diego County Jail’s policies for addressing inmate
medication refusals are vague and inadequate. In at least one reviewed
case, the inmate’s refusal of psychiatric medication was not addressed in a
timely fashion.
RECOMMENDATION: The Department should implement procedures, with specific
timelines, for when an inmate refuses prescribed psychiatric medications.
FINDING 2.6. We identified deficiencies with the process and setting of
clinical contacts for prisoners at risk of suicide. Although a number of inmates
we reviewed were seen by mental health staff, it was unclear if there was a
standard interval between mental health visits, or if they were done on an ad
hoc basis, or if they were simply up to the individual clinician’s discretion. A
substantial number of mental health clinical visits appear to have been
conducted inside the housing units, including at cell-front. This setting does
not provide adequate auditory and visual privacy and confidentiality
necessary for meaningful clinical interactions.
RECOMMENDATION: The Department should establish standard intervals for
mental health visits, which can be made more frequent pursuant to individual clinical

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need.
RECOMMENDATION: Because interviewing inmates at cell-front decreases the
chance for a frank and open conversation with a patient, the Department should
provide confidential treatment space for inmates being followed by mental health.
FINDING 2.7. We have significant concern about the lack of required follow-
up for prisoners identified as at risk of suicide after they are discharged from
the San Diego County Jail’s Inmate Safety Program (ISP), including from the
Psychiatric Security Unit, Safety Cells, and Enhanced Observation Housing
(EOH). The use of specific risk factors to determine follow-up processes for
such inmates is questionable in our estimation. Although we understand the
rationale, we believe that the program runs the risk of false negatives, which
are much costlier than false positives when it comes to suicide attempts and
deaths. Prisoners who have required placement in the Inmate Safety
Program based on an identified risk of self-harm should, as a rule, be
provided clinical follow-up and, as appropriate, clinically indicated treatment
interventions.
RECOMMENDATION: The ISP Follow Up Protocol should provide that all inmates
released from EOH should be seen by a mental health clinician within 24 hours of
release and have their safety plan reviewed and updated if necessary.
RECOMMENDATION: Decisions regarding clinical follow-up after release from the
Inmate Safety Program (including EOH) should not be left to a “clinician’s discretion.”
We believe a best practice is to have a specific follow-up schedule that all clinicians
follow, e.g. daily clinical “check-ins” for five days after a housing change, followed by
weekly check-ins for two weeks.
RECOMMENDATION: Inmates who are being followed by the mental health program
after release from the Inmate Safety Program (including EOH) should have specific
timeframes for clinical contacts outside the specific follow-up procedure. This would
allow for a more in-depth interview to cover treatment plans and medication
compliance, for instance.
FINDING 2.8. Four inmates who died by suicide suffered differing levels of
drug/alcohol withdrawal symptoms, but only two inmates were housed in
Medical Observation Beds (MOB). The policy on MOB placement for patients
“experiencing severe symptoms” of drug withdrawal does not mention
concurrent treatment by psychiatry except in passing. The section notes that
these inmates “should be considered a high risk for suicide” but notes only
that nurses will round “once a shift” on the MOB. That is, there is a significant
gap in the provision of mental health treatment and suicide prevention
monitoring for prisoners at risk who are also experiencing withdrawal
symptoms.
RECOMMENDATION: We recommend a higher level of observation, including
clinically indicated mental health treatment, for inmates experiencing both mental
health problems and withdrawal symptoms.

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FINDING 2.9. The Inmate Safety Program policies lack sufficient direction
regarding the timeframes for assessment and release from the Enhanced
Observation Housing (EOH) units. It is essential that inmates placed in EOH
be reviewed and transferred to less restrictive settings at the earliest time
appropriate based on their condition.
RECOMMENDATION: Policies should give specific direction to staff about the
criteria for placing and assessing inmates in EOH units. For instance, we believe this
type of housing is appropriate for inmates voicing suicidal thoughts and deemed at
medium or high risk of acting on these thoughts in the very short-term (minutes to
hours). We recommend that the schedule for re-assessment of inmates in EOH
should not be categorical, but based on evaluations conducted by mental health
professionals at regular intervals. While we commend the Jail for recently modifying
its policy to ensure that all EOH prisoners are re-assessed for suicide risk, at a
minimum, at least once in each 24-hour period, when clinical presentation dictates
closer monitoring, clinicians must make a judgment of current risk including any
changes since the last assessment. Decisions to transfer an EOH inmate to either
general population or a mental health housing unit must take into account past
behavior, current symptoms, and the context of confinement (charges, court date,
pending transfer, etc.), and must include a written safety plan.
RECOMMENDATION: Stays in the EOH should not exceed 48 hours. If the inmate is
not stabilized within that time period, they should be evaluated for referral to inpatient
psychiatric treatment (i.e., the Psychiatric Security Unit). However, if the placement in
EOH housing extends beyond 48 hours, the withholding of out-of-cell time, personal
property, social visits, and clothing should be based on individualized clinical
assessment and safety concerns.
FINDING 2.10. Inmates who have required mental health treatment and
remained in custody for significant periods did not have documented,
individualized mental health treatment plans in their charts or access to an
adequate level of mental health care programming.
The Department is making efforts to improve how inmates are evaluated and
at elevated risk for suicide are monitored, but overall the mental health
program remains fragmented and without good continuity of care, which can
lead to poor outcomes. For instance, as noted above, it was unclear to us
why some inmates would be placed in Safety Cells and some in EOH.
Further, based on our experience with suicidal inmates in correctional
settings, we did not understand why inmates deemed at high risk of suicide
were not more often evaluated for placement in the Jail’s inpatient level of
care unit.
RECOMMENDATION: The Department should take steps towards development of a
consolidated mental health treatment environment which combines the Safety Cell
program, Enhanced Observation Housing, and an enhanced outpatient mental health
program.
Many systems have adopted a “level of care” system to provide mental health
services and to clarify hand-offs and treatment programs. The Department appears
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     to have created categories of mental health needs, but without formalizing a system
     in policy and procedure that provides for an appropriate spectrum of levels of care.
     The PSU is the highest level of care. There are mental health “cluster” units, as on
     the sixth floor at the Central Jail, but without formal treatment programming. There is
     also the Detention Outpatient Psychiatric Services (DOPS), which appears to include
     the lion’s share of inmates requiring some level of ongoing mental health attention.
     It would be useful and important to create an “intermediate” level of care, located in
     enough San Diego County Jail facilities to ensure timely access for those with mental
     health needs that warrant enhanced treatment programming. The program would
     serve as a “step-down” for people with recent Safety Cell, EOH, or PSU admissions,
     as well as for people with a serious mental illness that makes it difficult for them to
     function in a general population jail setting. The program would have sufficient
     mental health staffing to provide a structured treatment program that includes
     individual and group therapy, guided by individualized treatment plans (as required
     by Title 15, Sec. 1210 of the California Code of Regulations) that identify mental
     health problems, treatment goals, and a plan to accomplish those goals.
      3.    COMMUNICATION
         Communication between and among correctional staff and other professionals
      working in the jail environment is an important aspect of suicide prevention.
      Suicide prevention expert Lindsay Hayes lists three categories of communication:
      (1) getting information about the inmate’s behavior at the time of arrest and
      transport; (2) communication between correctional staff and clinical staff about
      changes in an inmate’s status and condition; and communication between all staff
      and inmates who may be suicidal. Poor communication practices can result in poor
      outcomes. Hayes recommends a multidisciplinary approach to working with suicidal
      individuals that notes:
        Poor communication between and among correctional, medical, and mental
        health personnel, as outside entities…is a common factor found in the reviews
        of many custodial suicides. Communication problems are often caused by lack
        of respect, personality conflicts, and boundary issues. Simply stated, facilities
        that maintain a multidisciplinary approach avoid preventable suicides. 11
 KEY DEFICIENCIES: COMMUNICATION
     1. The San Diego County Jail system has lacked an effective way for custodial
        staff and mental health staff to communicate about important changes in
        an inmate’s status (e.g. results of court proceedings, “bad news,”
        impending transfers, etc.).
        2. The lack of standardization in clinical documentation has hampered
           effective communication between treating clinicians and other health

11
       Hayes, L. (2017). Guide to Developing and Revising Suicide Prevention Protocols
within Jails and Prisons. National Commission on Correctional Health Care,
http://www.ncchc.org/other-resources. Accessed October 21, 2017. “Return to Main
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       care staff.

FINDINGS AND RECOMMENDATIONS: COMMUNICATION
FINDING 3.1. Several inmates who died by suicide in jail had significant
events (“bad news”) during their incarceration that may have significantly
increased their suicide risk. Inmates may have multiple court dates with
mixed results and many are sentenced to terms either locally or in state
prisons. These developments can have a significant impact on an inmate’s
psychological state and contribute to elevated risk of suicide or self-harm. For
instance, one hanged himself a few days before he was to transfer to state
prison. Another committed suicide the day before his transfer to another state
to face criminal charges. This case was particularly egregious because it was
known among staff that he had made a credible suicide attempt in a similar
manner just two weeks earlier, and that he was experiencing considerable
stress about being extradited to another state to face criminal charges. Yet,
as the date of his extradition approached, the clinical record did not reflect
any sense that this could be a period of heightened risk requiring closer
observation, monitoring, and clinical follow-up. From our review, this was a
suicide death that with adequate communication was preventable. Our
review of San Diego County Jail policies and procedures found no specific
mechanism for communication in these kinds of situations.
RECOMMENDATION: Communication and coordination among custodial staff and
health care staff regarding inmates at risk of suicide and psychiatric decompensation
need improvement. Custodial staff must maintain awareness, share information, and
make appropriate referrals to mental health and medical staff. Multidisciplinary teams
should meet on a regular basis to discuss the status of inmates with significant
mental health needs or who demonstrate significant suicide risk factors.
FINDING 3.2. Mention of significant events was scant in the treatment
records we reviewed. Given the vulnerability to external events that many
inmates experience (and their inability to control many of them), evaluations
of risk should include information about such events and how they may
impact the inmate’s risk.
RECOMMENDATION: Treatment plans should include substantive discussion,
including potentially a specific section, regarding significant events that could affect
the inmate’s treatment needs and/or risk of suicide.
 4.    RESTRICTIVE HOUSING AND MONITORING OF INMATES
    The housing placement of inmates can have profound impacts on their mental
 well-being and produce changes in their risk of self-injury and suicide. Our
 experience with jail and prison facilities, along with extensive research, has shown
 that placement in segregated housing increases the risk of suicidal and self-harming
 behavior, isolates individuals, and impedes normal interpersonal interactions that
 are essential to psychological health and adequate treatment.

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     Policies and procedures should take this known risk into account and include
  mental health and suicide risk information when housing decisions are made.
  Housing inmates in isolated settings may increase their sense of hopelessness and
  desperation, increasing the potential for suicidal thinking and behavior. In addition,
  the housing of individuals with intellectual disabilities in such settings can trigger
  suicidal thoughts and behavior. Placing inmates with mental illness in solitary
  confinement-type housing (i.e. housing situations where an inmate is limited to a few
  hours of out-of-cell time or less per day, has reduced privileges, and has minimal
  opportunity for normal social interactions) can exacerbate symptoms and lead to
  negative outcomes. The placement of inmates with mental illness or elevated
  suicide risk in solitary confinement settings should be avoided whenever possible.
  When such placements are deemed necessary, adequate monitoring and enhanced
  mental health treatment are essential.
     In addition, the monitoring of inmates in housing units, particularly units with
  solitary confinement-type conditions, is a standard custodial practice. Adequate
  welfare and/ or safety checks involve observing inmates and noting their status and
  welfare. Inmates housed in segregated housing are often monitored at more
  frequent intervals than those in general population settings.
     The construction of jail cells in segregation units should account for the risk
  presented by attachment points – such as ventilation grates and bed frames – that
  are commonly used for hanging attempts.
KEY DEFICIENCIES: RESTRICTIVE HOUSING
  1. San Diego County Jail lacks an adequate process to screen inmates for
     increased suicide risk prior to placement into Administrative Segregation
     (AdSeg) or Keep Separate All (KSA) housing.
  2. Security/welfare checks of inmates in housing units were observed to be
     inadequate. In several cases, they were poorly performed and in others they
     were not completed in a timely fashion.
  3. San Diego County Jail lacks an effective system to monitor and to provide
     necessary treatment of inmates on the mental health caseload who are housed
     in AdSeg or KSA housing, increasing the risk of suicide and psychological
     deterioration in these settings.
FINDINGS AND RECOMMENDATIONS: RESTRICTIVE HOUSING
 FINDING 4.1. There is not an adequate process for mental health screening
 before inmates are placed into AdSeg or KSA housing, which are known to
 carry significant risks for people with mental illness.
 RECOMMENDATION: Given the harsh setting and restrictions inherent in restrictive
 housing units and the impact this may have on inmates, the Jail should institute
 screening of all inmates prior to their placement in such units. This screening could
 be included with a medical screening completed by nursing staff. The screening
 would ask simple questions addressing current distress and thoughts of suicide, and

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provide an opportunity for mental health staff to identify treatment needs and to
provide input into housing decisions.
FINDING 4.2. Inadequate security/welfare checks (also known as “proof of
life checks”) were observed via video review in a number of cases in which
inmates died by suicide. In at least one case, hourly safety checks were not
completed pursuant to Jail policy during the time period the inmate died by
suicide. In video and record reviews of at least three inmates who died,
checks were completed inadequately – either not completed timely or in
manner that failed to meaningfully assess the welfare of the inmate. For
instance, in one case, the video showed two deputies enter the housing unit
and separate to allow one to check the upper tier and one the lower. The
deputies completed their checks of 40 cells in 17 seconds, far too quickly to
complete meaningful checks. The deputy checking the upper tier did not stop
except at the first cell and did not appear to take enough time to establish
that the inmates in each cell were alive and safe.
RECOMMENDATION: The Department should provide annual training for sworn
staff that includes reminders about the requirement for assuring the welfare of
inmates during security/welfare checks.
RECOMMENDATION: The Department should implement a method to track and
audit the timeliness and adequacy of security/welfare checks, such as reviewing
videos.
FINDING 4.3. The San Diego County Jail lacks adequate policies or
procedures for monitoring and treatment of inmates with mental illness in
restrictive housing. Policies lack direction regarding how mental health
information should be incorporated into housing decisions. For example, one
inmate was housed in AdSeg for over four months, but his segregated
housing status was not mentioned in his clinical documentation. This inmate,
who appeared to suffer the ill effects of prolonged isolation, had significant
symptoms of mental illness that were not detected by staff until he voiced
suicidal ideation two months after his incarceration. After several more Safety
Cell placements and adjudication of his criminal charges, he professed to
have safety concerns and was housed in AdSeg for the last six weeks of his
incarceration and life. He hanged himself several days before he was to be
transferred to state prison.
RECOMMENDATION: The Department should implement procedures that ensure
appropriate monitoring of inmates in segregated housing units to timely identify
inmates with deteriorating mental health, and implement a program that delivers
necessary treatment for inmates on the mental health caseload in restrictive housing
units.
FINDING 4.4. The suicide death of one inmate revealed that monitoring
panels in control booths were at times set to mute and staff did not
adequately monitor alert lights in the control booths. In this case and others,
such practices can result in staff missing emergencies and calls for help from
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     inmates.
     RECOMMENDATION: The Jail should train all housing staff to properly maintain
     alert systems and monitors in housing unit control booths, and to respond
     appropriately when alerted.
     FINDING 4.5. Eight inmates died by hanging from December 2014 through
     2016. In all of these cases, ligatures were attached to ventilation grills or
     looped around beds that had a separation from the cell wall.
     RECOMMENDATION: The Department should take affirmative steps to address the
     known risk of suicide attempts associated with the presence of attachment points in
     cells, particularly in segregated housing. This may include retrofitting cell ventilation
     grates and beds (so that the bed is flush against the cell wall) and avoiding
     attachment points in future construction, such that ligature material cannot be passed
     through gaps for suicide attempts by hanging.
     5.    LEVELS OF SUPERVISION OF AT-RISK INMATES
        Adequate monitoring of suicidal inmates is a crucial component of a
     comprehensive suicide prevention program. As the World Health Organization has
     recognized: “The level of monitoring should match the level of risk. Inmates judged
     to be actively suicidal require constant supervision. Inmates who have raised staff
     suspicions of suicide but who do not admit to being actively suicidal, may not
     require constant supervision but will need to be observed more frequently.”12
 KEY DEFICIENCIES: SUPERVISION
     1. The Department’s policies lack sufficient clarity about the levels of risk
        and the levels of observation specified for each level of risk. The policy
        should provide for constant observation of inmates at high risk whenever
        clinically indicated.
          2. The Department’s policies and procedures for monitoring inmates in Safety
             Cells and EOH are unclear and at times give conflicting guidance for staff,
             which can lead to poor decision-making and poor continuity of care for at-
             risk inmates.
          3. Monitoring schedules for the County’s jail facilities do not match the system-
             wide policies and procedures manual, which creates confusion and
             inconsistency in practices.
          4. The Department’s policy and practices do not ensure that health care staff
             have authority to determine the appropriate level of care and observation
             (absent clear and documented security concerns), with custodial staff
             primarily authorized to make such decisions. This is problematic. Decision-
             making regarding the level

12
     World Health Organization. (2007). Preventing Suicide in Jails and Prisons. World
Health Organization & International Association for Suicide Prevention. Geneva,
Switzerland. “Return to Main Document”
                                          156
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       of suicide risk for inmates is the responsibility of the mental health and
       medical programs. Although safety and security need to be taken into
       account, the welfare of inmates is a top priority.


FINDINGS AND RECOMMENDATIONS: SUPERVISION
FINDING 5.1. The Department’s policies lack sufficient clarity about the
levels of risk and the levels of observation specified for each level of risk.
RECOMMENDATION: Levels of observation for suicidal inmates should progress
from the highest level of observation – constant, direct, visual observation (also
called 1:1 or Suicide Watch) – and be stepped down from that level. Inmates
requiring 1:1 observation are inmates who are currently attempting to harm
themselves, or who express suicidal thoughts with a well-developed plan and
available means, and continue to espouse the intent to carry out their plan. This most
intense level of observation is reserved for those inmates who are at the gravest risk
and need immediate psychiatric inpatient care (either in the PSU or offsite inpatient
facility).
RECOMMENDATION: Inmates requiring a less stringent level of observation are
those inmates who may have stated suicidal thoughts and/or intentions but do not
have the means or well-developed plan, but are agitated and in great distress. These
inmates, still at high risk, should be placed on Suicide Precaution, which requires
staggered 15-minute checks (rather than “twice in every 30 minute period” as
appears to have been the practice at some San Diego County jail facilities).13
Staggered 15 minute checks means that an inmate must be observed at least once
in every 15-minute interval and there should never be more than 15 minutes between
observations. In practice, inmates housed in Safety Cells or the EOH for suicidal
thinking or behavior should always be placed on Suicide Precaution status unless
they are being evaluated for referral to the PSU, in which case they should be placed
on continuous visual observation until transferred.
RECOMMENDATION: Decisions to move an inmate from a higher level of
observation to a lower one should always require a clinical assessment of current
risk and a justification by a mental health clinician.
FINDING 5.2. Recent proposed changes to the suicide prevention policy
specifying three levels of Suicide Watch and certain frequencies of
monitoring/observation represent a positive step by the Department. The
policy should continue to be refined to provide adequate clarity regarding
applicable criteria for the levels of risk and observation.
RECOMMENDATION: Policy should provide clear guidance regarding the criteria for
levels of risk and observation. Policy should also provide for constant, visual
observation (also called 1:1 observation) when clinically indicated. For instance, in
the proposed policy we reviewed, the observation schedules for inmates identified as
“Level I” is the same as that for inmates identified as “Level II,” and neither provide
for constant visual observation. The policy should specify observation levels based

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on risk and housing (e.g., inmates who are voicing suicidal thoughts and intention to
act, and are housed in Safety Cells, should be on 1:1 Observation, while inmates
housed in EOH and having intermittent suicidal thoughts should be on Suicide
Precaution).
RECOMMENDATION: Inmates placed in safety cells should be re-evaluated for
stepdown or inpatient placement no more than 12 hours after placement.
FINDING 5.3. Individual facility policies regarding monitoring of inmates at
elevated risk of suicide are in some cases inconsistent with the Department’s
system-wide policies. For example, the Department’s policies specify that
sworn staff will monitor inmates in Safety Cells a minimum of twice per 30
minutes, yet the “Green Sheets” for the Las Colinas Detention and Reentry
Facility and the Vista Detention Facility do not.
RECOMMENDATION: The Department must ensure that all facilities’ Green Sheets
are consistent with system-wide policies and procedures for monitoring inmates
housed in Safety Cells and EOH.
FINDING 5.4. The Department’s policies do not provide health care staff a
sufficient role in some decisions regarding release from EOH or Safety Cell
Housing of inmates evaluated for increased risk of self-injury. DSB Policy
Section J.1 states that “[e]very four hours, the watch commander or designee
will evaluate the inmate for continued retention in a safety cell.” In another
section regarding removal of inmates from Safety Cells, the watch
commander is to consult with a mental health provider “to determine whether
the inmate, if removed from the safety cell, is likely to pose a threat to
himself/herself or others.” Additionally, Sections J.4 (Enhanced Observation
Housing) and J.5 (Inmate Safety Program) note that custodial personnel
make the decision about housing inmates in either setting – albeit with input
from a Gatekeeper.
RECOMMENDATION: Decisions regarding housing of inmates at elevated risk for
suicidal behavior should primarily be the responsibility of medical and mental health
staff, unless safety and security override these concerns (e.g., an agitated, violent,
and suicidal patient). Where such safety and security concerns exist, custodial staff
should consult with medical/mental health staff when making housing decisions.
6.    EMERGENCY RESPONSE
   When a medical emergency occurs inside a jail, the level of training and
response of custodial and medical staff will often determine if an inmate lives or
dies. National correctional standards acknowledge that a facility’s policy regarding
intervention should be threefold. First, all staff who come in contact with inmates
should be trained in standard first aid procedures and CPR. Second, any staff
member who discovers an inmate attempting suicide should immediately survey
the scene to ensure the emergency is genuine, alert other staff to call for medical
personnel, and begin standard first aid and/or CPR. Third, staff should never
presume that the inmate is dead but rather should initiate and continue life-saving
                                         158
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     measures until relieved by medical personnel.13

 KEY DEFICIENCIES: EMERGENCY RESPONSE
   1. Almost half of the emergency responses to lethal suicide attempts from
      December 2014 through 2016 featured poor coordination of lifesaving efforts,
      delays in starting CPR, or malfunctioning equipment.

     2. The Department does not appear to have a program of drills to improve
        readiness and response in the case of medical emergencies.
 FINDINGS AND RECOMMENDATIONS: EMERGENCY RESPONSE
     FINDING 6.1. Review of records and video footage of suicide deaths of
     seven inmates (58.3% of those reviewed) demonstrated serious problems
     with emergency response. In one case, health care staff were unable to
     utilize the automated electronic defibrillator (AED) due to malfunctioning
     equipment. In another case, there was a nearly seven-minute delay in using
     the AED prior to the arrival of the paramedics. Deputies discovered one
     inmate hanging in his cell but waited seven minutes to cut the inmate down
     and then prevented nursing staff from evaluating the inmate’s condition or
     using the AED. There were two cases involving a delay in starting
     cardiopulmonary resuscitation (CPR), in one case for several minutes while
     approximately 11 deputies stood around without initiating life-saving
     measures.
     Good coordination between custodial and medical staff is important because
     brain damage from asphyxiation can occur within 4 minutes, with death often
     resulting within 5-6 minutes. Timely initiation of effective life-saving measures
     can save lives. This did not occur in many San Diego jail suicide cases.
     Our review found that not all staff understand their role in emergency
     responses to suicide attempts. Language in the Department’s policies for
     Medical Emergencies is not clear. For example, it states that medical
     personnel “may assist or take over CPR responsibilities” (emphasis added).
     The policy language should be changed to give medical personnel the
     responsibility of emergency response when they arrive on scene.
     RECOMMENDATION: All staff should be thoroughly trained, including periodic
     refresher training, in their specific emergency response roles:
              a. Sworn staff should not assume an inmate is dead, but should start
                 lifesaving measures except in well-delineated circumstances
                 (electrocution, etc.)

13
     Hayes, L. (1995). Prison Suicide: An Overview and Guide to Prevention. United
States Department of Justice, National Institute of Corrections. Washington, DC. “Return to
Main Document”
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             b. Any staff member should sound the alarm and notify 911.
             c. Sworn staff should be trained on how to use emergency equipment
                such as AEDs and cut down tools.
             d. Sworn staff should continue lifesaving measures until relieved and/or
                directed by medical staff.
             e. Medical staff should assume control of the emergency response as
                soon as they arrive on the scene.
             f. Declaration of death is the responsibility of a licensed physician.
     RECOMMENDATION: Multi-disciplinary drills should be regularly conducted in
     housing units to assure that emergency response readiness is maintained and that
     staff understand their roles.
     RECOMMENDATION: Emergency response equipment should be audited regularly
     and maintained in working condition.
     7.    STAFF TRAINING
        “The framework for a comprehensive suicide prevention program includes
     substantial staff training.”14 All custodial, medical, nursing, and mental health staff
     should undergo systematic and ongoing training on the signs of mental illness and
     elevated suicide risk. All staff who have significant contact with inmates “should be
     trained to recognize verbal and behavioral cues that indicate potential suicide.”15
        We reviewed numerous San Diego County Jail materials related to suicide
     prevention, including PowerPoint presentations, handouts, brief trainings, scenarios,
     lesson plan, and booklets.
 KEY DEFICIENCIES: STAFF TRAINING
   1. The Department’s training programs for custodial and medical/mental health
      staff is not well coordinated. It is not clear what the training schedule is,
      what the training requirements are, how training records are kept, and how
      trainings should be evaluated.
     2. Training for mental health clinicians on principles of suicide risk
        assessment and treatment should adhere to accepted clinical standards,
        with reference to the professional literature about risk assessment and the
        treatment of suicidal patients.
 FINDINGS AND RECOMMENDATIONS: STAFF TRAINING
     FINDING 7.1. Currently there is no consolidated training program that
     encompasses all aspects of suicide prevention, including suicide warning

14
     Metzner, J. and Hughes, K. (2015). Suicide risk management. In R.L. Trestman, K.L.
Appelbaum, and J.L. Metzner (Eds.) Oxford Textbook of Correctional Psychiatry. New York:
Oxford University Press. “Return to Main Document”
15
     Ibid. “Return to Main Document”
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     sign awareness, how to work with inmates with mental illness, principles of
     suicide risk assessment, correctional suicide prevention, treatment of suicidal
     inmates, and emergency response.
     RECOMMENDATION: The Department should implement a training program that
     includes modules for custody cadets, custodial staff, and medical/mental health staff
     (including contract staff). Policies should be written that cover training for all staff and
     that includes timeframes, content requirements, and evaluation strategies. In
     addition, a system should be put in place that tracks trainings and ensures that all
     staff are current on required trainings.
     FINDING 7.2. Generally, the training materials we reviewed indicate that
     there are gaps in the training for medical and mental health staff, who must
     be prepared to assess suicide risk and identify appropriate interventions.
     RECOMMENDATION: The Department’s training unit should be charged with
     developing a set of curricula covering all aspects of mental health treatment and
     suicide risk assessment and treatment.
     RECOMMENDATION: All staff who have regular contact with inmates should be
     required to have standard first aid cardiopulmonary resuscitation (CPR) training and
     be trained in the use of various emergency equipment (cut down tools, automated
     external defibrillators (AEDs), etc.). This will help ensure that staff understand their
     roles in emergency response and can respond appropriately.
     RECOMMENDATION: The Department should use a standardized and best practice
     training protocol for sworn staff, such as that developed by Lindsay Hayes.16
     FINDING 7.3. Review of the suicides between December 2014 and 2016
     revealed both strengths and weaknesses in clinical documentation, which
     could be improved with training and the use of guidelines for documentation.
     Risk assessments were often brief and did not include important information
     about the inmates, such as history of suicidal behavior or protective factors,
     and were often shortened to “Denies SI.”
     The records of multiple inmates revealed poor staff practices, such as the
     use of “contracting for safety.” This practice has not been shown to decrease
     the risk of suicide attempts or to provide any protection for clinicians and
     should be discouraged by medical and mental health staff.
     RECOMMENDATION: Mental health staff should have specific suicide risk
     assessment training that adopts best practices in training, such as the Recognizing
     and Responding to Suicide Risk course from the American Association for

16
     Hayes, L. (2016). Training Curriculum and Program Guide on Suicide Detection and
Prevention in Jail and Prison Facilities. Available from the National Center on Institutions
and Alternatives. http://www.ncianet.org/criminal-justice- services/suicide-prevention-in-
custody/publications/training-curriculum-and-program-guide-2016. “Return to Main
Document”
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     Suicidology.17 The training should be included in onboarding for new employees and
     should be required periodically for current staff.
     8.     REVIEW OF SUICIDE DEATHS AND SERIOUS SUICIDE ATTEMPTS
        All suicide deaths and medically serious suicide attempts should be subject to a
     rigorous review process to identify any improvements that can be made to suicide
     prevention and patient safety. Review should cover medical and custodial
     procedures, training protocols and records, and mental health treatment (if any),
     and should lead to recommendations for changes in policy, procedure, and training.
     The review should be grounded in the principles of a “just culture” – a review that
     “balances the need for an open and honest reporting environment with the end of
     a quality learning environment and culture… Just culture requires a change in
     focus from errors and outcomes to system design and management of the
     behavioral choices of all employees.”18
 KEY DEFICIENCIES: REVIEW OF SUICIDES
   1. The existing suicide review process as proposed in the recently developed
      Suicide Prevention Policy is incomplete and requires improvement.
      2. The reports issued by the San Diego County Citizens’ Law Enforcement
         Review Board (CLERB) do not serve a meaningful or sufficient role in
         reviewing suicide deaths and serious suicide attempts at the Jail. The CLERB
         has a narrow mandate for investigation and can, at best, only provide limited
         insight to problems of patient care and emergency response.
      3. We identified a number of problems with respect to the accuracy and
         quality of CLERB reports regarding suicide deaths at the Jail.
 FINDINGS AND RECOMMENDATIONS: REVIEW OF SUICIDES
     FINDING 8.1. The proposed suicide review process is inadequate. It does
     not address what elements of the death will be examined and by whom. In
     addition, although the proposal designates the organizational bodies who are
     to review the death, it does not identify how any findings and corrective
     action plans will be acted upon and how proposed corrective actions will be
     enforced.
     RECOMMENDATION: The suicide review process should be designed to include all
     stakeholders and fit within the Department’s quality improvement program. It should
     have a mechanism to make sure suggested improvements are completed, and lay
     out in detail the structure of the review (content, timeline for review, and approval).
     RECOMMENDATION: The policy should lengthen the preliminary review period from

17
      See Recognizing and Responding to Suicide Risk for Correctional Clinicians.
American Association for Suicidology. http://www.suicidology.org/training-accreditation/rrsr-
c. “Return to Main Document”
18
      Boysen, P.G. (2013). Just culture: A foundation for balanced accountability and
patient safety. The Ochsner Journal, 13: 400-4006. “Return to Main Document”
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     24 to 72 hours to provide sufficient opportunity to address the complexity of these
     incidents and the organization in which they occur.
     FINDING 8.2. The CLERB reports provide limited utility in reviewing suicide
     deaths and guiding corrective action to avoid repeated problems. The
     CLERB does not adequately address the appropriateness of mental health
     treatment and suicide prevention policy or practices. This is a role that the
     Department must take on itself.
     RECOMMENDATION: The Department should implement a robust process for
     review of suicide deaths and serious suicide attempts that involves a generally
     accepted methodology (e.g. psychological autopsy or root cause analysis). Both the
     psychological autopsy and root cause analysis have substantial support for their use
     in quality improvement and as responses to suicide deaths in custody. (The
     Department has indicated that a psychological autopsy was completed for at least
     one recent suicide, but we were not provided a copy of that report.)
     9.    QUALITY IMPROVEMENT
        The purpose of continuous quality improvement (CQI) programs is to improve
     health care by identifying problems, implementing and monitoring corrective
     action, and studying its effectiveness. Key components of CQI include
     identification of key indicators and processes, a system to collect data about these
     components, an analytical strategy for the data, and a way to feed the findings
     back into everyday practice to improve care. The CQI program must be systematic
     and include all aspects of care.
 KEY DEFICIENCIES: QUALITY IMPROVEMENT
    1. The Department has taken some positive steps regarding quality
       improvement but does not yet have a fully functioning or effective quality
       improvement program.
 FINDINGS AND RECOMMENDATIONS: QUALITY IMPROVEMENT
     FINDING 9.1. The Department does not have a functioning quality
     improvement program. As discussed in this report, there is a need for
     improved quality improvement processes regarding mental health/suicide risk
     screening, clinical assessments, individual suicide and suicide attempt
     reviews, and other aspects of a correctional mental health care and suicide
     prevention program.
     RECOMMENDATION: The Department should ensure that it has an effective system
     to track clinical data within the mental health and medical systems in the jail system.
     In addition, the Department should develop a system to track important custodial
     indicators related to suicide prevention. This tracking should be part of a larger
     quality improvement program.19


19
     See Section IV.B.3 in Canning, R.D. & Dvoskin, J.A. (2017). Preventing Suicide in
Detention and Correctional Facilities. In J. Wooldredge and P. Smith (Eds.) The Oxford
                                             163
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  FINDING 9.2. We were encouraged to see that the Department is taking
  steps to implement and enhance its Suicide Prevention Response &
  Improvement Team (SPRIT) to monitor suicide attempts and also evaluate
  suicide deaths.
  RECOMMENDATION: The policy should describe the composition of the SPRIT and
  its responsibilities and reporting structure. The SPRIT should be part of the
  Department’s larger quality improvement program and should have primary
  responsibility for the oversight of the Department’s programs to prevent suicide.20
  10.   CONCLUSION
      The San Diego County Jail has made notable improvements in its suicide
   prevention program in the last two years. We believe the recommendations we
   have outlined will solidify these gains and go a long way to prevent more suicides in
   San Diego County Jail facilities.

Respectfully submitted,

Karen Higgins, M.D.
Robert Canning, Ph.D., CCHP


April, 2018




Handbook of Prisons and Imprisonment. New York City: Oxford University Press. “Return to
Main Document”
20
     Ibid. Section IV.B.2. “Return to Main Document”
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                     EXHIBIT 5
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                                John Ingrassia 2/20/2018


     1                     UNITED STATES DISTRICT COURT

     2                    SOUTHERN DISTRICT OF CALIFORNIA

     3

     4    CHASSIDY NeSMITH, individually and   )
          as Guardian ad Litem on behalf of    )
     5    SKYLER KRISTOPHER SCOTT NeSMITH, and )
          as Successor in Interest to          )
     6    KRISTOPHER SCOTT NeSMITH,            )
                                               )
     7                Plaintiffs,              )
                                               )
     8         vs.                             )Case No.:
                                               )15-cv-0629-JLS (AGS)
     9    COUNTY OF SAN DIEGO; et al.,         )
                                               )
    10                Defendants.              )
          _____________________________________)
    11

    12

    13                     DEPOSITION OF JOHN INGRASSIA

    14                          SAN DIEGO, CALIFORNIA

    15                             FEBRUARY 20, 2018

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                  REPORTED BY AMANDA NOEL MARCOS, CSR NO. 13965
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                                John Ingrassia 2/20/2018


     1    that as far as the calculation methods used.                 And then

     2    validating the numbers.        Some discussions about looking

     3    at other counties as well.

     4    BY MR. MORRIS:

     5        Q     Did you ever tell -- or to the best of your

     6    recollection, did anybody direct these reporters to look

     7    at more accurate information regarding other county

     8    suicide rates?

     9              MS. HOLMES:      Objection.      Vague.     Calls for

    10    speculation.

    11              THE WITNESS:      I would be speculating.            I know

    12    that we were just looking at the calculation formula

    13    itself.

    14    BY MR. MORRIS:

    15        Q     And that would have been the ADP?

    16        A     That's part of it, yeah.          It's ADP divided by

    17    number of suicides times 100,000.

    18        Q     Correct.    Who -- if you can recall, who was the

    19    first person to talk about, well, we should take into

    20    account the total number of bookings?             Was that

    21    something that -- how did that come up into the mix?

    22        A     Most likely that was me.

    23        Q     Had you seen the total number of bookings

    24    matrix used in other publications?

    25              MS. HOLMES:      Objection.      Vague.     Lacks

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                                  John Ingrassia 2/20/2018


     1    foundation.

     2               THE WITNESS:       Again, I'm not aware of any

     3    published formula that takes that into account when it

     4    comes to suicide or death rates.

     5    BY MR. MORRIS:

     6        Q      Are you aware of the total number of bookings

     7    being an accepted published rate for any other reason as

     8    far as mortality or suicide rates are concerned?

     9               MS. HOLMES:       Objection.      Compound.         Vague.

    10    Lacks foundation.       Calls for expert opinion.

    11               THE WITNESS:       I haven't looked to see.             Like I

    12    said, I'm aware of the rates in the BJS and I haven't

    13    seen any other formulas.

    14    BY MR. MORRIS:

    15        Q      Okay.    So I guess the question I have, what I'm

    16    trying to get at is, this total number of bookings as

    17    far as a matrix or paradigm, was it like you borrowed

    18    it, hey, they look at total number of bookings for,

    19    like, murders or total number of bookings for another

    20    thing that happens in the jail?             Are you aware of using

    21    the total number of bookings matrix for any other ratio

    22    that's -- any publication that uses the total number of

    23    bookings for any other comparative ratio?

    24               MS. HOLMES:       Objection.      Calls for expert

    25    opinion.    Lacks foundation.         Vague.       Compound.

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                                John Ingrassia 2/20/2018


     1    I, JOHN INGRASSIA, declare under penalty of perjury

     2    under the laws of the State of California that the

     3    foregoing is true and correct; that I have read my

     4    deposition and have made the necessary corrections,

     5    additions or changes to my answers I deem necessary.

     6

     7         Executed on this________day of___________________,

     8    2018.

     9                                    _____________________________

    10                                    JOHN INGRASSIA

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                                John Ingrassia 2/20/2018


     1                          C E R T I F I C A T E

     2

     3    I, AMANDA NOEL MARCOS, Certified Shorthand Reporter for

     4    the State of California, do hereby certify:

     5

     6    That the witness in the foregoing deposition was by me

     7    first duly sworn to testify to the truth, the whole

     8    truth and nothing but the truth in the foregoing cause;

     9    that the deposition was taken by me in machine shorthand

    10    and later transcribed into typewriting, under my

    11    direction, and that the foregoing contains a true record

    12    of the testimony of the witness.

    13

    14    Dated:   This        day of                   , 2018,

    15    at San Diego, California.

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    19                               ________________________________

    20                                        AMANDA NOEL MARCOS
                                               C.S.R. NO. 13965
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